 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                     :
   In re:                                            :      Chapter 11
                                                     :
   CHOXI.COM, INC., a/k/a                            :      Case No. 16-13131 (SCC)
   NOMORERACK.COM, INC.,                             :
                                                     :
                                Debtor.              :
                                                     :


  CORRECTED DISCLOSURE STATEMENT FOR PLAN OF LIQUIDATION OF
CHOXI.COM, INC., A/K/A NOMORERACK.COM, INC. PURSUANT TO CHAPTER 11
                       OF THE BANKRUPTCY CODE

                                       IMPORTANT DATES

Date by which Objections to Confirmation
of the Plan Must be Filed and Served:                          November 20, 2017 at 12:00 p.m.

Date by which Ballots Must be Received:                        November 16, 2017 at 4:00 p.m.

Hearing on Confirmation of the Plan:                           December 12, 2017 at 2:00 p.m.


                                       Klestadt Winters Jureller
                                      Southard & Stevens, LLP
                                    200 West 41st Street, 17th Floor
                                     New York, New York 10036
                                         Tel: (212) 972-3000
                                        Fax: (212) 972-2245

                           Attorneys for the Debtor and Debtor in Possession


Dated: New York, New York
       October 9, 2017




{00266837.6 / 1148-001 }
                                                   TABLE OF CONTENTS

I.        PURPOSES AND LIMITATIONS OF DISCLOSURE STATEMENT ................ 1

          A.        Purpose of Disclosure Statement ................................................................. 1

          B.        Definitions and Exhibits .............................................................................. 1

          C.        Enclosures ................................................................................................... 2

          D.        Representations and Limitations ................................................................. 2

          E.        Important Dates ........................................................................................... 3

          F.        Solicitation Procedures ................................................................................ 3

          G.        Recommendation ......................................................................................... 4

          H.        Inquiries ....................................................................................................... 5

II.       BACKGROUND ..................................................................................................... 5

          A.        Organizational Structure.............................................................................. 5

          B.        Nature of the Debtor’s Business .................................................................. 5

          C.        Circumstances Leading to Filing ................................................................. 5

          D.        Potential Estate Causes of Action ............................................................... 6

          E.        The Bankruptcy Case .................................................................................. 7

III.      SIGNIFICANT EVENTS DURING THE CHAPTER 11 CASE ........................... 7

          A.        The Appointment of the Creditors’ Committee .......................................... 7

          B.        Retention of Professionals; Appointment of Claims and Noticing
                    Agent; Appointment of Consumer Privacy Ombusman.............................. 8

          C.        Schedule of Assets and Liabilities, Statement of Financial Affairs ............ 8

          D.        Bar Date for Filing of Claims Arising Prior to the Petition Date ................ 8

          E.        The Sale Process .......................................................................................... 9

          F.        Cash Collateral Use ................................................................................... 11
{00266837.6 / 1148-001 }
                                                                      ii
          G.        Settlement with Paysafe ............................................................................ 11

IV.       SUMMARY OF THE PLAN OF LIQUIDATION ............................................... 12

          A.        General Plan Objectives ............................................................................ 12

          B.        Provisions Governing Order and Method for Distributions Under
                    the Plan ...................................................................................................... 12

          C.        Classes of Claims ...................................................................................... 12

                    1. Professional Fee Claims ...................................................................... 14

                    2. Administrative Expense Claims .......................................................... 15

                    3. Priority Tax Claims ............................................................................. 15

                    4. Class 1A (Allowed Secured Claim of American Express).................. 15

                    5. Class 1B (Allowed Secured Claim of the First Lien Creditor) .......... 15

                    6. Class 1C (Allowed Secured Claim of the Second Lien Creditor) ...... 16

                    7. Class 2 (Non-Tax Priority Claims) ...................................................... 16

                    8. Class 3 (General Unsecured Claims)................................................... 17

                    9. Class 4 (Allowed Subordinated Claims) ............................................. 17

                    10. Class 5 (Interests) ............................................................................... 17

V.        MEANS OF IMPLEMENTING THE PLAN ....................................................... 17

          A.        Appointment of Plan Administrator .......................................................... 17

          B.        Plan Administrator Reports ....................................................................... 18

          C.        Fees and Expenses of Plan Administrator ................................................. 18

          D.        Causes of Action ....................................................................................... 18

          E.        Employment of Professionals by Plan Administrator ............................... 19

          F.        Oversight Committee ................................................................................ 19

          G.        Establishment of Reserves and Funds ....................................................... 19
{00266837.6 / 1148-001 }
                                                                     iii
          H.        Plan Distributions ...................................................................................... 20

          I.        Preservation and Abandonment of Records .............................................. 20

          J.        General Disposition of Assets ................................................................... 20

          K.        Administrative Claims Bar Date ............................................................... 21

          L.        Deadline for Filing Applications Seeking Payment of Professional
                    Fee Claims ................................................................................................ 21

          M.        Execution of Documents to Effectuate Plan.............................................. 21

          N.        Disallowance of Claims without Further Order of the Court .................... 21

          O.        Continued Existence of Debtor Until Closing of the Case ........................ 21

          P.        Post-Effective Date Reports and Fees ....................................................... 22

          Q.        Cancellation of Interests ............................................................................ 22

          R.        Creditors’ Committee ................................................................................ 22

          S.        Insurance Preservation .............................................................................. 22

          T.       Preservation of Causes of Action ............................................................... 22

VI.       EXECUTORY CONTRACTS AND UNEXPIRED LEASES ............................. 22

VII.      CONDITIONS PRECEDENT .............................................................................. 23

          A.        Conditions to Confirmation ....................................................................... 23

          B.        Conditions to Effective Date ..................................................................... 23

          C.        Waiver of Conditions ................................................................................ 24

VIII.     INJUNCTIONS; STAYS; RELEASE; EXCULPATIONS .................................. 24

          A.        General Injunctions ................................................................................... 24

                    1. Injunctions Against Interference with Consummation or
                       Implementation of Plan ....................................................................... 24

                    2. Injunction Against Prosecution of Causes of Action .......................... 24
{00266837.6 / 1148-001 }
                                                                    iv
                    3. No Bar To Claims Against Third Parties ............................................ 24

          B.        All Distributions Received in Full and Final Satisfaction ......................... 24

          C.        No Modification of Res Judicata Effect .................................................... 25

          D.        Exculpation for Debtor and Estate Professionals ...................................... 25

          E.        Exculpation for Plan Administrator and his
                    Professionals .............................................................................................. 25

IX.       PROCEDURES FOR DISTRUBTIONS UNDER PLAN .................................... 26

          A.        Payments in U.S. Dollars .......................................................................... 26

          B.        Distributions Only on Business Days ........................................................ 26

          C.        Unclaimed Distributions............................................................................ 26

          D.        Timing of Distributions on Disputed Claims Subsequently Allowed ....... 27

          E.        No Payment or Distribution of Disputed Claims ...................................... 27

          F.        Disputed Distribution ................................................................................ 27

          G.        Transmittal of Payments and Notices ........................................................ 27

          H.        Record Date for Distributions ................................................................... 27

          I.        Claims Administration Responsibility ...................................................... 28

          J.        Disputed Claims ........................................................................................ 28

          K.        No Payments of Fractional Cents or Distributions of Less Than
                    Thirty-Five ($35) Dollars .......................................................................... 29

          L.        Setoff and Recoupment ............................................................................. 29

          M.        Payment of Taxes on Distributions Received Pursuant to Plan ................ 29

          N.        Compliance With Tax Withholding and Reporting Requirements ........... 29

X.        PLAN INTERPRETATION, CONFIRMATION AND VOTING ....................... 31

          A.        Procedures Regarding Objections to Designation of Classes as
{00266837.6 / 1148-001 }
                                                                     v
                    Impaired or Unimpaired ............................................................................ 31

          B.        Withdrawal and Modification of Plan ....................................................... 31

          C.        Governing Law .......................................................................................... 31

          D.        Voting of Claims ....................................................................................... 31

          E.        Acceptance by Impaired Class .................................................................. 31

          F.        Presumed Acceptances of Plan.................................................................. 31

          G.        Presumed Rejections of Plan ..................................................................... 32

          H.        Cram Down ............................................................................................... 32

XI.       RETENTION OF JURISDICTION BY BANKRUPTCY COURT ..................... 32

XII.      CERTAIN TAX CONSEQUENCES OF THE PLAN.......................................... 33

          A.        General ...................................................................................................... 33

          B.        Tax Consequences of Payment of Allowed Claims Pursuant to
                    Plan Generally ........................................................................................... 34

                 (i)       Recognition of Gain or Loss .............................................................. 34

                 (ii)      Bad Debt or Worthless Security Deduction ....................................... 34

XIII.     CONFIRMATION OF THE PLAN - REQUIREMENTS .................................... 34

          A.        Absolute Priority Rule ............................................................................... 35

          B.        Best Interest of Creditors Test; Liquidation Analysis ............................... 35

XIV. PROCEDURES FOR VOTING ON PLAN .......................................................... 36

XV.       CONFIRMATION HEARING ............................................................................. 38

XVI. RECOMMENDATION......................................................................................... 38




{00266837.6 / 1148-001 }
                                                                     vi
PLEASE READ THIS DISCLOSURE STATEMENT CAREFULLY. THIS DISCLOSURE
STATEMENT CONTAINS INFORMATION THAT MAY BEAR UPON YOUR DECISION
TO ACCEPT OR REJECT THE PLAN, WHICH IS ENCLOSED WITH THIS
DISCLOSURE STATEMENT. THE DEBTOR BELIEVES THAT THE PLAN IS IN THE
BEST INTERESTS OF THE DEBTOR AND ITS CREDITORS AND PROVIDES THE
HIGHEST AND MOST EXPEDITIOUS RECOVERIES TO HOLDERS OF ALLOWED
CLAIMS AGAINST THE DEBTOR.

        Choxi.com, Inc. a/k/a Nomorerack.com, Inc. (the “Debtor”) submits this disclosure
statement (the “Disclosure Statement”) pursuant to § 1125 of the Bankruptcy Code to accompany
their Plan of Liquidation of Choxi.com, Inc. a/k/a Nomorerack.com, Inc. Pursuant to Chapter 11 of
the Bankruptcy Code dated as of September 14, 2017 and corrected as of October 9, 2017 (the
“Plan”), which has been filed with the United States Bankruptcy Court for the Southern District of
New York (the “Bankruptcy Court”). A copy of the Plan is annexed as Exhibit A hereto.

I.        PURPOSES AND LIMITATIONS OF DISCLOSURE STATEMENT

     A. Purpose of Disclosure Statement

       The purpose of the Disclosure Statement is to set forth information that (i) summarizes
the Plan and alternatives to the Plan, (ii) advises holders of Claims and Interests of their rights
under the Plan, (iii) assists creditors entitled to vote in making informed decisions as to whether
they should vote to accept or reject the Plan, and (iv) assists the Bankruptcy Court in determining
whether the Plan complies with the provisions of chapter 11 of the Bankruptcy Code and should
be confirmed.

        You are urged to read the Disclosure Statement in order to determine what rights you may
have to vote on or object to the Plan and before making any decision on any such course of action.
Particular attention should be directed to the provisions of the Plan affecting or impairing your
rights as they existed before the institution of this Bankruptcy Case. Please note, however, that this
Disclosure Statement cannot tell you everything about your rights. For instance, this Disclosure
Statement cannot and does not provide a complete description of the financial status of the Debtor,
all of the applicable provisions of the Bankruptcy Code, or other matters that may be deemed
significant by creditors and other parties in interest. You are also encouraged to consult with your
lawyers and/or advisors as you review and consider the Disclosure Statement and the Plan to enable
you to obtain more specific advice on how the Plan will affect you.

     B. Definitions and Exhibits

          Definitions      Unless otherwise defined herein, capitalized terms used in this Disclosure
                           Statement shall have the meanings ascribed to such terms in the Plan.
          Exhibits         The following exhibits are annexed hereto and expressly incorporated
                           herein:

          Exhibit A:       A copy of the Plan
          Exhibit B:       Liquidation Analysis


{00266837.6 / 1148-001 }
          Exhibit C:       Estimated Disbursement Analysis

     C. Enclosures

          The following materials are included with this Disclosure Statement:

          1.    A copy of the Plan and a copy of the Liquidation Analysis;

          2. A copy of an order approving the Disclosure Statement (the “Disclosure Statement
             Order”), which states: (a) the date by which objections to confirmation of the Plan must
             be served and filed, (b) the date by which all votes with respect to the Plan must be cast,
             (c) the date of the hearing in the Bankruptcy Court to consider confirmation of the Plan,
             and (d) other relevant information;

          3. A copy of the notice of the deadline for submitting ballots to accept or reject the Plan
             and, among other things, the date, time and place of the hearing to consider confirmation
             of the Plan and the deadline for filing objections to confirmation of the Plan;

          4. A ballot (and return envelope) for voting to accept or reject the Plan, unless you are
             not entitled to vote because you are (i) to receive no Distribution under the Plan and
             are deemed to reject the Plan or (ii) not impaired under the Plan and are deemed to
             accept the Plan;

          5. A notice of non-voting status if you are not impaired under the Plan and are deemed to
             accept the Plan or if you are not receiving a Distribution under the Plan and are deemed
             to reject the Plan, as applicable; and

          6. Internal Revenue Service Form W-9, Request for Taxpayer Identification Number and
             Certification.

     D. Representations and Limitations

     NO PERSON IS AUTHORIZED IN CONNECTION WITH THE PLAN OR THE
SOLICITATION OF VOTES THEREON TO GIVE ANY INFORMATION OR TO MAKE
ANY REPRESENTATION OTHER THAN AS CONTAINED IN THIS DISCLOSURE
STATEMENT AND THE EXHIBITS ANNEXED HERETO OR INCORPORATED
HEREIN BY REFERENCE OR REFERRED TO HEREIN AND, IF GIVEN OR MADE,
SUCH INFORMATION OR REPRESENTATION MAY NOT BE RELIED UPON AS
HAVING BEEN AUTHORIZED BY THE DEBTOR.

     NO REPRESENTATIONS CONCERNING THE DEBTOR OR THE PLAN ARE
AUTHORIZED OTHER THAN AS SET FORTH HEREIN. ANY REPRESENTATIONS
OR INDUCEMENTS TO SECURE YOUR ACCEPTANCE OF THE PLAN OTHER THAN
AS CONTAINED HEREIN SHOULD NOT BE RELIED UPON BY YOU.

          THE INFORMATION CONTAINED HEREIN HAS BEEN PREPARED BY THE
{00266837.6 / 1148-001 }
                                                    2
DEBTOR IN GOOD FAITH, BASED UPON UNAUDITED INFORMATION AVAILABLE
TO THE DEBTOR AS OF THE DATE HEREOF. ALTHOUGH THE DEBTOR HAS
USED ITS BEST EFFORTS TO ENSURE THAT SUCH INFORMATION IS ACCURATE,
THE INFORMATION CONTAINED HEREIN IS UNAUDITED.        THE DEBTOR
BELIEVES THAT THIS DISCLOSURE STATEMENT COMPLIES WITH THE
REQUIREMENTS OF THE BANKRUPTCY CODE.

      THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE
MADE AS OF THE DATE HEREOF, UNLESS ANOTHER TIME IS SPECIFIED
HEREIN, AND DELIVERY OF THIS DISCLOSURE STATEMENT SHALL NOT
CREATE ANY IMPLICATION THAT THERE HAS BEEN NO CHANGE IN THE FACTS
SET FORTH HEREIN SINCE THE DATE OF THIS DISCLOSURE STATEMENT
AND/OR THE DATE THAT THE MATERIALS RELIED UPON IN PREPARATION OF
THIS DISCLOSURE STATEMENT WERE COMPILED.

     THE DISCLOSURE STATEMENT MAY NOT BE RELIED ON FOR ANY
PURPOSE OTHER THAN TO DETERMINE HOW TO VOTE ON THE PLAN, AND
NOTHING CONTAINED HEREIN SHALL CONSTITUTE AN ADMISSION OF ANY
FACT OR LIABILITY BY ANY PARTY, OR BE ADMISSIBLE IN ANY PROCEEDING
INVOLVING THE DEBTOR OR ANY OTHER PARTY, OR BE DEEMED CONCLUSIVE
ADVICE ON THE TAX OR OTHER LEGAL EFFECTS OF THE PLAN ON HOLDERS
OF CLAIMS AGAINST OR INTERESTS IN THE DEBTOR.

     THE DESCRIPTION OF THE PLAN CONTAINED IN THIS DISCLOSURE
STATEMENT IS INTENDED AS A SUMMARY ONLY AND IS QUALIFIED IN ITS
ENTIRETY BY REFERENCE TO THE PLAN ITSELF. EACH CREDITOR AND
INTEREST HOLDER IS ENCOURAGED TO READ, CONSIDER AND CAREFULLY
ANALYZE THE TERMS AND PROVISIONS OF THE PLAN.

     THIS DISCLOSURE STATEMENT AND THE PLAN PROVIDE FOR
INJUNCTIVE RELIEF AS TO THE DEBTOR. THE PERMANENT INJUNCTIONS SET
FORTH IN THE PLAN WILL APPLY TO HOLDERS OF ANY CLAIM, INTEREST,
LIEN, ENCUMBRANCE OR DEBT, WHETHER SECURED OR UNSECURED,
GRANTED PRIORITY STATUS, INCLUDING PRIORITY TAX (FEDERAL OR STATE),
NON-PRIORITY UNSECURED CLAIM OR ANY INTEREST IN THE DEBTOR.
CREDITORS AND INTEREST HOLDERS WILL BE BOUND BY THIS INJUNCTIVE
RELIEF UNLESS CREDITORS TIMELY FILE OBJECTIONS IN ACCORDANCE WITH
THE PROVISIONS SET FORTH IN THE DISCLOSURE STATEMENT ORDER OR
HEREIN AND APPEAR AT THE CONFIRMATION HEARING, TO PROSECUTE ANY
OBJECTION.

     E. Important Dates

        The Bankruptcy Court approved this Disclosure Statement by and through the Disclosure
Statement Order entered on October 13, 2017 after notice and hearing and in accordance with
section 1125 of the Bankruptcy Code. The Bankruptcy Court found that the information contained
{00266837.6 / 1148-001 }
                                              3
herein is of the kind, and is sufficiently detailed, to enable a hypothetical, reasonable investor typical
of the class being solicited to make an informed judgment concerning the Plan. HOWEVER, THE
BANKRUPTCY COURT HAS NOT CONFIRMED THE PLAN, NOR IS THIS
DISCLOSURE STATEMENT OR THE DISCLOSURE STATEMENT ORDER TO BE
CONSTRUED AS APPROVAL OR ENDORSEMENT OF THE PLAN BY THE
BANKRUPTCY COURT.

         As stated in the Disclosure Statement Order, the Bankruptcy Court has scheduled a hearing
to consider Confirmation of the Plan for December 12, 2017 at 2:00 p.m. (the “Confirmation
Hearing”). Holders of Claims and Interests and other parties in interest may attend this hearing.
Objections to confirmation of the Plan must be filed on or before November 20, 2017 at 12:00 p.m.
as set forth in the Disclosure Statement Order.

        All Ballots with respect to the Plan must be completed in full and signed to be counted in the
tabulation of the votes and must be received by Rust Consulting/Omni Bankruptcy (“Voting
Agent”) no later than 4:00 p.m. on November 16, 2017.

        Completed and signed Ballots should be returned by first class mail to the Voting Agent
at the below address in the enclosed self-addressed return envelope, or by overnight mail or hand
delivery to:

          Choxi.com, Inc. Balloting
          c/o Rust Consulting/Omni Bankruptcy
          5955 DeSoto Avenue, Suite 100
          Woodland Hills, CA 91367

     F. Solicitation Procedures

        Creditors holding Claims that are impaired have the right to vote to accept or reject the Plan.
Generally speaking, a Claim or Interest is impaired if the Plan alters the legal, contractual or
equitable rights of the holder of the Claim or Interest. A Class of creditors accepts the Plan when
creditors holding two-thirds in amount of such class and more than one-half in number of the
Claims in such class who actually cast their ballots vote to accept the Plan.

        In this Bankruptcy Case, the Plan contains six (6) Classes of Claims and one (1) Class of
Interests. The Plan provides that holders of Class 1B, 3, 4 and 5 Claims are impaired in that the
Plan alters the legal, contractual and equitable rights of the holders of such Claims. Holders of Class
4 Claims and Class 5 Interests receive no Distribution under the Plan on account of their claim and
equity interests in the Debtor and are therefore deemed to reject the Plan. Accordingly, votes on
the Plan will be solicited from Classes 1Band 3 only.

     G. Recommendation

        In the opinion of the Debtor, the treatment of creditors and interest holders under the Plan
contemplates a greater recovery than that which is likely to be achieved under any other alternative
for the liquidation of the Debtor’s assets under chapter 11 or chapter 7 of the Bankruptcy Code.
{00266837.6 / 1148-001 }
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Accordingly, the Debtor submits that confirmation of the Plan is in the best interests of the Debtor’s
creditors and interest holders and recommends that all holders of Claims entitled to vote on the Plan
vote to accept the Plan.

      H. Inquiries

       If you have any questions about the packet of materials that you have received, please
contact the Voting Agent, Rust Consulting/Omni Bankruptcy by telephone at (818) 906-8300
during normal business hours.

II.       BACKGROUND

      A. Organizational Structure

       Choxi.com, Inc. (f/k/a Nomorerack.com, Inc.) is a Delaware corporation incorporated on
April 23, 2012. On September 19, 2012, Nomorerack.com Canada, Inc., a Canadian subsidiary
wholly owned by the Debtor, was formed. In or around April of 2015, the names of
Nomorerack.com, Inc. and Nomorerack.com Canada, Inc. were changed to Choxi.com, Inc. and
Choxi.com Canada, Inc., respectively.

      B. Nature of the Debtor’s Business

      The Debtor operated as an online retailer offering discount brand name and non-brand
name merchandise, including bed-and-bath goods, home décor, kitchenware, furniture, watches
and jewelry, apparel, electronics and computers, sporting goods, and designer accessories,
among other products. The Debtor sold these products through its internet website located at
www.choxi.com.

      C. Circumstances Leading to Filing

        In October 2016, the Debtor was forced to cease operations as a result of, among other
things, sustained operating losses. The Debtor’s management team, led by Deepak Agarwal, Co-
founder and CEO, and his now wife and Chief Merchandising Officer Co-Founder Melina Ash,
ran the business with a major focus on generating top-line gross revenue, with a lesser regard to
the underlying profitability of the Debtor. While gross margins averaged as high as 25% to 30%
over the operating lifespan of the Debtor, substantially all of the profits were undercut by heavier
spending on advertising to generate revenue, high refund and return rates, chargebacks and
similar costs. Net losses ranging from $7.4 million to as high as $21 million were incurred every
year the business was in operation.

       In addition, management never hired a permanent Chief Financial Officer to help steer
the Debtor towards a cash-flow positive business structure. This contributed to management
doubling down on financially unsound strategies to increase gross revenue with the hopes of
having the Debtor acquired, even after the Debtor’s outstanding preferred stock net financing of
approximately $41 million had been exhausted.

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                                                  5
       In order to increase sales promotions on its website, management sought and obtained
Series B financing at aggressively high levels. For instance, the Debtor’s largest investor, Oak
Investment Partners, invested $25 million in the Debtor.

       As the Debtor’s Series B financing was depleted without profitability and with revenue
decreasing, the Debtor sought additional financing, but was only able to obtain merchant cash
advances at exceedingly high interest rates.

        By August 2016, the Debtor ceased making all payments, the vendors stopped shipping
merchandise to customers, and the website was still taking orders with an inability to fulfill them
due to unpaid suppliers’ refusal to ship orders until payment was received.

        On or about August 10, 2016, the Debtor issued certain pari passu Secured Demand
Promissory Notes to 9th LLC and N.D. Gems Inc. (collectively, the “Second Lien Creditor”) in
the original aggregate principal amount of $1,708,512.30, which are secured by a lien and
security interest on substantially all of the Debtor’s assets, and the Second Lien Creditor filed
UCC-1 financing statements evidencing its properly perfected lien.

        In August 2016, negotiations began for bridge loan financing. In September 2016, the
Debtor obtained $2 million in secured bridge loan financing from TVII Corp., Bhungalia Family,
LLC d/b/a Bhungalia, LLC (“Bhungalia”) and Ronak Khichadia (collectively, the “First Lien
Creditor”). The loan was secured by all of the Debtor’s assets and the First Lien Creditor filed
UCC-1 financing statements evidencing its properly perfected lien. Pursuant to a Limited
Subordination under Secured Demand Promissory Notes agreement, dated as of September 1,
2016, the Second Lien Creditor subordinated its liens and security interests in the Debtor’s assets
to the liens and security interests of the First Lien Creditor. Heresh Bhungalia, a member of
Bhungalia, and Ronak Khichadia were former (and are at present time again) directors of the
Debtor. As a condition of the loan, the Debtor retained Eddy Friedfeld as its Chief Restructuring
Officer vested with all power, authority and responsibility as is customary for chief restructuring
officers, including powers vested in the President of the Debtor. As a result, Mr. Agarwal
resigned as CEO. With the help of Mr. Friedfeld, the Debtor’s operations continued with some
success but there was a realization that “the engine was extremely damaged” as a result of
erosion of consumer and supplier confidence and lack of funds to advertise. As such, when cash
ran out and no additional capital was available, in October 2016, the Debtor terminated its
employees and ceased operations permanently.

     D. Potential Estate Causes of Action

       Upon information and belief, a contributing factor to the Debtor’s pre-bankruptcy decline
may have been potentially fraudulent or otherwise avoidable transactions facilitated by the
Debtor’s former management prior to the Petition Date.

        (a)    Upon information and belief, in the years leading up to the Petition Date, Iftikhar
Ahmed (“Ahmed”), who was a director of the Debtor and a general partner of the Debtor’s
largest investor, Oak Investment Partners (“Oak”), falsely represented to the Debtor that Oak
could not make its investment unless the Debtor repurchased its Series A stock. The Series A
{00266837.6 / 1148-001 }
                                                6
stock was owned by an Asian e-commerce entity in which Oak was invested and on whose board
Ahmed sat. Upon information and belief, the Debtor transferred repurchase funds of nearly $11
million to the Asian e-commerce entity, but such funds were diverted to Ahmed’s personal
account. Ahmed has since fled to India and was indicted by the Securities and Exchange
Commission in connection with unrelated securities fraud.

        (b)     Separately, the Debtor has reason to believe, based on a preliminary investigation,
that approximately $4 million in Debtor funds were fraudulently diverted from the Debtor as part
of an invoice skimming scheme run through the Debtor’s outsourced customer service operations
in the Philippines.

         (c)     Post-petition, during the process for selection of a stalking horse bidder to license
or purchase the Debtor’s assets in bankruptcy as discussed below, a principal of USA Dawgs,
Inc., a former vendor of the Debtor who expressed interest in becoming the stalking horse bidder,
notified the Debtor that, prior to the Petition Date and prior to the retention of the Chief
Restructuring Officer, he had received 125,000 email addresses from the Debtor in exchange for
a reduction of pre-petition amounts owed the Debtor to USA Dawgs, Inc. Upon information and
belief, this transaction was conducted unilaterally by the Debtor’s former CEO in violation of the
Debtor’s privacy policy and without the Debtor’s consent and after soliciting advice from and
being cautioned by the Debtor’s former General Counsel that such a transaction was explicitly
prohibited. Subject to further investigating, the Debtor may have claims or causes of action
against any party involved in such transaction. While USA Dawgs, Inc. received the email list
for a $125,000 credit, it did not adjust its proof of claim accordingly.

       E. The Bankruptcy Case

       On November 10, 2016, following the cessation of the Debtor’s business in October
2016, an involuntary petition under Chapter 7 of the Bankruptcy Code was filed against the
Debtor by petitioning creditors Sanders Collection, Inc., Consumer Shopping, Inc. and Elite
Brands, Inc., thereby commencing a Chapter 7 bankruptcy case in the Bankruptcy Court.

        On December 5, 2016 (the “Petition Date”), the Debtor filed a voluntary petition for
relief under chapter 11 of the Bankruptcy Code.

       On December 9, 2016, the Bankruptcy Court entered an order granting the Debtor relief
under chapter 11 of the Bankruptcy Code effective as of the Petition Date.

      Following entry of the order for relief, the Debtor resumed operating its business and
managing its property as a debtor in possession pursuant to sections 1107(a) and 1108 of the
Bankruptcy Code.

III.      SIGNIFICANT EVENTS DURING THE CHAPTER 11 CASE

       A. The Appointment of the Creditors’ Committee

          On December 14, 2016, the Office of the United States Trustee appointed Elite Brand
{00266837.6 / 1148-001 }
                                                  7
Inc., Pearl Enterprises LLC d/b/a JR Trading Company and Shamrock Industries LLC to the
Official Committee of Unsecured Creditors (the “Committee”) pursuant to 11 U.S.C. § 1102.

     B. Retention of Professionals; Appointment of Claims and Noticing Agent;
        Appointment of Consumer Privacy Ombudsman

        On December 9, 2016, the Bankruptcy Court entered an order authorizing the Debtor to
retain Rust Consulting/Omni Bankruptcy as claims and noticing agent.

       Also on December 9, 2016, the Bankruptcy Court entered an order directing the U.S.
Trustee to appoint a consumer privacy ombudsman in the Bankruptcy Case. On December 12,
2016, the U.S. Trustee filed its Notice of Appointment of Consumer Privacy Ombudsman,
appointing Lucy Thomson as Consumer Privacy Ombudsman in the Bankruptcy Case.

        On January 24, 2017, the Bankruptcy Court entered an order authorizing the Debtor to
retain Klestadt Winters Jureller Southard & Stevens, LLP as bankruptcy counsel nunc pro tunc
to the Petition Date.

         On January 24, 2017, the Bankruptcy Court entered an order authorizing the retention of
CBIZ Accounting, Tax & Advisory of New York and CBIZ Valuation Group, LLC (“CBIZ”), as
joint financial advisor to the Debtor and the Committee nunc pro tunc to December 14, 2016.

        On January 24, 2017, the Bankruptcy Court entered an order authorizing the Committee
to retain Nutovic & Associates as counsel to the Committee.

       On February 27, 2017, Nutovic & Associates and Fox Rothschild LLP filed a Notice of
Substitution of Counsel substituting Fox Rothschild LLP for Nutovic & Associates as counsel to
the Committee.

        On March 24, 2017, the Bankruptcy Court entered an order authorizing the Committee to
retain Fox Rothschild LLP as counsel to the Committee.

     C. Schedules of Assets and Liabilities, Statement of Financial Affairs

       On the Petition Date, the Debtor filed its schedules of assets and liabilities and a
statement of financial affairs (collectively the “Schedules”).

     D. Bar Date for Filing of Claims Arising Prior to the Petition Date

        On January 20, 2017, the Bankruptcy Court entered an order (the “Bar Date Order”) (i)
setting a deadline (the “Bar Date”) for filing proofs of claim against the Debtor and its Estate
pursuant to Federal Rule of Bankruptcy Procedure 3003(c)(3); (ii) approving the form of notice
of the Bar Date (the “Bar Date Notice”) to be sent to Creditors and parties in interest; and (iii)
approving as adequate and sufficient the service of the Bar Date Notice by first class mail and
publication of the Bar Date in Crain’s New York. The Bar Date Order fixed March 3, 2017 at
5:00 P.M., or with respect to Governmental Units, June 5, 2017 at 5:00 p.m., as applicable, as the
{00266837.6 / 1148-001 }
                                                8
Bar Date by which all Claims against the Debtor which arose prior to the Petition Date, other
than those types of Claims specifically excepted, had to be filed.

        The Bar Date Notice was served by first class regular mail upon (a) the U.S. Trustee; (b)
counsel for the Committee; (c) all persons or entities that requested notice of the proceedings in
the Bankruptcy Case; (d) all known creditors of the Debtor, including as set forth on the Debtor’s
Schedules; (e) all parties to executory contracts and unexpired leases of the Debtor; (f) all
required Governmental Units and state and local taxing authorities; and (g) holders of
membership interests in the Debtor. Notice of the Bar Date was also published in Crain’s New
York on January 30, 2017. Except for the holders of certain specifically excluded Claims, every
Creditor was required to file a proof of claim on or before the Bar Date so that the Debtor could
ascertain with certainty the total amount of pre-petition Claims outstanding.

        In accordance with Federal Rule of Bankruptcy Procedure 3003(c)(2), holders of Claims
who failed to comply with the terms of the Bar Date Order are forever barred from (i) filing a
proof of claim with respect to such Claim, (ii) asserting such Claims against the Debtor or its
Estate and/or property, (iii) voting on any plan filed in this Bankruptcy Case and (iv)
participating in any Distribution in the Bankruptcy Case on account of such Claims.

     E. Licensing the Debtor’s Intellectual Property Assets

        On the Petition Date, the Debtor filed its Motion Pursuant to Sections 105(a), 332 and
363 of the Bankruptcy Code and Bankruptcy Rules 2002 and 6004 (A) for an Order (i)
Approving License Agreement with Stalking Horse Bidder on an Interim Basis, (ii) Scheduling
Bid Procedures Hearing and (iii) Directing the Appointment of a Consumer Privacy
Ombudsman, (B) for an Order (i) Approving Bid Protections, (ii) Approving Bid Procedures,
(iii) Scheduling an Auction and Final Hearing and (iv) Approving the Form and Manner of
Notice Thereof and (C) for an Order Approving License Agreement on a Final Basis or Sale to
Successful Bidder Free and Clear of all Liens, Claims and Encumbrances (the “Sale Motion”)
to, among other things, enter into an exclusive, worldwide, irrevocable license and right to use
and exploit the Debtor’s intellectual property Assets (the “License”) with the Second Lien
Creditor subject to higher and better bids made at an auction (the “Auction”).

        An interim hearing with respect to the Sale Motion (the “Interim Hearing”) was held on
December 8, 2016. After multiple expressions of interest were received to act as stalking horse
bidder for the License, at the Interim Hearing, the Debtor, in consultation with the Committee,
entertained bids in the style of an open auction for the purpose of selecting a stalking horse
bidder. At the conclusion of the bidding, the Second Lien Creditor (in such capacity, collectively,
the “Stalking Horse Bidder”) was ultimately selected as the Stalking Horse Bidder.

       The Interim Hearing was continued on December 9, 2016. On the same date, the
Bankruptcy Court entered its Interim Order (i) Approving License Agreement with Stalking
Horse Bidder on an Interim Basis and (ii) Scheduling Bid Procedures Hearing (the “Interim
Order”). The Interim Order approved a License agreement with the Stalking Horse Bidder (the
“Interim License Agreement”) on an interim basis, subject to higher and better offers as may be
received at the Auction. As further described in the Interim License Agreement, in consideration
{00266837.6 / 1148-001 }
                                                9
for the interim License, the Stalking Horse Bidder provided to the Estate an administrative fee of
$250,000 and monthly Royalties with a guaranteed minimum of $60,000 per month for year one
and $40,000 per month for years two through four of the Interim License Agreement. In addition,
the Stalking Horse Bidder agreed to subordinate the first $1,000,000 of its Secured Claim against
the Debtor to all Allowed General Unsecured Claims. Lucent Jewelers, Inc., an affiliate of the
Stalking Horse Bidder issued a guarantee of the minimum Royalties under the Interim License
Agreement, and Hasmukh Savalia, the Stalking Horse Bidder’s principal, provided a personal
guarantee of the guaranteed minimum Royalties under the Interim License Agreement for the
first year of the Interim License Agreement.

       On December 21, 2016, the Bankruptcy Court entered an Order Pursuant to Sections
105(a) and 363 of the Bankruptcy Code and Bankruptcy Rules 2002 and 6004 (i) Approving Bid
Procedures, (ii) Scheduling an Auction and Final Hearing and (iii) Approving the Form and
Manner of Notice Thereof (the “Bid Procedures Order”).

       Pursuant to the Bid Procedures Order, the Debtor solicited competing bids through and
including January 9, 2017 (the “Bid Deadline”). One bidder submitted a qualified bid by the Bid
Deadline.

         In accordance with the Bid Procedures Order, the Debtor conducted the Auction on
January 12, 2017. The Auction was very successful and resulted in bids substantially greater than
the initial offer approved under the Interim Order. At the conclusion of the Auction, the Debtor,
in consultation with the Committee and CBIZ, determined that the bid submitted by Creek
Equity Partners, LLC was the highest and best bid. On January 17, 2017, the Debtor filed a
Notice of Auction Results announcing Creek Equity Partners, LLC as the successful bidder.

        Objections to the approval of the sale to Creek Equity Partners, LLC were filed by the
Stalking Horse Bidder, who had enhanced its initial offer substantially, and the First Lien
Creditor. At a hearing held on January 19, 2017 (the “Final Hearing”), the Bankruptcy Court
directed Creek Equity Partners, LLC and the Stalking Horse Bidder to provide the Debtor with
supplemental financial information and any credit enhancements in support of their respective
bids.

      After receipt and review of the various supplemental financial documents and credit
enhancements submitted by the bidders, the Debtor, in consultation with the Committee and
CBIZ, determined that the bid submitted by the Stalking Horse Bidder was the highest and best
bid. On January 31, 2017, the Debtor filed its Supplemental Notice of Auction Results
announcing the Stalking Horse Bidder as the successful bidder.

       The Final Hearing continued on February 2, 2017, at which time the Bankruptcy Court
approved the license to J Club, Inc. (the “Licensee”), designee of the Stalking Horse Bidder, as
the successful bidder for the License.

       On February 13, 2017, the Bankruptcy Court entered its Final Order Approving License
Agreement with J Club, Inc. upon the terms set forth in the License Agreement attached as
Exhibit A thereto (the “License Agreement”). As further described in the License Agreement, in
{00266837.6 / 1148-001 }
                                               10
consideration for the License, the Licensee provided an administrative fee of $250,000 and
monthly Royalties with guaranteed minimums of $60,000 per month for years one through three
of the License Agreement and $50,000 per month for years four and five of the License
Agreement. In addition, the Second Lien Creditor agreed to (i) subordinate the first $1,500,000
of its Secured Claims to all Allowed General Unsecured Claims, and (ii) provided a joint and
several guarantee of the Licensee’s obligations under the License Agreement. Lucent Jewelers,
Inc. provided a security interest on all its inventory to secure the Licensee’s obligations under the
License Agreement and Hasmukh Savalia provided a personal guarantee of the Licensee’s first
year obligations under the License Agreement.

          F. Cash Collateral Use

        On March 21, 2017, the Bankruptcy Court entered a Stipulation and Order (I)
Authorizing Debtor’s Use of Cash Collateral Pursuant to 11 U.S.C. § 363 and Bankruptcy Rule
4001 and (II) Granting Adequate Protection Pursuant to 11 U.S.C. §§ 361, 363 (the “Cash
Collateral Order”). Pursuant to the Cash Collateral Order, the Debtor was granted authority to
use the Secured Creditors’ cash collateral (within the meaning of section 363 of the Bankruptcy
Code) through March 31, 2017 for the limited purposes and up to the amounts set forth in the
Budget attached as Exhibit A to the Cash Collateral Order, as such budget may be modified from
time to time at the request of the Debtor and upon the prior written approval of the Secured
Creditors and prior written notice to counsel for the Committee. In accordance with paragraph 3
of the Cash Collateral Order, on April 27, 2017, the Budget was modified and extended to permit
the Debtor’s continued use of cash collateral through May 30, 2017.

        Also pursuant to the Cash Collateral Stipulation, the Debtor set aside a reserve of
$57,682.03 to be held pending a final determination of the Court regarding the validity and
priority of the liens of American Express on the Debtor’s assets. American Express asserts a first
priority Secured Claim against the Debtor in such amount, representing the balance as of the
Petition Date of merchant cash advances made by American Express to the Debtor under that
certain Business Loan and Security Agreement, dated as of November 13, 2015, between the
Debtor and American Express.

          G. Settlement with Paysafe

        On or about July 25, 2012, the Debtor entered into a Bank Card Merchant Agreement
(the “Merchant Agreement”) with Paysafe Merchant Services Corp. (f/k/a NBX Merchant
Services Corp.) (“Paysafe”), under which Paysafe processed credit and debit card transactions
for the Debtor.

       As of March 28, 2017, Paysafe held approximately $738,708.38 in reserve (the “Reserve
Funds”) for chargebacks and other costs under the Merchant Agreement. Both the Debtor and
Paysafe alleged that they had certain rights to the Reserve Funds.

       On March 28, 2017, the Debtor entered into a Stipulation of Settlement with Paysafe (the
“Paysafe Stipulation”) with respect to the Reserve Funds. Under the Paysafe Stipulation, Paysafe
agreed to release the Reserve Funds, less chargebacks and other costs, to the Debtor in
{00266837.6 / 1148-001 }
                                                 11
installments pursuant to the terms and conditions of the Paysafe Stipulation, with the last
installment due by May 3, 2017.

       On April 27, 2017, the Bankruptcy Court entered an order approving the Paysafe
Settlement.

IV.       SUMMARY OF THE PLAN OF LIQUIDATION

      A. General Plan Objectives

       Chapter 11 is the chapter of the Bankruptcy Code primarily used for business
reorganization. Asset sales, stock sales, and other liquidation efforts, however, can also be
conducted during a chapter 11 case or pursuant to a chapter 11 plan. Under chapter 11, a
company endeavors to restructure its finances such that it maximizes recovery to its creditors.

       Formulation and confirmation of a chapter 11 plan is the primary goal of a debtor in a
chapter 11 case. A chapter 11 plan sets forth and governs the treatment and rights to be afforded
to creditors and shareholders with respect to their claims against and equity interests in the
debtor. According to section 1125 of the Bankruptcy Code, acceptances of a chapter 11 plan
may be solicited by the proponent of a plan only after a written disclosure statement has been
provided to each creditor or shareholder who is entitled to vote on the plan.

       The Plan is a plan of liquidation. In general, a chapter 11 plan of liquidation (i) divides
claims and equity interests into separate classes, (ii) specifies the property that each class is to
receive under the plan, and (iii) contains other provisions necessary to implement the Plan.

        Generally, the Plan establishes a mechanism by which assets of the Debtor’s Estate will
be distributed to holders of Claims and Interests, in the order set forth in the Plan.

      B. Provisions Governing Order and Method for Distributions Under the Plan

       The Plan divides Claims against and Interests in the Debtor into seven (7) categories or
“Classes” according to the underlying basis and subsequent treatment for each. Claims within
the same Class are treated identically.

       Administrative Expense Claims, Professional Fee Claims, and Priority Tax Claims are
not classified but are treated in the manner set forth in Article 2 of the Plan and summarized
below.

      C. Classes of Claims

       The following classes of Claims and Interests are designated pursuant to and in
accordance with section 1123(a)(1) of the Bankruptcy Code, which Classes shall be mutually
exclusive:



{00266837.6 / 1148-001 }
                                                12
           Class              Class Description             Estimated Amount           Treatment Under
                                                           of Allowed Claims in       Plan and Estimated
                                                                   Class               Recovery Under
                                                                                             Plan
Unclassified                Professional Fee             $904,0721                   Unimpaired.
                            Claims                                                   Estimated Recovery:
                                                                                     100%
Unclassified                Administrative               $58,366                     Unimpaired.
                            Expense Claims                                           Estimated Recovery:
                            (other than                                              100%
                            professional fees and
                            expenses)
Unclassified                Priority Tax Claims          $617,501.862                Unimpaired.
                                                                                     Estimated Recovery:
                                                                                     100%
Class 1A                    Allowed Secured              $57,682.03                  Unimpaired. Holders
                            Claim of American                                        of Class 1A Claims
                            Express                                                  shall be paid the
                                                                                     proceeds of collateral,
                                                                                     if any, pledged to
                                                                                     secure their claim.
                                                                                     Deemed to Accept.
Class 1B                    Allowed Secured         $2,286,768.23                    Impaired. The
                            Claim of the First                                       Secured Claim of the
                            Lien Creditor                                            Holders of Class 1B
                            ($2,211,768.23) and                                      Claims is reduced and
                            the First Lien Creditor                                  allowed as follows:
                            Supplemental Secured                                     the Allowed Secured
                            Claim ($75,000)                                          Claim of the First
                                                                                     Lien Creditor in the
                                                                                     amount of
                                                                                     $2,211,768.233,
                                                                                     including prepetition
                                                                                     interest and fees, and
                                                                                     the First Lien Creditor
                                                                                     Supplemental Secured
                                                                                     Claim in the amount
                                                                                     of $75,000 in

1
  Several parties dispute the Professional Fee Claims of Nutovic & Associates in this class.
2
  The Debtor disputes the Claims in this class. A reserve in the full amount of these Claims will be established
pursuant to Section (IV)(C)(3) below.
3
  On September 18, 2017 the Debtor made a payment of $700,000 on account of the Allowed Secured Claim of the
First Lien Creditor. As a result, the total amount outstanding as of the filing of this Disclosure Statement is
$1,511,768.23.

{00266837.6 / 1148-001 }
                                                      13
                                                                                     accordance with
                                                                                     Article 4 of the Plan.
                                                                                     Estimated Recovery:
                                                                                     97% to 100%.
                                                                                     Entitled to Vote.
Class 1C                     Allowed Secured            $8,512.39                    Unimpaired. Holders
                             Claim of the Second                                     of Class 1C Claims
                             Lien Creditor                                           shall be paid the
                                                                                     proceeds of collateral,
                                                                                     if any, pledged to
                                                                                     secure their claim.
                                                                                     Deemed to Accept.
Class 2                      Non-Tax Priority           $118,027.274                 Unimpaired.
                             Claims                                                  Estimated Recovery:
                                                                                     100%.
                                                                                     Deemed to Accept.
Class 3                      General Unsecured          $33,000,000                  Impaired.
                             Claims                                                  Estimated Recovery:
                                                                                     0% to 2%.
                                                                                     Entitled to Vote.
Class 4                      Allowed Subordinated $1,650,000                         Impaired.
                             Claims                                                  Estimated Recovery:
                                                                                     0%.
                                                                                     Deemed to Reject.
Class 5                      Interests                  $0.00                        Impaired.
                                                                                     Estimated Recovery:
                                                                                     0%.
                                                                                     Deemed to Reject.

                    1.     Professional Fee Claims

                The Plan Administrator shall pay all Professional Fee Claims in an amount not to
exceed the Estate Reserve as soon as practicable after the later of the Effective Date or a Final
Order has awarded such compensation and reimbursement of expenses pursuant to proper
application to the Court in accordance with Section 5.13 of the Plan or such later date as may be
agreed upon by the holder of any such Professional Fee Claim and the Debtor. All Professional
Fee Claims in excess of the Estate Reserve shall be paid as soon as practicable from the UC
Funds. In the event any Disputed Professional Fee Claims exist on the Distribution Date, the
Plan Administrator shall hold and maintain Cash in the Disputed Claims Reserve in an amount
equal to the pro rata share of all outstanding Disputed Professional Fee Claims until such dispute
is resolved consensually or by order of the Bankruptcy Court.



4
 The Debtor disputes the Claims in this class. A reserve in the full amount of these Claims will be established
pursuant to Section (IV)(C)(7) below.

{00266837.6 / 1148-001 }
                                                      14
                    2.     Administrative Expense Claims

        All Allowed Administrative Expense Claims set forth in a budget approved by the First
Lien and Second Lien Creditors shall be paid in full, in Cash, in such amounts as are incurred in
the ordinary course of the liquidation of the Debtor, or in such amounts as may be Allowed by
the Bankruptcy Court (a) as soon as practicable following the later of the Effective Date or the
date upon which the Court enters a Final Order allowing any such Administrative Expense
Claim, or (b) upon such other terms as may exist in accordance with the ordinary course of the
Debtor’s liquidation or (c) as may be agreed upon between the holder of any such Administrative
Expense Claim and the Debtor. In the event there exists any Disputed Administrative Expense
Claims on the Effective Date, the Debtor or the Plan Administrator shall at all times hold and
maintain Cash in an amount equal to that portion of the Disputed Claims Reserve attributable to
all Disputed Administrative Expense Claims.

                    3.     Priority Tax Claims

        Unless otherwise agreed to by the parties, each holder of an Allowed Priority Tax Claim
will receive from the UC Funds regular installment payments in Cash of a total value, as of the
Effective Date, equal to the Allowed amount of such Priority Tax Claim over a period ending not
later than five (5) years after the Petition Date, which treatment is not less favorable than that
provided to the General Unsecured Creditors, in accordance with Section 1129(a)(9)(C) of the
Bankruptcy Code. In the event any Disputed Priority Tax Claims exist on the Distribution Date,
the Plan Administrator shall hold and maintain Cash in the Disputed Claims Reserve in an
amount equal to all outstanding Disputed Priority Tax Claims until such dispute is resolved
consensually or by order of the Bankruptcy Court.


                    4.     Class 1A (Allowed Secured Claim of American Express)

        American Express shall receive on account of its Allowed Secured Claim, in Cash on the
Effective Date, or as soon thereafter as is reasonably practicable, (i) all of the American Express
Reserve, (i) such other, less favorable treatment as may be agreed to in writing by American
Express and the Debtor, or (iii) such other treatment as may be determined by order of the
Bankruptcy Court. Any Deficiency Claim that may arise on account of the present lack of
collateral or otherwise resulting from the aforesaid treatment shall be included in and treated as a
Class 3 General Unsecured Claim. Except as otherwise determined by order of the Bankruptcy
Court, the Secured Claim of American Express is Allowed in the amount of $57,682.03.

               5.    Class 1B (Allowed Secured Claim of the First Lien Creditor and the First
Lien Creditor Supplemental Secured Claim)

        The First Lien Creditor shall receive on account of its Allowed Secured Claim (i) on the
Effective Date, or as soon thereafter as is reasonably practical, all of the Effective Date Cash net
of the Estate Reserve after payment of the Allowed Administrative Expense Claims set forth in
Cash Collateral budget approved by the First Lien and Second Lien Creditors, and (ii) within
five (5) Business Days after receipt by the Plan Administrator, all of the proceeds of the
{00266837.6 / 1148-001 }
                                                 15
Remaining Assets recovered from and after the Effective Date, including, without limitation, the
Royalties, but except for the Estate Monthly Reserve and the net proceeds from Avoidance
Actions and Causes of Action, until the Allowed Secured Claim of the First Lien Creditor is paid
in full, or (iii) such other, less favorable treatment as may be agreed to in writing by the First
Lien Creditor and the Debtor. In the event the Distributions to the Holders of Allowed General
Unsecured Claims aggregate the sum of one million dollars ($1,000,000) (the “Threshold”) or
more, the First Lien Creditor shall receive fifty (50%) percent of the Royalties each month within
five (5) business days after the Royalties are received commencing the month after the Threshold
is reached until the First Lien Creditor Supplemental Secured Claim is paid in full. Any
Deficiency Claim that may arise on account of the present lack of collateral or otherwise
resulting from the aforesaid treatment shall be included in and treated as a Class 3 General
Unsecured Claim. The Secured Claim of the First Lien Creditor is reduced and Allowed as
follows: the Allowed Secured Claim of the First Lien Creditor in the amount of $2,211,768.235,
including prepetition interest and fees, and the First Lien Creditor Supplemental Secured Claim
in the amount of $75,000.

                    6.     Class 1C (Allowed Secured Claim of the Second Lien Creditor)

        The Second Lien Creditor shall receive on account of its Allowed Secured Claim, after
the Allowed Secured Claim of the First Lien Creditor is paid in full in accordance with Section
4.2 of the Plan, (i) within five (5) Business Days after receipt by the Plan Administrator, all of
the proceeds of the Remaining Assets, including, without limitation, the Royalties, but except for
the net proceeds from Avoidance Actions and Causes of Action, until the Allowed Secured
Claim of the Second Lien Creditor is paid in full; or (ii) such other, less favorable treatment as
may be agreed to in writing by the Second Lien Creditor and the Debtor. The Subordinated 2nd
Lien Claim shall be paid from any Remaining Assets after payment of the Class 3 General
Unsecured Claim in accordance with Section 4.6 of the Plan. Any Deficiency Claim which may
arise on account of the present lack of collateral or otherwise resulting from the aforesaid
treatment shall be included in and treated as a Class 3 General Unsecured Claim. The Secured
Claim of the Second Lien Creditor is Allowed in the amount of $8,512.39.

                    7.     Class 2 (Non-Tax Priority Claims)

        As soon as is reasonably practical after the Effective Date, in full satisfaction of such
Allowed Non-Tax Priority Claim, each holder of an Allowed Non-Tax Priority Claim shall
receive from the UC Funds (a) an amount in Cash equal to the Allowed amount of such Non-Tax
Priority Claim, or (b) such other treatment as to which the Debtor and the holder of such
Allowed Non-Tax Priority Claim shall have agreed upon in writing. In the event any Disputed
Non-Tax Priority Claims exist on the Distribution Date, the Debtor or the Plan Administrator
shall hold and maintain Cash in the Disputed Claims Reserve in an amount equal to all Disputed
Non-Tax Priority Claims until such dispute is resolved consensually or by order of the

5
 On September 18, 2017 the Debtor made a payment of $700,000 on account of the Allowed Secured Claim of the
First Lien Creditor. As a result, the total amount outstanding as of the filing of this Disclosure Statement is
$1,511,768.23.

{00266837.6 / 1148-001 }
                                                      16
Bankruptcy Court.

                    8.     Class 3 (General Unsecured Claims)

        In full satisfaction of such Allowed General Unsecured Claim, each holder of an Allowed
General Unsecured Claim shall receive one or more Distributions equal to its Pro Rata share of
the UC Funds as such funds become available as is reasonably practical in the reasonable
discretion of the Plan Administrator. In the event any Disputed General Unsecured Claims exist
on a Distribution Date, the Plan Administrator shall hold and maintain Cash in the Disputed
Claims Reserve in an amount equal to all outstanding Disputed General Unsecured Claims until
such dispute is resolved consensually or by order of the Bankruptcy Court.

        The Debtor estimates that holders of Allowed General Unsecured Claims shall receive a
Distribution of between 0% and 2% on account of such Allowed General Unsecured Claims. The
actual distribution that will be made will be determined based upon revenue due under the
License Agreement, the net proceeds from Avoidance Actions and Causes of Action, and Claims
that have been Allowed or Disallowed.

                    9.     Class 4 (Allowed Subordinated Claims)

       On the date upon which all General Unsecured Claims have been satisfied in full, or as
soon thereafter as is reasonably practical, in full satisfaction of such Allowed Subordinated
Claims, the holders of the Allowed Subordinated Claims shall receive one or more pro rata
Distributions from the Subordinated Creditor Fund in the aggregate amount of the lesser of (a)
the Allowed amount of the Allowed Subordinated Claims and (b) the amount of the
Subordinated Creditor Fund.

                    10.    Class 5 (Interests)

              No holder of an Interest shall be entitled to a Distribution under the Plan on
account of such Interest. On the Effective Date, all Interests shall be cancelled and extinguished.

V.        MEANS OF IMPLEMENTING THE PLAN

     A. Appointment of Plan Administrator

        (a) Appointment. On the Effective Date, the Plan Administrator Agreement shall be
executed by the Debtor, the Creditors’ Committee, and by the Plan Administrator. The Plan
Administrator shall be deemed appointed upon execution of the Plan Administrator Agreement.
A copy of the proposed form of Plan Administrator Agreement will be filed with the court not
later than ten (10) days before the hearing on confirmation of the Plan. Notice of the selection of
the Plan Administrator shall be provided in a Plan Supplement to be filed with the Court prior to
the Confirmation Hearing.

        (b)   General Powers, Rights and Responsibilities of Plan Administrator. On the
Effective Date, subject to the direction of the Oversight Committee, the Plan Administrator shall
become the exclusive representative of the Estate. The powers, rights and responsibilities of the
{00266837.6 / 1148-001 }
                                                  17
Plan Administrator, shall include, but are not be limited to (i) receive, manage, invest, supervise,
and protect the Remaining Assets; (ii) pay taxes or other obligations incurred by the Estate;
(iii) retain and compensate, without further order of the Bankruptcy Court, the services of
professionals to advise and assist in the administration, prosecution and Distribution of the
Remaining Assets; (iv) calculate and implement Distributions of the Remaining Assets;
(v) prosecute, compromise and settle all Disputed Claims and Causes of Action; (vi) pay
Professional Fees of professionals retained in the Bankruptcy Case and Allowed pursuant to any
order of the Court, whether such Professional Fees were incurred before or after the Effective
Date; (vii) make Distributions in accordance with the provisions of the Plan; (viii) make
payments related to Post-Confirmation Expenses from the Post-Confirmation Reserve in
accordance with the provisions of the Plan; (ix) assume responsibility for all rights, obligations
and liabilities of the Debtor under the License Agreement and take any and all actions which the
Debtor under the License Agreement is entitled to take; and (x) retain ownership of and oversee
the Personally Identifiable Information, including by executing the Data Breach Protocol in the
event of any breach of such Personally Identifiable Information known to the Plan Administrator.


     B. Plan Administrator Reports

        The Plan Administrator shall file with the Court (and provide to the First Lien Holder)
quarterly reports, beginning with the first full calendar quarter after the Effective Date, regarding
the liquidation or other administration of the Remaining Assets, Royalty Payments received from
the Licensee under the License Agreement, Distributions made by the Plan Administrator, the
status of the prosecution or settlement of any Claims and Causes of Action and any other matters
required to be included in such report. The Plan Administrator shall pay fees of the U.S. Trustee
as provided in Section 5.17 of the Plan.

     C. Fees and Expenses

        Except as otherwise ordered by the Bankruptcy Court or specifically provided for in the
Plan, the amount of any fees and expenses incurred by the Plan Administrator on or after the
Effective Date (including, without limitation, taxes) and any compensation and expense
reimbursement claims (including, without limitation, reasonable fees and expenses of counsel) of
the Plan Administrator arising out of the liquidation of the Remaining Assets, the making of
Distributions under the Plan, and the performance of any other duties given to it shall be paid in
accordance with the Plan Administrator Agreement.

     D. Causes of Action

        During the Post-Confirmation Period, the Plan Administrator shall have the authority to
assert, prosecute, and settle all Claims and Causes of Action that belong to the Debtor’s Estate,
and, in connection therewith, shall have the right to assert and enforce all defenses belonging to
the Debtor and its Estate, including, without limitation, setoff, recoupment and any rights under
Bankruptcy Code section 502(d). The Plan Administrator and the First Lien Creditor shall confer
in good faith in connection with the prosecution, settlement and disposition of any recoveries
from any tort Causes of Action that either of them may commence after the Effective Date
against any of the former officers, directors, shareholders and/or investors of/in the Debtor.
{00266837.6 / 1148-001 }
                                                 18
     E. Employment of Professionals by Plan Administrator

       The Plan Administrator may employ, without further order of the Bankruptcy Court,
professionals to assist it in carrying out its duties hereunder and may compensate and reimburse
the expenses of those professionals without further order of the Bankruptcy Court; provided,
however, that any such compensation and reimbursement may be made only out of the Post-
Confirmation Reserve.

     F. Oversight Committee

         An Oversight Committee comprised of no more than three current members of the
Creditors Committee (the “Oversight Committee”) shall be appointed on the Effective Date for
the purpose of providing advice and consent to the Plan Administrator on or after the Effective
Date with respect to the resolution, reconciliation and settlement of Disputed Claims,
Distributions to Creditors, and commencement of litigation, as further described in Section 5.7 of
the Plan as follows: (A) the Plan Administrator may select, in consultation with the Debtor and
the Oversight Committee, (i) special counsel to the Plan Administrator to prosecute objections to
Disputed Claims, which may be the Debtor’s or the Creditors’ Committee’s pre-Effective Date
counsel, (ii) special counsel to the Plan Administrator to commence and prosecute lawsuits and
(iii) a financial advisor to advise the Plan Administrator with respect to the review and analysis
of Disputed Claims; (B) when considering settlement of Claims objections or lawsuits, the Plan
Administrator shall consult with the Oversight Committee regarding the merits, efficacy and
reasonableness of such action, and, in the event the Oversight Committee and Plan Administrator
cannot reach agreement on the Plan Administrator’s proposed action, the Plan Administrator
may seek Bankruptcy Court authorization for such action; (C) the Plan Administrator shall
consult with the Oversight Committee on the status of Claims objections and lawsuits from time
to time; (D) the members of the Oversight Committee shall be identified in the Confirmation
Order and shall be reimbursed for all reasonable out-of-pocket expenses incurred in fulfilling
their responsibilities under the Plan, which amounts shall be paid from the Post-Confirmation
Reserve; and (E) the Oversight Committee shall be disbanded at such time as all Disputed
Claims have been finally resolved, all Distributions to holders of Allowed General Unsecured
Claims have been made and all Causes of Action have been settled or resolved.

     G. Establishment of Reserves and Funds
               (a) American Express Reserve. On the Effective Date, the American Express
Reserve shall be established by the Plan Administrator for distribution by the Plan Administrator
in accordance with Section 4.1 of the Plan or as otherwise determined by order of the
Bankruptcy Court.
                (b) Post-Confirmation Reserve. On the Effective Date or as soon thereafter as is
practicable, the Post-Confirmation Reserve shall be established by the Plan Administrator from
the UC Funds. If the Plan Administrator determines that additional funding of the Post-
Confirmation Reserve is required, from time to time following the Effective Date, such funding
shall be made from the UC Funds. The Post-Confirmation Reserve shall be used to pay the Post-
Confirmation Expenses, including, without limitation, costs and expenses of counsel or other
advisors retained by the Debtor or the Plan Administrator, the sale of the Remaining Assets and
{00266837.6 / 1148-001 }
                                               19
the prosecution of Causes of Action and Claims objections. Any amounts remaining in the Post-
Confirmation Reserve after all Post-Confirmation Expenses are paid shall become available for
Distribution to holders of Allowed General Unsecured Claims and the Allowed Subordinated
Claims in the priority of payment provided for in accordance with the provisions of the Plan.
                (c) UC Funds. As soon as practicable following the Effective Date, the UC Funds
shall be established by the Plan Administrator, which shall be distributed in accordance with the
terms of the Plan.
                (d) Subordinated Creditor Fund. On the date upon which all General Unsecured
Claims have been satisfied in full, or as soon thereafter as is reasonably practical, the
Subordinated Creditor Fund shall be established by the Plan Administrator, which shall be
distributed in accordance with the terms of the Plan.
               (e) Disputed Claims Reserve. As soon as practicable following the Effective
Date, the Disputed Claims Reserve shall be established by the Plan Administrator from the UC
Funds in an amount equal to the Distribution amount to which holders of Disputed Claims would
have otherwise been entitled but for the dispute; provided, however, that the Plan Administrator
shall have no obligation to fund the Disputed Claims Reserve unless and until a Distribution
occurs to holders of Allowed Claims. The Assets in the Disputed Claims Reserve shall be held
separately from other Assets held by the Plan Administrator, subject to an allocable share of all
expenses and obligations of the Estate, on account of Disputed Claims. The Plan Administrator
shall remove funds from the Disputed Claims Reserve as Disputed Claims are resolved, which
funds shall be distributed as provided in the Plan.
     H. Plan Distributions

       Following the Effective Date, and subject to the establishment and funding of the Post-
Confirmation Reserve as set forth above, and as set forth in greater detail in Article 4 of the Plan,
Distributions shall be made by the Plan Administrator in accordance with Articles 2 and 4 of the
Plan. An estimated disbursement analysis through January 2022 is attached hereto as Exhibit C.

     I. Preservation and Abandonment of Records

        The Plan Administrator shall preserve all documents and files, including electronic data
hosted on remote servers that are necessary to the prosecution of the Causes of Action and
Claims resolution process (the “Retained Information”). After the Effective Date, the Debtor
shall preserve the Retained Information until the date that is one (1) year following the closing of
the Bankruptcy Case. On the Effective Date, the Plan Administrator shall be permitted to
abandon (with or without destruction) any information that is not Retained Information.

     J. General Disposition of Assets

        Pursuant to section 1123(a)(5) of the Bankruptcy Code and subject to the terms of the
Plan, as soon as is reasonably practicable following the Effective Date, the Plan Administrator
shall sell or otherwise dispose of, and liquidate to or otherwise convert to Cash, any non-Cash
Assets in such manner as the Plan Administrator shall determine in his judgment in consultation
with the Secured Creditors (to the extent any such Assets are collateral of the Secured Creditors).

{00266837.6 / 1148-001 }
                                                 20
     K. Administrative Claims Bar Date

        Persons asserting an Administrative Expense) must file a request for payment of such
Administrative Expense Claim on or before 5:00 p.m. prevailing Eastern Time on or before the
first Business Day after the thirtieth (30th) day after the Effective Date (the “Administrative
Expense Claims Bar Date”). No payment or Distributions will be made on account of any
Administrative Expense Claim until such Claim becomes an Allowed Claim. Any person
asserting an Administrative Expense Claim that fails to file and serve an Administrative Expense
Claim on or before the Administrative Expense Claims Bar Date shall be forever barred from
asserting any such right to payment as against the Debtor and/or the Estate.
     L. Deadline for Filing Applications Seeking Payment of Professional Fee Claims

        All parties seeking payment of Professional Fee Claims must file with the Bankruptcy
Court a final application and/or an application for payment of reasonable fees and expenses
under section 503(b) of the Bankruptcy Code, as applicable, on or before the first Business Day
after the thirtieth (30th) day after the Effective Date (the “Fee Application Deadline”). Any
Professional failing to file and serve such final application or 503(b) motion on or before the Fee
Application Deadline shall be forever barred from asserting any such right to payment against
the Debtor or the Estate.
     M. Execution of Documents to Effectuate Plan

       From and after the Effective Date, the Debtor and the Plan Administrator shall have the
exclusive power and authority to execute any instrument or document to effectuate the
provisions of the Plan. Entry of the Confirmation Order shall authorize the Debtor and the Plan
Administrator to take, or cause to be taken, all actions necessary or appropriate to consummate
and implement the provisions of the Plan.
     N. Disallowance of Claims without Further Order of the Court.

       As of the Effective Date, any Scheduled Claim designated as disputed, contingent or
unliquidated in amount and for which a proof of Claim has not been filed by the Creditor by the
applicable Bar Date shall be deemed Disallowed and expunged. All Scheduled Claims that
correspond to a proof of Claim filed by a particular Creditor by the applicable Bar Date shall be
deemed to have been superseded by such later filed proof of Claim, and the Scheduled Claim,
regardless of priority, shall be expunged from the Claims register; provided however, that such
proofs of Claim shall be subject to objection in accordance with Section 9.10 of the Plan.
     O. Continued Existence of Debtor Until Closing of the Case

        Following the Effective Date, the Debtor shall continue in existence for the purposes of,
among other things, completing the liquidation of its Assets, winding up its affairs and filing
appropriate tax returns and shall thereafter be dissolved at the discretion of the Plan
Administrator. Upon the entry of an order closing the Bankruptcy Case, the Debtor shall be
deemed dissolved for all purposes. No other actions or filings or payments shall be required in
furtherance of such dissolution.
{00266837.6 / 1148-001 }
                                                21
      P. Post-Effective Date Reports and Fees

        Following the Effective Date and until the Case is closed, not less than once every one-
hundred and eighty (180) days, the Plan Administrator shall be responsible for the filing of all
post-Effective Date reports required during such periods with the U.S. Trustee regarding the
liquidation or other administration of property subject to the Plan Administrator’s control
pursuant to the Plan, Distributions made by it, and other matters required to be included in such
report, and shall pay from the Debtor’s Estate all post-Effective Date fees charged or assessed
against the Estate under 28 U.S.C. §1930 during such periods together with applicable interest
pursuant to 31 U.S.C. § 3717.
      Q. Cancellation of Interests

       On the Effective Date, all existing Interests, shall, without any further action, be
cancelled, annulled, and extinguished and any certificates representing such canceled, annulled,
and extinguished Interests shall be null and void.
      R. Creditors’ Committee

        On the Effective Date, the Creditors’ Committee shall be deemed to be dissolved and the
members of the Creditors’ Committee shall be released and discharged from all duties and
obligations arising from or related to the Bankruptcy Case, provided, however, that the
Creditors’ Committee shall continue to exist, and the retention and employment of its
professionals shall continue to be in effect after the Effective Date, for the purposes of filing fee
applications of its Professionals, or reviewing and approving or filing objections to fee
applications of Professionals for any periods prior to the Effective Date. The reasonable fees and
expenses of the Professionals retained by the Creditors’ Committee for the foregoing shall be
reimbursed by the Debtor from the Post-Confirmation Reserve.
      S. Insurance Preservation

       Nothing in the Plan shall diminish or impair the enforceability of any insurance policies
that may cover Claims against the Debtor, its employees, its shareholders or any other Person.

      T. Preservation of Causes of Action

        Except as otherwise provided in the Plan or in any contract, instrument, release or
agreement entered into in connection with the Plan, in accordance with section 1123(b) of the
Bankruptcy Code, all Claims or Causes of Action that the Debtor or the Estate may have against
any person or entity are preserved, including without limitation any and all Causes of Action the
Debtor or the Estate or other appropriate party in interest may assert under sections 502, 510,
522(f), 522(h), 542, 543, 544, 545, 547, 548, 549, 550, 551, 553 and 724(a) of the Bankruptcy
Code.


VI.       EXECUTORY CONTRACTS AND UNEXPIRED LEASES

{00266837.6 / 1148-001 }
                                                 22
       All executory contracts and unexpired leases of the Debtor will be deemed rejected as of
the Confirmation Date, unless a particular executory contract or unexpired lease (i) has
previously been assumed or rejected pursuant to order of the Bankruptcy Court or applicable
provisions of the Bankruptcy Code, or (ii) has expired or otherwise terminated pursuant to its
terms.

        Any party to an executory contract or unexpired lease that is rejected in accordance with
Section 6.1 of the Plan shall file a proof of Claim for damages from such rejection no later than
thirty (30) days after the Effective Date. The failure to timely file a proof of Claim shall be
deemed a waiver of any claim in connection with the rejection of such contract or lease.

VII.      CONDITIONS PRECEDENT

     A. Conditions to Confirmation

       The following conditions must be satisfied or otherwise waived by the Debtor in
accordance with Section 7.3 of the Plan on or before the Confirmation Date:
              (a) The Disclosure Statement Order shall have been entered and shall have
become a Final Order; and
                (b) The Confirmation Order to be entered by the Bankruptcy Court shall be in
form and substance reasonably satisfactory to the Debtor, the Committee and Secured Creditors
and shall contain provisions that, among other things: (i) authorize the implementation of the
Plan in accordance with its terms; (ii) approve in all respects the other settlements, transactions,
and agreements to be effectuated pursuant to the Plan; (iii) find that the Plan complies with all
applicable provisions of the Bankruptcy Code, including that the Plan was proposed in good faith
and that the Confirmation Order was not procured by fraud; (iv) order that the Remaining Assets
are vested in the Estate on the Effective Date, free and clear of all Claims, liens, Encumbrances
and interests of any Entity except for the liens and security interests of the Secured Creditors;
and (v) order that the Plan Administrator is authorized to take any and all action necessary or
appropriate to perform his or her duties hereunder, including, but not limited to, exercising the
rights of the Debtor under the License Agreement, collecting all Royalty Payments thereunder,
and retaining ownership of and overseeing the Personally Identifiable Information, including by
executing the Data Breach Protocol in the event of any breach of such Personally Identifiable
Information known to the Plan Administrator.
     B. Conditions to Effective Date

       The Effective Date shall not occur and no obligations under the Plan shall come into
existence unless each of the following conditions is met or, alternatively, is waived in accordance
with Section 7.3 of the Plan on or before the Effective Date:
        (a) The Confirmation Order shall have been entered by the Bankruptcy Court, and no stay
of its effectiveness shall have been issued within fourteen (14) days following the entry of the
Confirmation Order; and
       (b) The Effective Date Cash shall be sufficient to pay all Administrative Expense Claims
and Professional Fee Claims up to the Estate Reserve, and fund the Post-Confirmation Reserve.
{00266837.6 / 1148-001 }
                                                23
     C. Waiver of Conditions

       Each of the conditions precedent in Sections 7.1 and 7.2 of the Plan may be waived or
modified without further Court approval, in whole or in part.

VIII. INJUNCTIONS; STAYS; RELEASE; EXCULPATIONS

     A. General Injunctions

        As set forth in Article 8 of the Plan, the following provisions shall apply and shall be
fully set forth in the Confirmation Order.

                    1.     Injunctions Against Interference with Consummation or
                           Implementation of Plan

      All holders of Claims or Interests shall be enjoined from commencing or continuing
any judicial or administrative proceeding or employing any process against the Debtor or
the Estate with the intent or effect of interfering with the consummation and
implementation of the Plan and the transfers, payments or Distributions to be made
hereunder.

                    2.     Injunction Against Prosecution of Causes of Action

        Except as otherwise specifically provided for by the Plan, as and from the Effective
Date, all Persons shall be enjoined from (i) the enforcement, attachment, collection or
recovery by any manner or means of any judgment, award, decree or order; (ii) the
creation, perfection or enforcement of any Encumbrance of any kind; (iii) the
commencement or continuation of any action, employment of process or act to collect,
offset or recover any Claim or Cause of Action satisfied, released or enjoined under the
Plan; and/or (iv) the assertion of any right of setoff, counterclaim, exculpation, or
subrogation of any kind, in each case against the Debtor or the Estate to the fullest extent
authorized or provided by the Bankruptcy Code.

                    3.     No Bar To Claims Against Third Parties

       Holders of Claims or Interests against the Debtor are not barred or otherwise
enjoined by the Plan from pursuing any recovery against Persons that are not the Debtor.

     B. All Distributions Received in Full and Final Satisfaction

       Except as otherwise set forth in the Plan, all payments and all Distributions to be made in
accordance with the Plan on account of Claims (including Administrative Expense Claims) shall
be received in full and final satisfaction, settlement and release of the Estate’s obligations for
such Claims as against the Debtor, its property and the Estate.

{00266837.6 / 1148-001 }
                                                 24
     C. No Modification of Res Judicata Effect

       No provision of the Plan is intended or shall be construed to modify the res judicata
effect of any order entered in the Bankruptcy Case, including, without limitation, the
Confirmation Order and any order finally determining Professional Fee Claims to any
Professional.

     D. Exculpation for Debtor and Estate Professionals

        To the extent permitted by section 1125(e) of the Bankruptcy Code, the Debtor, its
shareholders, officers, directors, employees and professionals (including the Chief
Restructuring Officer and professional firms and individuals within such firms), and the
Creditors’ Committee, its members (acting in such capacity), their respective officers,
directors, employees and professionals (including professional firms and individuals within
such firms) and the Secured Creditors, their shareholders, officers, directors, employees
and professionals (including professional firms and individuals within such firms), shall
neither have nor incur any liability to any Person for any act taken or omitted to be taken
in connection with or related to the formulation, preparation, funding, dissemination,
implementation, administration, confirmation or consummation of the Plan, the Disclosure
Statement, or any contract, instrument, release or other agreement or document created or
entered into in connection with the Plan, or any act taken or omitted to be taken during the
Bankruptcy Case, except for (i) acts or omissions as a result of willful misconduct or gross
negligence and (ii) liability for any debt owed to the United States Government, any state,
city or municipality arising under (a) the Internal Revenue Code of 1986, as amended (the
“Internal Revenue Code”) or any state, city or municipal tax code, (b) the environmental
laws of the United States or any state, city or municipality, (c) laws regarding the
regulation of securities administered by the SEC or (d) any criminal laws of the United
States, any state, city or municipality. From and after the Effective Date, a copy of the
Confirmation Order and the Plan shall constitute, and may be submitted as, a complete
defense to any Claim or liability released pursuant to the Plan.

     E. Exculpation for Plan Administrator, His Professionals and Oversight Committee.

       The Plan Administrator and his employees, attorneys, accountants, financial
advisors, representatives and agents, and the Oversight Committee, each solely in such
capacity, shall not have or incur any liability to any person or entity for any act or omission
in connection with, or arising out of, the Plan or the property to be distributed under the
Plan; provided however, that the foregoing exculpation shall not apply to acts or omissions
in bad faith or as a result of recklessness, willful misconduct or gross negligence.

      Release of Secured Creditors. As a result of extensive arms’ length negotiations and
in exchange for material concessions regarding the Secured Claims of the First Lien
Creditor, including without limitation, a substantial reduction of the Secured Claims, the
Debtor and its estate and the Committee and each of their respective agents and
{00266837.6 / 1148-001 }
                                              25
representatives (collectively, the “Debtor Parties”) are deemed to have forever,
unconditionally and irrevocably, waived, discharged and released the First Lien Creditor,
HTV Industries, Inc. (“HTV”) and their respective affiliates, subsidiaries, shareholders,
members, agents, attorneys, financial advisors, consultants, officers, directors, and
employees, of and from any and all Claims, counterclaims, causes of action, suits, defenses,
damages, demands, challenges, setoff, recoupment, or other offset rights or rights of
reduction, whether arising at law or in equity, whether known or unknown or hereafter
becoming known, liquidated or unliquidated, contingent or fixed, of any kind or nature
whatsoever, that the Debtor Parties ever had, now have or hereafter can, shall or may, have for,
upon, or by reason of any matter, cause or thing whatsoever through and including the Effective
Date, including, without limitation, any recharacterization, subordination, reduction,
avoidance, “lender liability” or other Claim arising under or pursuant to section 105 or
Chapter 5 of the Bankruptcy Code or otherwise, or under any other provision of applicable
state or federal law, and any right or basis to challenge or object to the amount, validity,
characterization, priority or enforceability of the Secured Claims, with the sole exception
that the Plan Administrator may review and object to the amount of the General
Unsecured Claims filed by Bhungalia and HTV in the Case and all rights of Bhungalia and
HTV in connection therewith shall be reserved in full.

IX.       PROCEDURES FOR DISTRIBUTIONS UNDER PLAN

       Article 9 of the Plan establishes the procedures and guidelines for Distributions to be
made to the terms of the Plan to the holders of Claims, including the timing, procedures and
notice provisions related to same. Distributions shall be made by the Plan Administrator as
follows.

      A. Payments in U.S. Dollars
        All Cash payments required under the Plan shall be made in U.S. dollars by checks drawn
on a domestic bank selected by the Plan Administrator in accordance with the Plan or by wire
transfer from a domestic bank, at the option of the Plan Administrator. The Plan Administrator
may use the services of a third party to aid in the Distributions required to be made under the
Plan.
      B. Distributions Only on Business Days

       Notwithstanding the foregoing provisions, if any Distribution called for under the Plan is
due on a day other than a Business Day, such Distribution shall instead be made on the next
Business Day.

      C. Unclaimed Distributions
        Unclaimed Distributions (including Distributions made by checks that fail to be cashed or
otherwise negotiated within ninety (90) days after the Distribution Date or which Distributions
are returned to the Plan Administrator as undeliverable to the addresses specified in the Claims
Register, as it shall exist on the date such Distributions are made), shall be canceled (by a stop
payment order or otherwise), the Claim(s) relating to such Distribution(s) shall be deemed
forfeited and expunged without any further action or order of the Bankruptcy Court, and the
{00266837.6 / 1148-001 }
                                               26
holder of such Claim(s) shall be removed from the Distribution schedules and expunged from the
Claims register and shall receive no further Distributions under the Plan. Any such Unclaimed
Distributions shall, as soon as is practicable, be redistributed pursuant to the provisions of the
Plan.
     D. Timing of Distributions on Disputed Claims Subsequently Allowed

       In the event that a Disputed Claim is Allowed, in whole or in part, after the Effective
Date, a Distribution shall be made on account of such Allowed Claim on the next Distribution
Date that is at least fifteen (15) Business Days after such Claim is Allowed.

     E. No Payment or Distribution of Disputed Claims

        Any contrary provision hereof or of the Plan notwithstanding, no payments or other
Distributions shall be made on account of any Disputed Claim, or any portion thereof, unless and
until such Claim is Allowed by Final Order of the Bankruptcy Court. For the avoidance of
doubt, no portion of any Disputed Claim is entitled to a Distribution. Holders of Disputed
Claims shall be bound, obligated and governed in all respects by the Plan’s provisions.

     F. Disputed Distribution
        If a dispute arises as to the identity of a holder of an Allowed Claim who is to receive a
Distribution, the Plan Administrator may, in lieu of making such Distribution to such holder,
hold such amount until the dispute is resolved by Final Order of the Bankruptcy Court or by
written agreement among the parties to such dispute.

     G. Transmittal of Payments and Notices
         All Distributions shall be made to the holder of a Claim by regular first-class mail,
postage prepaid, in an envelope addressed to such holder at the address listed on its proof of
Claim filed with the Claims Agent or Bankruptcy Court or, if no proof of Claim was filed, (i) at
the address listed on the Debtor’s Schedules, or (ii) at such address that a holder of a Claim
provides to the Debtor and the Plan Administrator after the Effective Date in writing and files at
least fifteen (15) Business Days prior to a Distribution Date. Neither the Debtor nor the Plan
Administrator shall have any duty to ascertain the mailing address of any holder of a Claim other
than as set forth herein. The date of payment or delivery shall be deemed to be the date of
mailing. Payments made in accordance with the Plan shall be deemed made to the holder
regardless of whether such holder actually receives the payment.
     H. Record Date for Distributions
        Except as otherwise provided in a Final Order of the Bankruptcy Court, transferees of
Claims that are transferred pursuant to Bankruptcy Rule 3001 with appropriate filings made on
or before the Effective Date (the “Record Date”) shall be treated as the holders of those Claims
for all purposes, notwithstanding that any period provided by Bankruptcy Rule 3001 for
objecting to the transfer(s) may not have expired prior to the Record Date. The Debtor and the
Plan Administrator shall have no obligation to recognize any transfer of any Claim occurring
after the Record Date. In making a Distribution with respect to any Claim, the Debtor and the
Plan Administrator shall be entitled to recognize and deal for all purposes hereunder only with
{00266837.6 / 1148-001 }
                                               27
the Person who is listed on the proof of Claim filed with respect to such Claim, on the Debtor’s
Schedules as the holder thereof, and upon such other evidence or record of transfer or assignment
filed as of the Record Date.
     I. Claims Administration Responsibility

                (a) Reservation of Rights. Unless a Claim is specifically Allowed prior to or
after the Effective Date or under the Plan, the Plan Administrator reserve any and all objections
to any and all Claims and motions or requests for the payment of Claims, whether administrative
expense, secured or unsecured, including, without limitation, any and all objections to the
validity or amount of any and all alleged Administrative Expense Claims, Priority Tax Claims, or
Non-Tax Priority Claims, liens and security interests, whether under the Bankruptcy Code, other
applicable law or contract. The failure to object to any Claim prior to the Effective Date shall be
without prejudice to the Plan Administrator’s rights to contest or otherwise defend against such
Claim in the Bankruptcy Court when and if such Claim is sought to be enforced by the holder of
the Claim.

               (b) Objections to Claims. The Plan Administrator may dispute, object to,
compromise or otherwise resolve all Claims. Unless otherwise provided in the Plan or ordered
by the Bankruptcy Court, all objections to Claims shall be filed and served no later than the
Claims Objection Bar Date, which is one hundred twenty (120) days after the Effective Date, or,
with respect to tax claims, one year after the Effective Date, provided that the Plan Administrator
may request (and the Bankruptcy Court may grant) an extension of time by filing a motion with
the Bankruptcy Court.

               (c) Filing Objections. An objection to a Claim shall be deemed properly served
on the claimant if the Debtor or Plan Administrator causes service of any such objection to be
effected in accordance with Rule 3007 of the Bankruptcy Rules by mailing or otherwise
delivering the objection and a notice of hearing thereon to the claimant at the address set forth on
such claimant’s proof of Claim at least thirty (30) days prior to the hearing thereon.

               (d) Determination of Claims. Except as otherwise agreed by the Debtor, any
Claim as to which a proof of Claim or motion or request for payment was timely filed in the
Bankruptcy Case may be determined and liquidated after the Effective Date pursuant to (i) a
Final Order, or (ii) applicable non-bankruptcy law. Any Claim determined to be an Allowed
Claim after the Effective Date shall be treated as an Allowed Claim in accordance with the Plan.

     J. Disputed Claims.
               (a) Except to the extent the Court determines that a lesser amount is adequate, the
Plan Administrator shall, on each Distribution Date, deposit in the Disputed Claims Reserve
Cash equal to the Distributions that would have been made to holders of Disputed Claims if such
Claims were Allowed Claims in their full amounts or such lower amount as to which the holder
of such Claim has agreed in writing or, in the case where any such Claim is unliquidated and/or
contingent, the greater of (i) $1, and (ii) such other amount as is reserved by order of the
Bankruptcy Court made upon motion of the holder of such Claim.
                    (b) For purposes of effectuating the provisions of Section 9.10 of the Plan and the
{00266837.6 / 1148-001 }
                                                    28
Distributions to holders of Allowed Claims, the Court, on or prior to the Effective Date, or
thereafter upon the request of any holder of a Claim or the Plan Administrator, may liquidate the
amount of Disputed Claims pursuant to section 502(c) of the Bankruptcy Code, in which event
the amounts so fixed or liquidated shall be deemed to be the aggregate amounts of the Disputed
Claims pursuant to section 502(c) of the Bankruptcy Code for purposes of Distribution under the
Plan and for purposes of the Disputed Claims Reserve.
                (c) When a Disputed Claim becomes an Allowed Claim, there shall be distributed
to the holder of such Allowed Claim, in accordance with the provisions of the Plan (but in no
event later than the next succeeding Distribution Date), Cash in the amount of all Distributions to
which such holder would have been entitled if such holder’s Claim were Allowed on the
Effective Date, to the extent of available Cash to make such Distribution.
               (d) In no event shall any holder of any Disputed Claim be entitled to receive
(under the Plan or otherwise) any Cash payment which is greater than the amount reserved, if
any, for such Disputed Claim pursuant to Section 9.10 of the Plan. In no event shall the Debtor
or the Plan Administrator have any responsibility or liability for any loss to or of any amount
reserved under the Plan unless such loss is the result of that party’s fraud, willful misconduct, or
gross negligence. In no event may any Creditor whose Disputed Claim is subsequently Allowed,
pursue or recover from any other Creditor any funds received as Distributions under the Plan.
                 (e) To the extent that a Disputed Claim ultimately becomes an Allowed Claim and
is entitled to a Distribution in an amount less than the amount reserved for such Disputed Claim,
then on the next succeeding Distribution Date, the Plan Administrator shall make, in accordance
with the terms of the Plan, a Distribution of the excess amount reserved for such Disputed Claim
in accordance with the Plan.
              (f) The Disputed Claims Reserve shall be treated as a disputed ownership fund,
within the meaning of Treasury Regulation section 1.468B-9, for all purposes associated with
taxation.
               (g) Except as expressly set forth in the Plan, or otherwise agreed to in writing or
ordered by the Court, the Plan Administrator shall not have any duty to fund the Disputed Claims
Reserve.
              (h) The Plan Administrator shall pay, or cause to be paid, out of the funds held in
the Disputed Claims Reserve, any tax imposed by any federal, state, or local taxing authority on
the income generated by the funds or property held in the Disputed Claims Reserve. The Plan
Administrator shall file, or cause to be filed, any tax or information return related to the Disputed
Claims Reserve that is required by any federal, state, or local taxing authority.

     K. No Payments of Fractional Cents or Distributions of Less Than Thirty-Five ($35)
        Dollars

               (a)    Any contrary provision hereof or of the Plan notwithstanding, for purposes
of administrative convenience, no payment of fractional cents shall be made pursuant to the Plan.
Whenever any payment of a fraction of a cent under the Plan would otherwise be required, the
actual Distribution made shall reflect a rounding of such fraction to the nearest whole penny (up
or down), with halfpennies or less being rounded down and fractions in excess of half of a penny
{00266837.6 / 1148-001 }
                                                 29
being rounded up.

               (b)      Any contrary provision hereof or of the Plan notwithstanding, for purposes
of administrative convenience, no Distribution of less than Thirty Five Dollars ($35) shall be
made pursuant to the Plan. Whenever any Distribution of less than Thirty Five Dollars ($35)
under the Plan would otherwise be required, such funds will be retained by the Plan
Administrator for the account of the recipient until such time that successive Distributions
aggregate to Thirty Five ($35) Dollars, at which time such payment shall be made, and if
successive Distributions do not ever reach Thirty Five ($35) in the aggregate, then such
Distributions shall be returned to the UC Funds.

     L. Setoff and Recoupment

        Except as otherwise provided in the Plan, the Plan Administrator may, but shall not be
required to, set off against, or recoup from, any Claim and the Distributions to be made pursuant
to the Plan in respect thereof, any Claims, defenses or Causes of Action of any nature whatsoever
that the Debtor may have, but neither the failure to do so nor the allowance of any Claim under
the Plan shall constitute a waiver or release by the Debtor of any right of setoff or recoupment
against the holder of any Claim.

     M. Payment of Taxes on Distributions Received Pursuant to the Plan

                (a)    Any contrary provision hereof or of the Plan notwithstanding, as a
precondition to payment of any Distribution to a Creditor under the Plan, unless included on the
official proof of Claim form filed by such Creditor in this Bankruptcy Case, each Creditor shall
provide a valid tax identification or social security number (the “Tax Information”) for purposes
of tax reporting by the Debtor. All Entities that receive Distributions under the Plan shall be
responsible for reporting and paying, as applicable, any taxes on account of their Distributions.

               (b)     At such time as the Debtor or Plan Administrator believes that
Distributions to a particular Class of Claims is likely, the Debtor or Plan Administrator shall
request Tax Information in writing from the Creditors (the “Tax Information Request”). Any
Creditor who fails to respond to Tax Information Request within ninety (90) days from the date
posted on the Tax Information Request shall forfeit all Distributions such Creditor may
otherwise be entitled to under the Plan, and such forfeited funds will revert to the UC Funds to
be disbursed in accordance with the terms and priorities established in the Plan.

     N. Compliance With Tax Withholding and Reporting Requirements

       With respect to all Distributions made under the Plan, the Debtor and Plan Administrator
will comply with all withholding and reporting requirements of any federal, state, local or
foreign taxing authority.




{00266837.6 / 1148-001 }
                                               30
X.        PLAN INTERPRETATION, CONFIRMATION AND VOTING

     A. Procedures Regarding Objections to Designation of Classes as Impaired or
        Unimpaired

       In the event the designation of the treatment of a Class as impaired or unimpaired is
objected to, the Bankruptcy Court shall determine the objection and voting shall be permitted or
disregarded in accordance with the determination of the Bankruptcy Court.

     B. Withdrawal and Modification of Plan

       The Plan may be withdrawn or modified by the Debtor at any time prior to the
Confirmation Date. The Debtor may modify the Plan in any manner consistent with section
1127 of the Bankruptcy Code prior to substantial consummation thereof. Upon request by the
Debtor, the Plan may be modified after substantial consummation with the approval of the
Bankruptcy Court, provided that such modification does not affect the essential economic
treatment of any Person that objects in writing to such modification.

     C. Governing Law

       Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and the Bankruptcy Rules) or the Plan, the laws of the State of New York applicable to
contracts executed in such State by residents thereof and to be performed entirely within such
State shall govern the construction and implementation of the Plan and any agreements,
documents and instruments executed in connection with the Plan.

     D. Voting of Claims

        Each holder of a Claim as of the Record Date in Classes 2 through 4 shall be entitled to
vote to accept or reject the Plan. The Disclosure Statement Order shall govern the manner and
procedures for casting of Ballots with the Voting Agent.

     E. Acceptance by Impaired Class

        Consistent with section 1126(c) of the Bankruptcy Code, and except as provided for in
section 1126(e) of the Bankruptcy Code, a Class of creditors shall have accepted the Plan if it is
accepted by at least two-thirds in dollar amount and more than one-half in number of the holders
of Allowed Claims of such Class that have timely and properly voted to accept or reject the Plan.

     F. Presumed Acceptances of Plan

      Classes 1A and 1C are unimpaired under the Plan and, therefore, are conclusively
presumed to have accepted the Plan.


{00266837.6 / 1148-001 }
                                               31
      G. Presumed Rejections of Plan

          Class 5 is presumed to have rejected the Plan but may elect to accept the Plan.

      H. Cram Down

        The Debtor requests that, in the event that any impaired Class entitled to vote on the Plan
accepts the Plan, the Bankruptcy Court confirm the Plan in accordance with the provisions of
section 1129(b) of the Bankruptcy Code to satisfy the requirements for confirmation of the Plan
over the presumed rejection of Class 5 and/or the possible rejection of the Plan by any impaired
Class entitled to vote on the Plan.

XI.       RETENTION OF JURISDICTION BY BANKRUPTCY COURT

       From the Confirmation Date until entry of a final decree closing the Debtor’s Bankruptcy
Case (pursuant to 11 U.S.C. §350 and Bankruptcy Rule 3022), the Bankruptcy Court shall retain
such jurisdiction as is legally permissible over the Bankruptcy Case for the following purposes:
               (a) to hear and determine any and all objections to the allowance of any Claim or
Administrative Expense Claim, or any controversy as to the classification of Claims or any
matters which may directly, indirectly or contingently affect the obligations of the Debtor to any
Creditors, holders of Claims, or other parties in interest;
             (b) to hear and determine any and all applications for compensation and
reimbursement of expenses by Professionals;
                (c) to hear and determine any and all pending motions for the assumption or
rejection of executory contracts and unexpired leases, and to fix any Claims resulting therefrom;
                (d) to adjudicate through final judgment such contested matters and adversary
proceedings as may be pending or subsequently initiated in the Bankruptcy Court, including, but
not limited to, Causes of Action brought by the Plan Administrator;
             (e) to enforce and interpret the provisions of the Plan, the Disclosure Statement
Order, the Confirmation Order, the License Approval Order and any other order of the
Bankruptcy Court in the Bankruptcy Case;
               (f) to issue any injunction or other relief appropriate to implement the intent of the
Plan, and to enter such further orders enforcing any injunctions or other relief issued under the
Plan or pursuant to the Confirmation Order;
              (g) to modify the Plan pursuant to section 1127 of the Bankruptcy Code and the
applicable Bankruptcy Rules;
                (h) to correct any defect, cure any omission, or reconcile any inconsistency in the
Plan or in the Confirmation Order as may be necessary to carry out the purposes and the intent of
the Plan;
                    (i) to interpret and determine such other matters as the Confirmation Order may
{00266837.6 / 1148-001 }
                                                   32
provide for or as may be authorized under the Bankruptcy Code;
             (j) to enter and implement such orders as may be appropriate in the event the
Confirmation Order is, for any reason, stayed, reversed, revoked, modified or vacated; and
               (k) to hear and determine any disputes arising in connection with the License
Agreement or the transactions contemplated thereby, the Personally Identifiable Information or
any Data Breach Protocol, and to invoke the assistance of the Consumer Privacy Ombudsman to
the extent deemed necessary or appropriate by the Bankruptcy Court.


XII.      CERTAIN TAX CONSEQUENCES OF THE PLAN

     A. General

     PURSUANT TO INTERNAL REVENUE SERVICE CIRCULAR 230, THE
DESCRIPTION SET FORTH HEREIN WITH RESPECT TO FEDERAL INCOME TAX
ISSUES IS NOT INTENDED OR WRITTEN TO BE USED, AND SUCH DESCRIPTION
CANNOT BE USED, BY ANY TAXPAYER FOR THE PURPOSE OF AVOIDING ANY
PENALTIES THAT MAY BE IMPOSED ON THE TAXPAYER UNDER FEDERAL
INCOME TAX LAW. SUCH DESCRIPTION IS WRITTEN IN CONNECTION WITH
THE CONFIRMATION OF THE PLAN AND MAY BE VIEWED AS A MARKETING
DOCUMENT BY THE INTERNAL REVENUE SERVICE. THIS DESCRIPTION IS
LIMITED TO THE SPECIFIC FEDERAL INCOME TAX MATTERS DESCRIBED
HEREIN. IT IS POSSIBLE THAT ADDITIONAL ISSUES MAY EXIST THAT COULD
AFFECT THE FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN OR
OTHER FEDERAL INCOME TAX MATTERS DISCUSSED HEREIN AND THIS
DISCUSSION DOES NOT CONSIDER OR PROVIDE ANY CONCLUSIONS WITH
RESPECT TO ANY SUCH ADDITIONAL ISSUES. EACH TAXPAYER IS STRONGLY
URGED TO SEEK ADVICE BASED ON THE TAXPAYER’S PARTICULAR
CIRCUMSTANCES FROM SUCH TAXPAYER’S INDEPENDENT TAX ADVISOR.

     THE   DESCRIPTION    OF   CERTAIN  FEDERAL   INCOME    TAX
CONSEQUENCES OF THE PLAN PROVIDED BELOW IS SOLELY FOR THE
PURPOSE OF COMPLIANCE WITH SECTION 1125(a) OF THE BANKRUPTCY
CODE. THE DESCRIPTION IS BASED ON THE INTERNAL REVENUE CODE
TREASURY REGULATIONS, JUDICIAL DECISIONS AND ADMINISTRATIVE
DETERMINATIONS, ALL AS IN EFFECT ON THE DATE OF THIS DISCLOSURE
STATEMENT. CHANGES IN ANY OF THESE AUTHORITIES OR IN THEIR
INTERPRETATION MAY HAVE RETROACTIVE EFFECT, WHICH MAY CAUSE
THE FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN TO DIFFER
MATERIALLY FROM THE CONSEQUENCES DESCRIBED BELOW. EXCEPT AS
PROVIDED BELOW, NO RULING HAS BEEN REQUESTED FROM THE IRS AND
NO LEGAL OPINION HAS BEEN REQUESTED FROM COUNSEL CONCERNING
ANY TAX CONSEQUENCE OF THE PLAN, AND NO TAX OPINION OR ADVICE IS
GIVEN BY THIS DISCLOSURE STATEMENT.

          This description does not cover all aspects of federal income taxation that may be
{00266837.6 / 1148-001 }
                                              33
relevant to the Debtor or holders of Claims or Interests. For example, the description does not
address issues of special concern to certain types of taxpayers, such as dealers in securities, life
insurance companies, financial institutions, tax exempt organizations and foreign taxpayers, nor
is it intended to address all of the possible federal income tax consequences to holders of Claims
and Interests in the Debtor. This description also does not discuss the possible state tax or non-
U.S. tax consequences that might apply to the Debtor or to holders of Claims or Interests.

     B. Tax Consequences of Payment of Allowed Claims Pursuant to Plan Generally

        The federal income tax consequences of the implementation of the Plan to the holders of
Allowed Claims will depend, among other things, on the consideration to be received by the
holder, whether the holder reports income on the accrual or cash method, whether the holder’s
Claim is Allowed or Disputed on the Effective Date, and whether the holder has taken a bad debt
deduction or a worthless security deduction with respect to its Claim.

                           (i) Recognition of Gain or Loss

        In general, a holder of an Allowed Claim or Interest should recognize gain or loss equal
to the amount realized under the Plan in respect of its Claim less the holder’s tax basis in the
Claim. Any gain or loss recognized in the exchange may be long-term or short-term capital gain
or loss or ordinary income or loss, depending upon the nature of the Allowed Claim and the
holder, the length of time the holder held the Claim and whether the Claim was acquired at a
market discount. If the holder realizes a capital loss, the holder’s deduction of the loss may be
subject to limitation. The holder’s tax basis for any property received under the Plan generally
will equal the amount realized.

                           (ii) Bad Debt or Worthless Security Deduction

        A holder who receives in respect of an Allowed Claim an amount less than the holder’s
tax basis in the Claim may be entitled in the year of receipt (or in an earlier or later year) to a bad
debt deduction in some amount under section 166(a) of the Internal Revenue Code. The rules
governing the character, timing and amount of bad debt deductions place considerable emphasis
on the facts and circumstances of the holder, the obligor and the instrument with respect to which
a deduction is claimed. Holders of Allowed Claims, therefore, are urged to consult their tax
advisors with respect to their ability to take such a deduction.

XIII. CONFIRMATION OF PLAN – REQUIREMENTS

        In order for the Plan to be confirmed, the Bankruptcy Code requires, among other things,
that the Plan be proposed in good faith, that the plan proponent disclose specified information
concerning payments made or promised to insiders, and that the Plan comply with the applicable
provisions of chapter 11 of the Bankruptcy Code. Section 1129(a) of the Bankruptcy Code also
requires that at least one Class of Claims has accepted the Plan, that Confirmation of the Plan is
not likely to be followed by the need for further financial reorganization, and that the Plan be fair
and equitable with respect to each Class of Claims or Interests which is impaired under the Plan.
The Bankruptcy Court can confirm the Plan if it finds that all of the requirements of section
{00266837.6 / 1148-001 }
                                                      34
1129(a) have been met. The Debtor believes that the Plan meets all of these required elements.
With respect to the so-called “feasibility” test (i.e., that the Plan is not likely to be followed by
the need for further financial reorganization), the Plan provides for an orderly liquidation of the
Debtor’s assets and the Debtor believes that it will be able to consummate the Plan fully.

     A. Absolute Priority Rule

        To satisfy the absolute priority rule, the Plan must provide that the holder of any Claim or
Interest that is junior to the Claims of the dissenting Class will not receive or retain under the
Plan on account of such junior Claim or interest any property unless the Claims of the dissenting
Class are paid in full.

       The Debtor believes that the Plan satisfies the absolute priority rule. The Debtor further
believes that all non-accepting impaired Classes will receive or retain payment or Distribution, as
the case may be, on account of their Claims or Interests, sufficient to permit full satisfaction of
such Claims before junior Classes receive or retain any property on account of such junior
Claims.

     B. Best Interest of Creditors Test; Liquidation Analysis

        Under the best interest of creditors test, the Plan is confirmable if, with respect to each
impaired Class of Claims or Interests, each holder of an Allowed Claim or Allowed Interest in
such Class has either (i) accepted the Plan, or (ii) receives or retains under the Plan, on account
of its Claim or Interest, property of a value, as of the Effective Date, that is not less than the
amount such holder would receive or retain if the Debtor were to be liquidated under chapter 7 of
the Bankruptcy Code.

        To determine what the holders of each Class of Claims or Interests would receive if the
Debtor were to be liquidated under chapter 7 of the Bankruptcy Code, the Bankruptcy Court
must determine the dollar amount that would be generated from the liquidation of the Debtor’s
assets in a chapter 7 liquidation case. The amount that would be available for satisfaction of the
Allowed Claims and Interests of the Debtor would consist of the proceeds resulting from the
disposition of the assets of the Debtor augmented by the cash held by the Debtor at the time of
the commencement of the chapter 7 case. Such amounts would be reduced by the costs and
expenses of the liquidation and by such additional Administrative Expense Claims and other
priority Claims that might result from the chapter 7 case.

       Here, the Debtor’s major assets have been liquidated as of the date of this Disclosure
Statement. The Debtor believes that a conversion of the Bankruptcy Case to chapter 7 would
simply duplicate an orderly plan process, and that Creditors would be harmed by the delay and
expense that would result.

        To determine if the Plan, as proposed, is in the best interests of Creditors and holders of
Interests, the present value of the Distribution likely to be made to each class in a liquidating
case are compared with the present value of the Distribution to each impaired Class provided for
by the Plan.
{00266837.6 / 1148-001 }
                                                 35
        In applying the best interest test, it is possible that Claims in a chapter 7 case may not be
classified in the same manner as provided for by the Plan. Priorities and order of Distribution of
estate assets are established by the applicable provisions of chapter 7. Under those provisions,
each class of Claims is paid in a descending order of priority. No junior classes of Claims are
paid until all senior classes have received payment in full. In the event that available assets are
insufficient to pay all members of such class in full, then each member of the class shares on a
pro rata basis.

       The Debtor believes that the primary advantage of the Plan over a chapter 7 liquidation is
that Creditors will likely receive more under the Plan than they would in a chapter 7 case and
receive their Distributions earlier. Costs would increase by the amount of the additional
administrative expenses likely to be incurred in such a chapter 7 case, including the costs of
time-consuming investigations and discovery. The process of other Claims resolution will
proceed without the necessity for additional investigation by a chapter 7 trustee and its separate
and new professionals, and the Plan offers the opportunity to avoid additional administrative
costs and the resulting delay which would result from a chapter 7 liquidation. The Debtor
therefore believes that the Plan will result in lower total administrative costs, and higher
recoveries for Creditors than would the liquidation of the Debtor’s assets under chapter 7 of the
Bankruptcy Code. A liquidation analysis that demonstrates the lower recovery for creditors in a
chapter 7 liquidation is annexed hereto as Exhibit B.

       Thus, the Debtor believes the Plan satisfies the “best interests of creditors test”, and,
indeed, that the Plan is in the best interests of Creditors.

XIV. PROCEDURES FOR VOTING ON PLAN

         As noted above, pursuant to the Bankruptcy Code, a plan groups various Claims and
Interests into classes, each consisting of parties having similar legal rights in relation to a debtor.
Each class may then be treated as either “impaired” or “unimpaired” under a plan. There are
three ways in which a plan may leave a claim or interest “unimpaired.” First, a plan may not
propose to alter the legal, equitable or contractual rights of the holder of the claim or interest.
Second, all defaults (excluding those covered by section 365(b)(2) of the Bankruptcy Code) may
be cured and the original terms of the obligation reinstated. Third, a plan may provide for the
payment in full of the obligation to the holder of the claim or interest. If a class is unimpaired,
then it is presumed to vote in favor of a plan.

       An impaired class that would receive nothing under a plan is presumed to have rejected
such a plan.

        An impaired class that is proposed to receive any Distribution (whether in Cash,
securities or other property) has the right to vote, as a class, to accept or reject the plan. A class
of Creditors accepts a plan if more than one-half (1/2) of the ballots that are timely received from
members of such class, representing at least two-thirds (2/3) of the dollar amount of Claims for
which ballots are timely received, vote in favor of such plan. Section 1126(e) of the Bankruptcy
Code provides that a Creditor’s vote may be disregarded if the Bankruptcy Court determines,
after notice and a hearing, that the Creditor’s vote either to accept or reject a plan was not
{00266837.6 / 1148-001 }
                                                  36
solicited or cast in good faith or in compliance with the Bankruptcy Code. A plan under which
any class of Claims is impaired may be confirmed by the Bankruptcy Court only if it has been
accepted by at least one such class.

       Each holder of an Allowed Claim in an impaired Class which retains or receives property
under the Plan shall be entitled to vote separately to accept or reject the Plan and shall indicate
such vote on a duly executed and delivered Ballot as provided in such order as is entered by the
Bankruptcy Court establishing certain procedures with respect to the solicitation and tabulation
of votes to accept or reject the Plan, or any other order or orders of the Bankruptcy Court.

        Holders of Claims in the impaired Classes entitled to vote will receive, together with this
Disclosure Statement, a Ballot to be used in voting to accept or reject the Plan. Voting
instructions will accompany the Ballot.

       Each Creditor should first carefully review this Disclosure Statement and the Plan. The
Creditor should then complete the portions of the Ballot indicating the Class or Classes in which
the Creditor’s Claim falls and the total dollar amount of the Claim. If the Creditor’s Claim falls
into more than one Class, then the Creditor should list each Class and state the dollar amount of
the Claim which belongs in each Class. It is critical that the Class(es) and amounts(s) of the
Claim be correctly stated on the Ballot so that the Creditor’s vote can be properly counted.

        Next, the Creditor should mark in the space provided on the Ballot whether the Creditor
wishes to accept or to reject the Plan. Please be sure to fill in the name of the Creditor for whom
the Ballot is being filed. Finally, the Ballot must be signed by the Creditor, or by an officer,
partner, or other authorized agent of the Creditor. Please note that the Debtor reserves the right
to object to the allowance, designation of Class and/or allowable amount of any Claim set forth
in a Ballot for purposes of voting and/or Distribution under the Plan.

Completed and signed Ballots should be returned by first class mail to the Voting Agent at the
below address in the enclosed self-addressed return envelope:

                    Choxi.com, Inc. Balloting
                    c/o Rust Consulting/Omni Bankruptcy
                    5955 DeSoto Avenue, Suite 100
                    Woodland Hills, CA 91367

Completed and signed Ballots may also be returned by overnight mail or hand delivery to the
address above.

Completed Ballots should be returned as soon as possible, and in any event so that they are
RECEIVED NO LATER THAN NOVEMBER 16, 2017 AT 4:00 P.M. ANY BALLOTS
WHICH ARE RECEIVED BY THE VOTING AGENT AFTER NOVEMBER 16, 2017 AT
4:00 P.M.    SHALL NOT BE COUNTED IN DETERMINING ACCEPTANCE OR
REJECTION OF THE PLAN.



{00266837.6 / 1148-001 }
                                                 37
XV.       CONFIRMATION HEARING

        The Confirmation Hearing will be held by the Honorable Shelley C. Chapman, United
States Bankruptcy Judge, on December 12, 2017 at 2:00 p.m., in the United States Bankruptcy
Court, Southern District Of New York, Courtroom 623, One Bowling Green, New York, New
York 10004. At that hearing, the Bankruptcy Court will decide whether the Plan should be
confirmed and will hear and decide any and all objections to the Plan. Any Creditor, or other
party in interest who wishes to object to Confirmation of the Plan, or to the classification of
Claims and Interests provided in the Plan, must, not later than 12:00 p.m. on November 20, 2017,
file an objection with the Clerk’s Office, United States Bankruptcy Court, Southern District Of
New York, One Bowling Green, New York, New York 10004, and serve a copy of the objection
on the following persons:

(a) counsel to the Debtor:

KLESTADT WINTERS JURELLER
SOUTHARD & STEVENS, LLP
200 West 41st Street, 17th Floor
New York, New York 10036
Attn: Tracy L. Klestadt, Esq.
      Stephanie R. Sweeney, Esq.

(b) counsel to the Creditors’ Committee:

FOX ROTHSCHILD LLP
100 Park Avenue, 15th Floor
New York, New York 10017
Attn: Paul Labov, Esq.

       Any objections to the Plan which are not filed and served by the above date may not be
considered by the Bankruptcy Court. Any person or entity who files an objection to
Confirmation of the Plan or to the classification of Claims and Interests provided in the Plan
must also attend the Confirmation Hearing, either in person or through counsel.

       If the Plan is confirmed, its provisions will bind the Estate and any and all entities,
including all holders of Claims and Interests, whether or not the Claim or Interest of such
claimant or interest holder is impaired under the Plan and whether or not the claimant or interest
holder has, either individually or by a Class, voted to accept the Plan.

XVI. RECOMMENDATION

       The Debtor believes that the Plan provides for the fair and equitable treatment of the
Debtor’s Creditors and therefore recommends that Creditors vote to accept the Plan.

Dated: New York, New York
       October 9, 2017
{00266837.6 / 1148-001 }
                                               38
                                 CHOXI.COM, INC.


                                 By:__/s/ Eddy W. Friedfeld_______
                                        Eddy W. Friedfeld
                                        Chief Restructuring Officer

                                 KLESTADT WINTERS JURELLER
                                 SOUTHARD & STEVENS, LLP


                                 By:_/s/ Tracy L. Klestadt_______
                                        Tracy L. Klestadt
                                        Stephanie R. Sweeney
                                 200 West 41st Street, 17th Floor
                                 New York, New York 10036
                                 Tel: (212) 972-3000
                                 Fax: (212) 972-2245

                           Attorneys for the Debtor and Debtor-in-
                           Possession




{00266837.6 / 1148-001 }
                            39
EXHIBIT A
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                         :
 In re:                                                  :     Chapter 11
                                                         :
 CHOXI.COM, INC., a/k/a                                  :     Case No. 16-13131 (SCC)
 NOMORERACK.COM, INC.,                                   :
                                                         :
                                    Debtor.              :
                                                         :




      CORRECTED PLAN OF LIQUIDATION OF CHOXI.COM, INC., A/K/A
       NOMORERACK.COM, INC. PURSUANT TO CHAPTER 11 OF THE
                       BANKRUPTCY CODE




                                        Klestadt Winters Jureller
                                       Southard & Stevens, LLP
                                     200 West 41st Street, 17th Floor
                                      New York, New York 10036
                                          Tel: (212) 972-3000
                                         Fax: (212) 972-2245

                            Attorneys for the Debtor and Debtor in Possession


Dated: New York, New York
       October 9, 2017




{00266836.11 / 1148-001 }
                                            TABLE OF CONTENTS

INTRODUCTION .............................................................................................................. 1

ARTICLE 1 – DEFINITIONS AND RULES OF INTERPRETATION ........................... 1

          A.        Definitions................................................................................................ 1-9

          B.        Rules of Interpretation ................................................................................ 9

ARTICLE 2 – PAYMENT OF CLAIMS NOT REQUIRED TO BE CLASSIFIED....... 10

          2.1. Claims Not Classified ................................................................................... 10

          2.2. Administrative Expense Claims .................................................................... 10

          2.3. Professional Fee Claims ................................................................................ 10

          2.4. Priority Tax Claims ....................................................................................... 11

ARTICLE 3 – CLASSIFICATION OF CLAIMS AND INTERESTS ............................ 11

          3.1. Criterion of Class .......................................................................................... 11

          3.2. Class Categories ............................................................................................ 11

ARTICLE 4 – TREATMENT OF CLASSES OF CLAIMS AND INTERESTS ............ 11

          4.1. Class 1A (Allowed Secured Claim of American Express) ............................ 12

          4.2. Class 1B (Allowed Secured Claim of the First Lien Creditor) ...................... 12

          4.3. Class 1C (Allowed Secured Claim of the Second Lien Creditor) ................ 12

          4.4. Class 2 (Non-Tax Priority Claims) ............................................................... 13

          4.5. Class 3 (General Unsecured Claims) ............................................................. 13

          4.6 Class 4 (Allowed Subordinated Claims)……………….……………………13

          4.7. Class 5 (Interests) .......................................................................................... 13

ARTICLE 5 – MEANS OF IMPLEMENTATION OF THE PLAN ............................... 14

          5.1. Implementation of the Plan ............................................................................ 14
                                                  {00266836.11 / 1148-001 }

                                                               ii
5.2. Powers and Obligations of the Plan Administrator........................................ 14

5.3. Plan Administrator Reporting ........................................................................ 15

5.4 Fees and Expenses of the Plan Administrator………………….....................15

5.5 Causes of Action…………………………………………..………………...15

5.6 Employment of Professionals by the Plan Administrator………………...…15

5.7 Oversight Committee…………………………………………..……………15

5.8 Establishment of Reserves and Funds………………………………………16

          (a) American Express Reserve .................................................................. 16

          (b) Post-Confirmation Reserve ................................................................ 16

          (c) UC Funds ............................................................................................ 16

          (d) Subordinated Creditor Fund ................................................................ 16

          (e) Disputed Claims Reserve ................................................................... 17

5.9. Plan Distributions .......................................................................................... 17

5.10. Preservation and Abandonment of Records ................................................ 17

5.11. General Disposition of Assets ..................................................................... 17

5.12. Administrative Expense Claims Bar Date .................................................. 17

5.13. Deadline for Filing Applications for Professional Fee Claims ................... 18

5.14. Execution of Documents to Effectuate Plan ............................................... 18

5.15. Disallowance of Claims without Further Order of the Court ...................... 18

5.16. Continued Existence of Debtor Until Closing of the Case ......................... 18

5.17. Post-Confirmation Reports and Fees .......................................................... 18

5.18. Cancellation of Interests ............................................................................. 19

5.19. Creditors’ Committee .................................................................................. 19
                                        {00266836.11 / 1148-001 }

                                                   iii
          5.20. Insurance Preservation ................................................................................ 19

          5.21 Preservation of Causes of Action…………………………………………..19

ARTICLE 6 – TREATMENT OF EXECUTORY CONTRACTS & UNEXPIRED
            LEASES .................................................................................................... 19

          6.1. General Provisions ........................................................................................ 19

          6.2. Notice of Demand Rejection/Rejection Bar Date ......................................... 20

ARTICLE 7 – CONDITIONS PRECEDENT; CONFIRMATION & EFFECTIVE
            DATE ........................................................................................................ 20

          7.1. Conditions Precedent to Confirmation of the Plan ....................................... 20

          7.2. Conditions Precedent to the Effective Date .................................................. 20

          7.3. Waiver of Conditions Precedent ................................................................... 21

ARTICLE 8 – INJUNCTIONS; RELEASE; EXCULPATION ....................................... 21

          8.1. General Injunctions ....................................................................................... 21

                     (a) Injunctions Against Interference with Consummation or
                     Implementation of Plan ............................................................................ 21

                     (b) Plan Injunction ................................................................................... 21

                     (c) No Bar to Claims Against Third Parties ............................................. 21

          8.2. All Distributions Received in Full and Final Satisfaction ............................ 21

          8.3. No Modification of Res Judicata Effect ........................................................ 21

          8.4. Exculpation for Debtor and Estate Professionals........................................... 22

          8.5. Exculpation for Plan Administrator and his Professionals and Oversight
          Committee ............................................................................................................. 22

          8.6 Release of Secured Creditors………...……………………………………...23

ARTICLE 9 – PROVISIONS GOVERNING DISTRIBUTIONS .................................. 23

          9.1. Payment in U.S. Dollars ................................................................................ 23
                                                   {00266836.11 / 1148-001 }

                                                                iv
     9.2. Distributions Only on Business Days ........................................................... 23

     9.3. Unclaimed Distributions ............................................................................... 23

     9.4. Timing of Distributions on Disputed Claims Subsequently Allowed .......... 24

     9.5. No Payment or Distribution on Disputed Claims ......................................... 24

     9.6. Disputed Distribution .................................................................................... 24

     9.7. Transmittal of Payments and Notices ........................................................... 24

     9.8. Record Date for Distributions ....................................................................... 24

     9.9. Claims Administration Responsibility .......................................................... 25

               (a) Reservation of Rights ......................................................................... 25

               (b) Objections to Claims .......................................................................... 25

               (c) Filing Objections ................................................................................ 25

               (d) Determination of Claims .................................................................... 25

     9.10. Disputed Claims .......................................................................................... 25

     9.11. No Payments of Fractional Cents or Distributions of Less Than
           Thirty-Five Dollars ..................................................................................... 27

     9.12. Setoff and Recoupment ............................................................................... 27

     9.13. Payment of Taxes on Distributions Received Pursuant to the Plan ............ 27

     9.14. Compliance with Tax Withholding and Reporting Requirements .............. 28

ARTICLE 10 – PLAN INTERPRETATION, CONFIRMATION AND VOTING ........ 28

     10.1. Procedures Regarding Objections to Designation of Classes as
           Impaired or Unimpaired ............................................................................... 28

     10.2. Withdrawal and Modification of Plan ......................................................... 28

     10.3. Governing Law ........................................................................................... 28

     10.4. Voting of Claims ......................................................................................... 28
                                            {00266836.11 / 1148-001 }

                                                        v
       10.5. Acceptance by Impaired Class ..................................................................... 28

       10.6. Presumed Acceptances of Plan ................................................................... 28

       10.7. Presumed Rejections of Plan ...................................................................... 29

ARTICLE 11 – RETENTION OF JURISDICTION BY BANKRUPTCY COURT ...... 29

ARTICLE 12 – MISCELLANEOUS PROVISIONS ...................................................... 30

       12.1. Headings ...................................................................................................... 30

       12.2. No Attorneys’ Fees ..................................................................................... 30

       12.3. Notices ......................................................................................................... 30

       12.4. No Discharge ............................................................................................... 30

       12.5 Claims in Dollars. ......................................................................................... 30

       12.6 Binding Effect. .............................................................................................. 31




                                                {00266836.11 / 1148-001 }

                                                             vi
                                   INTRODUCTION
        Choxi.com, Inc. a/k/a Nomorerack.com, Inc. (“Choxi” or the “Debtor”), proposes
this chapter 11 plan (the “Plan”) pursuant to section 1121 of the Bankruptcy Code.
          ARTICLE 1 - DEFINITIONS AND RULES OF INTERPRETATION
A.        Definitions
       The following terms, when used in this Plan, or any subsequent amendments or
modifications thereof, shall have the respective meanings hereinafter set forth and shall
be equally applicable to the singular and plural of terms defined.

        1.1     “Administrative Expense Claim” means a Claim for costs and expenses of
administration allowed under sections 503(b) and 507(a)(1), including, without
limitation, (a) any actual, necessary costs and expenses of preserving the Estate and
winding down the Debtor’s business during the Bankruptcy Case, (b) any indebtedness or
obligations incurred or assumed by the Debtor in the ordinary course of business in
connection with the conduct of its business during the Bankruptcy Case, (c) any costs and
expenses for the management, maintenance, preservation, sale, or other disposition of any
Assets, and (d) any fees or charges assessed against the Debtor’s Estate under section
1930, chapter 123, Title 28, United States Code.
       1.2     “Administrative Expense Claims Bar Date” shall have the meaning
assigned to such term in Section 5.12 of the Plan.
      1.3    “Allowed Administrative Expense Claim” means an Administrative
Expense Claim, to the extent it is or has become an Allowed Claim.
         1.4    “Allowed” means, with respect to a Claim against or Interest in the
Debtor, a Claim against or Interest in the Debtor (i) proof of which was originally filed
within the applicable period of limitation fixed by the Bankruptcy Court in accordance
with Rule 3003(c)(3) of the Bankruptcy Rules, or (ii) if no proof of Claim or Interest has
been timely filed, which has been or hereafter is listed by the Debtor in its Schedules as
liquidated in an amount and not Disputed or contingent, as to which no objection to the
allowance thereof has been interposed within the applicable period of limitation fixed by
this Plan, the Bankruptcy Code, the Bankruptcy Rules, a Final Order, or the Claims
Objection Bar Date, or as to which an objection has been interposed and such Claim or
Interest has been allowed in whole or in part by a Final Order, or (iii) a Claim or interest
that is allowed by final order of the Bankruptcy Court. For purposes hereof, an “Allowed
Claim” shall include any Claim arising from the recovery of property under sections 550
or 553 of the Bankruptcy Code and allowed in accordance with section 502(h) of the
Bankruptcy Code, any Claim allowed under or pursuant to the terms of this Plan, or any
Claim that has been allowed by a Final Order, provided, however, that (i) Claims allowed
solely for the purpose of voting to accept or reject the Plan pursuant to an order of the
Bankruptcy Court shall not be considered “Allowed Claims” hereunder unless otherwise
specified herein or by order of the Bankruptcy Court, (ii) “Allowed Claim” shall not
include interest, penalties, or late charges arising from or relating to the period from and
after the Involuntary Petition Date; and (iii) “Allowed Claim” shall not include any Claim
subject to disallowance in accordance with section 502(d) of the Bankruptcy Code.


{00266836.11 / 1148-001 }
       1.5    “Allowed Secured Claim of the First Lien Creditor” means the sum of
$2,211,768.23, including prepetition interest and fees.
       1.6     “Allowed Secured Claim of the Second Lien Creditor” means the sum of
$8,512.39.
      1.7     “Allowed Subordinated Claim” means the Subordinated Claims and the
Subordinated 2nd Lien Claim.
       1.8     “American Express” means American Express Bank, FSB.
       1.9      “American Express Reserve” means a Cash reserve established by the
Debtor pursuant to the Cash Collateral Order in the amount of $57,682.03 for distribution
on account of the Allowed Secured Claim of American Express in accordance with
Section 4.1 of this Plan or as otherwise determined by order of the Bankruptcy Court.
        1.10 “Assets” means any and all property of the Estate, including, without
limitation, all property and other interests identified in section 541(a) of the Bankruptcy
Code. Without limiting the foregoing, Assets shall include all of the Debtor’s real,
personal, tangible and intangible property, wherever located and whether acquired prior
to or after the Involuntary Petition Date, including Cash, furniture, fixtures, equipment,
artwork, intellectual property, Causes of Action (including Avoidance Actions), together
with the proceeds and products, replacements and accessions thereof.
        1.11 “Avoidance Action” means any Causes of Action to avoid and recover a
transfer of property of the Estate or an interest of the Debtor in property, including,
without limitation, actions arising under sections 544, 545, 547, 548, 549, 550 and 553(b)
of the Bankruptcy Code and any other applicable federal, state or common law.
       1.12 “Ballot” means the form distributed to the holder of an impaired Claim on
which it is to be indicated whether such holder accepts or rejects the Plan.
        1.13 “Bankruptcy Case” means the case concerning the Debtor initially
commenced as an involuntary Chapter 7 case on the Involuntary Petition Date and
thereafter commenced under Chapter 11 of the Bankruptcy Code on the Petition Date,
administered under case number 16-13131 (SCC) in the United States Bankruptcy Court
for the Southern District of New York.
      1.14 “Bankruptcy Code” means Title 11 of the United States Code, as
amended, in effect and applicable to the Bankruptcy Case.
        1.15 “Bankruptcy Court” or “Court” means the United States Bankruptcy Court
for the Southern District of New York wherein the Bankruptcy Case is pending.
       1.16 “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as
promulgated by the Supreme Court of the United States, as amended, and any Local
Rules of the Bankruptcy Court, as amended, in effect and applicable to the Debtor’s
Bankruptcy Case.




                                    {00266836.11 / 1148-001 }

                                               2
       1.17 “Bar Date” means March 3, 2017 at 5:00 p.m., the date established by the
Bankruptcy Court as the deadline to file proofs of Claim, or with respect to
Governmental Units, June 5, 2017 at 5:00 p.m., as applicable, unless the Bankruptcy
Court has set a different date by which a specific Creditor must file a proof of Claim, in
which case it means, for such specific Creditor, such different date set by the Court.
       1.18    “Bhungalia” means Bhungalia Family, LLC d/b/a Bhungalia, LLC.
       1.19 “Business Day” means any day other than a Saturday, Sunday or a “legal
holiday,” as such term is defined in Bankruptcy Rule 9006(a).
       1.20    “Cash” means legal tender of the United States of America.
        1.21 “Cash Collateral Order” means the Stipulation and Order (i) Authorizing
Debtor’s Use of Cash Collateral Pursuant to 11 U.S.C. § 363 and Bankruptcy Rule 4001
and (ii) Granting Adequate Protection Pursuant to 11 U.S.C. §§ 361, 363 dated March 6,
2017 and entered by the Court on March 21, 2017 [ECF Doc 104].
        1.22     “Causes of Action” means any and all Claims, rights, actions, chose in
action, suits, causes of action, liens, judgments and damages belonging to the Debtor or
its Estate and any and all liabilities, obligations, covenants, undertakings and debts owing
to the Estate, of whatever nature and whenever arising, whether known or unknown, in
law, equity or otherwise, including, without limitation, actions arising under sections 541
and 542 of the Bankruptcy Code and any other applicable federal, state or common law.
        1.23 “Chief Restructuring Officer” shall mean Eddy Friedfeld, as chief
restructuring officer of the Debtor.
        1.24 “Claim” means, as defined in Bankruptcy Code section 101(5): (a) a right
to payment, whether or not such right is reduced to judgment, liquidated, unliquidated,
fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured, or
unsecured; or (b) a right to an equitable remedy for breach of performance if such breach
gives rise to a right to payment, whether or not such right to an equitable remedy is
reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed,
secured, or unsecured.
        1.25 “Claims Objection Bar Date” means, unless otherwise extended by Order
of the Court, the first Business Day that is 120 days after the Effective Date.
       1.26 “Claims Agent” means Rust Consulting/Omni Bankruptcy, which was
appointed by the Bankruptcy Court to receive, maintain, docket and otherwise
administer the proofs of Claim filed in the Bankruptcy Case.
       1.27    “Class” means a category of Claims or Interests described in Article 3 of
the Plan.
       1.28 “Confirmation Date” means the date on which the Clerk of the Bankruptcy
Court enters the Confirmation Order on the docket.




                                    {00266836.11 / 1148-001 }

                                               3
        1.29 “Confirmation Order” means the order of the Bankruptcy Court
confirming this Plan pursuant to section 1129 of the Bankruptcy Code, as the Plan may
be amended by its terms and consistent with applicable law, and any findings of fact and
conclusions of law contained in the Confirmation Order or a separate document entered
substantially contemporaneously therewith, in form and substance reasonably satisfactory
to the Debtor and the Committee.
       1.30 “Consumer Privacy Ombudsman” means Lucy L. Thomson, as consumer
privacy ombudsman in the Bankruptcy Case, appointed by the U.S. Trustee pursuant to
order of the Bankruptcy Court dated December 9, 2016.
       1.31     “Creditor” means any Person holding a Claim against the Debtor or,
pursuant to section 102(2) of the Bankruptcy Code, against property of the Debtor, that
arose or is deemed to have arisen on or prior to the Involuntary Petition Date, including,
without limitation, a Claim against the Debtor of the kind specified in Bankruptcy Code
sections 502(g), 502(h) or 502(i).
        1.32     “Creditors’ Committee” or “Committee” means the official committee of
unsecured creditors appointed by the U.S. Trustee to represent the interests of unsecured
creditors in the Bankruptcy Case.
        1.33 “Data Breach Protocol” means the protocol to be followed on or after the
Effective Date by the Plan Administrator in the event of a breach of the Personally
Identifiable Information, which shall consist of delivering appropriate notice of any such
breach to all affected customers in compliance with all federal and state data breach
notification laws and, if applicable in the event of the termination of or a default under
the License Agreement, overseeing the disposition of the Personally Identifiable
Information to a subsequent licensee or purchaser or otherwise disposing of such
Personally Identifiable Information as required under applicable federal and state data
disposal laws.
        1.34   “Debtor” means Choxi.com, Inc. a/k/a Nomorerack.com, Inc., the Debtor
in the Bankruptcy Case.
       1.35 “Deficiency Claim” means that portion of any Allowed Claim held by a
Secured Creditor which exceeds the value of the Assets securing such Allowed Claim.
        1.36 “Disallowed” means, when referring to a Claim or Interest, a Claim
(including a Scheduled Claim) or Interest, or any portion of a Claim or Interest, which
has been disallowed or expunged by a Final Order.
        1.37 “Disclosure Statement” means the disclosure statement for the Plan and all
exhibits annexed thereto or otherwise filed in connection therewith, approved by the
Bankruptcy Court in accordance with section 1125 of the Bankruptcy Code.
      1.38 “Disclosure Statement Order” means the Final Order of the Bankruptcy
Court approving the Disclosure Statement in accordance with section 1125 of the
Bankruptcy Code.
       1.39 “Disputed” means, with respect to a Claim against or Interest in the
Debtor, the extent to which the allowance of such Claim or Interest is the subject of a
                                   {00266836.11 / 1148-001 }

                                              4
timely objection, complaint or request for estimation in accordance with the Plan, the
Bankruptcy Code, the Bankruptcy Rules, or the Confirmation Order, or is otherwise
disputed in accordance with applicable law, which objection, request for estimation, or
dispute has not been withdrawn with prejudice or determined by a Final Order.
       1.40 “Disputed Claims Reserve” means the segregated account established
consistent with Section 5.8(e) of the Plan.
        1.41   “Distribution” means any distribution made pursuant to the terms of this
Plan.
        1.42 “Distribution Date” means any date on which a Distribution is made or to
be made to holders of Allowed Claims under this Plan. The first Distribution shall occur
as soon as practicable on or after the Effective Date. To the extent subsequent
Distributions are necessary, such subsequent Distributions shall occur as soon after the
first Distribution Date as the Debtor shall reasonably determine is appropriate in light of
(i) the amount of funds on hand; (ii) the amount and nature of Disputed Claims; (iii) the
activities to be accomplished, including their anticipated duration and costs; (iv) the
length of time since any prior Distribution; and (v) the costs of effecting any interim
Distribution.
        1.43 “Effective Date” means the first Business Day after the entry of the
Confirmation Order that the conditions to effectiveness of the Plan set forth in Section
7.2 of the Plan have been satisfied or otherwise waived.
        1.44 “Effective Date Cash” means all Cash held by or on behalf of the Debtor
as of the Effective Date.
        1.45 “Encumbrances” means, collectively, any and all security interests, liens,
pledges, Claims, levies, charges, escrows, encumbrances, options, rights of first refusal,
transfer restrictions, conditional sale contracts, title retention contracts, mortgages,
hypothecations, indentures, security agreements or other agreements, arrangements,
contracts, commitments, understandings or obligations of any kind whatsoever, whether
written or oral.
        1.46 “Entity” shall have the meaning assigned to such term in section 101(15)
of the Bankruptcy Code.
      1.47 “Estate” means the Debtor’s estate created pursuant to section 541 of the
Bankruptcy Code upon the Involuntary Petition Date.
        1.48 “Estate Reserve” means the aggregate sum of four hundred fifty thousand
dollars ($450,000.00) derived from the proceeds of accounts receivable collected by the
Debtor from Paysafe Merchant Services Corp. f/k/a NBX Merchant Services Corp. under
a stipulation of settlement approved by the Bankruptcy Court by order dated April 26, 2017.
       1.49 “Estate Monthly Reserve” means ten thousand dollars ($10,000) of the
Royalties per month for a period of seven (7) months commencing on the first full month
following the Effective Date for an amount not to exceed in the aggregate seventy
thousand dollars ($70,000).


                                    {00266836.11 / 1148-001 }

                                               5
        1.50    “Fee Application Deadline” shall have the meaning assigned to such term
in Section 5.13 of the Plan.
        1.51 “Final Order” means an order or judgment of the Bankruptcy Court as to
which the time to appeal, petition for certiorari, or move for reargument or rehearing has
expired and as to which no appeal, petition for certiorari or other proceedings for
reargument or rehearing shall then be pending; provided, however, if an appeal, or writ of
certiorari, reargument or rehearing thereof has been filed or sought, such order shall have
been affirmed by the highest court to which such order was appealed, or certiorari shall
have been denied or reargument or rehearing shall have been denied or resulted in no
modification of such order, and the time to take any further appeal, petition for certiorari
or move for reargument or rehearing shall have expired; provided, further, that the
possibility that a motion under section 502(j) of the Bankruptcy Code, Rule 59 or Rule 60
of the Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy
Rules, may be but has not then been filed with respect to such order, shall not cause such
order not to be a Final Order.
      1.52 “First Lien Creditor” means, collectively, TVII Corp., Bhungalia and
Ronak Khichadia.
       1.53 “First Lien Creditor Supplemental Secured Claim” means the sum of
seventy five thousand dollars ($75,000).
       1.54 “General Unsecured Claim” means any Unsecured Claim against the
Debtor that is not an Administrative Expense Claim, Professional Fee Claim, Priority Tax
Claim, or Non-Tax Priority Claim.
        1.55 “Governmental Unit” shall have the meaning assigned to such term in
section 101(27) of the Bankruptcy Code.
       1.56    “HTV” means HTV Industries, Inc.
       1.57 “Interest” means any ownership or related rights and interests of any
Person in the Debtor.
        1.58 “Involuntary Petition Date” means November 10, 2016, the date on which
certain creditors filed an involuntary petition against the Debtor under Chapter 7 of the
Bankruptcy Code.
       1.59 “License” means an exclusive, worldwide, irrevocable license and right to
use and exploit the Debtor’s intellectual property Assets.
       1.60 “License Agreement” means the Exclusive License Agreement, dated as
of February 7, 2017, between the Debtor and the Licensee, pursuant to which the Debtor
granted the License to the Licensee.
       1.61 “License Approval Order” means that certain Final Order Approving
License Agreement with J Club, Inc., dated as of February 9, 2017.
       1.62 “Licensee” means J Club, Inc., a Delaware corporation, which submitted
the highest and best bid for the License.


                                    {00266836.11 / 1148-001 }

                                               6
       1.63 “Non-Tax Priority Claim” means a Claim, other than an Administrative
Expense Claim or a Priority Tax Claim, which is entitled to priority in payment under
sections 507(a)(1), (2) (3), (4), (5), (6), (7), or (9) of the Bankruptcy Code.
        1.64 “Order for Relief” means the order of the Bankruptcy Court dated
December 9, 2016 granting the Debtor relief under chapter 11 of the Bankruptcy Code
effective as of the Petition Date.
       1.65 “Oversight Committee” shall have the meaning assigned to such term in
Section 5.7 of the Plan.
        1.66 “Person” means any individual, corporation, partnership, association, joint
venture, limited liability company, limited liability partnership, estate, trust, receiver,
trustee, unincorporated organization or Governmental Unit or subdivision thereof or other
Entity.
       1.67 “Personally Identifiable Information” means the Personally Identifiable
Information (as that term is defined in section 101(41A) of the Bankruptcy code) licensed
by the Debtor to the Licensee under the License Agreement.
        1.68 “Petition Date” means December 5, 2016, the date upon which the Debtor
filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code and the
effective date of the Order for Relief.
       1.69 “Plan” means this Plan and any exhibits annexed hereto or otherwise filed
in connection with the Plan, and any documents delivered in connection herewith, as the
same may be amended or modified from time to time by any duly authorized and
permitted amendment or modification.
        1.70 “Plan Administrator” means the individual appointed as of the Effective
Date to administer the Plan pursuant to Section 5.2, as shall be set forth in a Plan
Supplement to be filed with the Bankruptcy Court prior to the Confirmation Hearing,
subject to approval by the Bankruptcy Court pursuant to the Confirmation Order.

       1.71 “Post-Confirmation Expenses” means any administrative expenses,
including all fees and expenses of the Plan Administrator and any Professionals retained
by the Debtor or the Plan Administrator after the Effective Date.
        1.72 “Post-Confirmation Reserve” means a reserve established by the Plan
Administrator funded at the discretion of the Plan Administrator from the UC Funds to
fund all Post-Confirmation Expenses.
       1.73     “Priority Tax Claim” means a Claim or a portion of a Claim of a
Governmental Unit against the Debtor which is entitled to priority in payment under
sections 502(i) and 507(a)(8) of the Bankruptcy Code.
        1.74 “Professional Fee Claim” means any Claim of a professional retained in
the Bankruptcy Case pursuant to sections 327 or 1103 of the Bankruptcy Code or
otherwise, for compensation or reimbursement of costs and expenses relating to services
incurred prior to and including the Effective Date, whether fixed before or after the
Effective Date, when and to the extent any such Claim is allowed by the Bankruptcy
Court pursuant to sections 329, 330, 331, 503(b), or 1103 of the Bankruptcy Code.
                                    {00266836.11 / 1148-001 }

                                               7
        1.75 “Professionals” means those professional persons, including lawyers,
financial advisors, and accountants retained by the Debtor or the Creditors’ Committee
during the Bankruptcy Case.
       1.76   “Pro Rata” means, in connection with a particular Allowed Claim or
Allowed Interest and in connection with any Distribution, the ratio between the amount
of such Allowed Claim or Allowed Interest and the aggregate amount of all Allowed
Claims or Allowed Interests in such Class or Classes entitled to such Distribution.
        1.77 “Record Date” shall have the meaning assigned to such term in Section
9.8 of this Plan.

        1.78 “Remaining Assets” means any and all Assets, properties, rights, interests
and Claims of the Debtor and its Estate of whatever nature, whether tangible or
intangible, legal or equitable, matured or unmatured, fixed or contingent, liquidated or
unliquidated, including, without limitation, any Causes of Action, any and all Royalties
received by or due or to become due to the Debtor under the License Agreement, and the
Debtor's other rights under the License Agreement, as of the Effective Date, which
Remaining Assets shall be administered by the Plan Administrator on and after the
Effective Date.
      1.79     “Royalties” shall have the meaning assigned to such term in the License
Agreement.
       1.80    “Scheduled Claim” means a Claim that is listed in the Debtor’s Schedules.
       1.81 “Schedules” means the schedules of Assets and liabilities, schedules of
executory contracts and unexpired leases, statement of financial affairs, and other
schedules and statements filed by the Debtor pursuant to Federal Rule of Bankruptcy
Procedure 1007, and any amendments thereto.
       1.82    “Second Lien Creditor” means, collectively, 9th LLC and N.D. Gems Inc.
        1.83 “Secured Claim” means a Claim secured by a “lien,” as that term is
defined in section 101(37) of the Bankruptcy Code, including, but not limited to, a
judicial lien as that term is defined at section 101(36) of the Bankruptcy Code, against
any property of the Estate, but only to the extent of the value, as determined by the
Bankruptcy Court pursuant to section 506(a) of the Bankruptcy Code and Bankruptcy
Rule 3012 or as otherwise agreed to, of such Creditor’s interest in the Debtor’s interest in
such property.
       1.84    “Secured Creditor” means the holder of a Secured Claim.
      1.85 “Subordinated Claims” means the Subordinated Bhungalia Claim, the
Subordinated HTV Claim and the Subordinated 2nd Lien Claim.
        1.86 “Subordinated Bhungalia Claim” means $75,000.00 of the Allowed
General Unsecured Claims of Bhungalia, which is subordinated pursuant to the terms of
this Plan.
      1.87 “Subordinated HTV Claim” means $75,000.00 of the Allowed General
Unsecured Claims of HTV, which is subordinated pursuant to the terms of this Plan.
                                    {00266836.11 / 1148-001 }

                                               8
       1.88 “Subordinated 2nd Lien Claim” means the first $1,500,000 of the Allowed
Secured Claims of the Second Lien Creditor against the Debtor, which is voluntarily
subordinated pursuant to the terms of the License Agreement.
       1.89 “Subordinated Creditor Fund” means all proceeds of the Remaining
Assets held in the UC Funds, if any, after satisfaction in full of all General Unsecured
Claims in accordance with the Plan less any reserves on account of Post-Confirmation
Expenses.
       1.90 “Tax Information” shall have the meaning assigned to such term in
Section 9.13(a) of this Plan.
        1.91 “Tax Information Request” shall have the meaning assigned to such term
in Section 9.13(b) of the Plan.
       1.92 “UC Funds” means (a) the Estate Reserve and the Estate Monthly
Reserve, (b) all proceeds of the Avoidance Actions and Causes of Action less any
reserves on account of Post-Confirmation Expenses, plus (c) other Remaining Assets that
are available after full and final satisfaction of the Allowed Secured Claim of the First
Lien Creditor and the Allowed Secured Claim of the Second Lien Creditor.
       1.93 “U.S. Trustee” means any and all representatives and employees of the
Office of the United States Trustee for the Southern District of New York.
        1.94 “Unclaimed Distribution” means any Distribution that remains unclaimed
after ninety (90) days following any Distribution Date. Unclaimed Distributions shall
include, without limitation: (i) checks (and the funds represented thereby) which have
been returned as undeliverable without a proper forwarding address; (ii) funds
representing checks which have not been paid; and (iii) checks (and the funds represented
thereby) which were not mailed or delivered because of the absence of a valid address.
        1.95 “Unsecured Claim” means any Claim which is not secured by an offset or
“lien,” as that term is defined in section 101(37) of the Bankruptcy Code, including, but
not limited to, a “judicial lien” as that term is defined at section 101(36) of the
Bankruptcy Code, against any property of the Estate, but only to the extent of the
“value,” as determined by the Bankruptcy Court pursuant to section 506(a) of the
Bankruptcy Code and Bankruptcy Rule 3012, or as otherwise agreed to, of such
Creditor’s interest in the Debtor’s interest in such property.
       1.96 “Voting Agent” means Rust Consulting/Omni Bankruptcy, which has
been retained by the Debtor to perform certain solicitation and other administrative
services.
B. Rules of Interpretation
       For purposes of this Plan: (a) where appropriate in the relevant context, each term,
whether stated in the singular or the plural, will include both the singular and the plural;
(b) unless otherwise provided in the Plan, any references in the Plan to a contract,
instrument, release, indenture or other agreement or document being in a particular form
or on particular terms and conditions means that such document will be substantially in
such form or substantially on such terms and conditions; (c) unless otherwise provided in
                                    {00266836.11 / 1148-001 }

                                               9
the Plan, any reference in the Plan to an existing document or appendix filed or to be filed
means such document or appendix, as it may have been or may be amended, modified or
supplemented pursuant to the Plan; (d) unless otherwise specified herein, any reference to
a Person as a holder of a Claim or Interest includes that Person’s successors, assigns and
affiliates; (e) unless otherwise specified, all references in the Plan to Sections and
Articles are references to Sections and Articles of or to the Plan; (f) the words “herein”,
“hereto” and “hereof” refer to the Plan in its entirety rather than to a particular portion of
the Plan; and (g) the rules of construction set forth in section 102 of the Bankruptcy Code
will apply to the Plan. To the extent that the Plan is inconsistent with the Disclosure
Statement, unless such document specifically states otherwise, the provisions of the Plan
shall control.

 ARTICLE 2 - PAYMENT OF CLAIMS NOT REQUIRED TO BE CLASSIFIED
       2.1     Claims Not Classified.
       No classes are designated for Administrative Expense Claims, Professional Fee
Claims and Priority Tax Claims.
       2.2     Administrative Expense Claims.
        All Allowed Administrative Expense Claims set forth in a budget approved by the
First Lien and Second Lien Creditors shall be paid in full, in Cash, in such amounts as
are incurred in the ordinary course of the liquidation of the Debtor, or in such amounts as
may be Allowed by the Bankruptcy Court (a) as soon as practicable following the later of
the Effective Date or the date upon which the Court enters a Final Order allowing any
such Administrative Expense Claim, or (b) upon such other terms as may exist in
accordance with the ordinary course of the Debtor’s liquidation or (c) as may be agreed
upon between the holder of any such Administrative Expense Claim and the Debtor. In
the event there exists any Disputed Administrative Expense Claims on the Effective Date,
the Debtor or the Plan Administrator shall at all times hold and maintain Cash in the
Disputed Claims Reserve in an amount equal to all outstanding Disputed Administrative
Expense Claims.
       2.3     Professional Fee Claims.
        The Plan Administrator shall pay all Professional Fee Claims in an amount not to
exceed the Estate Reserve as soon as practicable after the later of the Effective Date or a
Final Order has awarded such compensation and reimbursement of expenses pursuant to
proper application to the Court in accordance with Section 5.13 hereof or such later date
as may be agreed upon by the holder of any such Professional Fee Claim and the Debtor.
All Professional Fee Claims in excess of the Estate Reserve shall be paid as soon as
practicable from the UC Funds. In the event any Disputed Professional Fee Claims exist
on the Distribution Date, the Plan Administrator shall hold and maintain Cash in the
Disputed Claims Reserve in an amount equal to the pro rata share of all outstanding
Disputed Professional Fee Claims until such dispute is resolved consensually or by order
of the Bankruptcy Court.


                                     {00266836.11 / 1148-001 }

                                               10
          2.4   Priority Tax Claims.
         Unless otherwise agreed to by the parties, each holder of an Allowed Priority Tax
Claim will receive from the UC Funds regular installment payments in Cash of a total
value, as of the Effective Date, equal to the Allowed amount of such Priority Tax Claim
over a period ending not later than five (5) years after the Petition Date, which treatment
is not less favorable than that provided to the General Unsecured Creditors, in accordance
with Section 1129(a)(9)(C) of the Bankruptcy Code. In the event any Disputed Priority
Tax Claims exist on the Distribution Date, the Plan Administrator shall hold and maintain
Cash in the Disputed Claims Reserve in an amount equal to all outstanding Disputed
Priority Tax Claims until such dispute is resolved consensually or by order of the
Bankruptcy Court.

           ARTICLE 3 - CLASSIFICATION OF CLAIMS AND INTERESTS
          3.1   Criterion of Class.
       A Claim is in a particular Class only to the extent that the Claim qualifies within
the description of that Class, and is in a different Class or Classes to the extent that the
remainder of the Claim qualifies within the description of the different Class or Classes.
          3.2   Class Categories.
       The following Classes of Claims and Interests are designated pursuant to and in
accordance with section 1123(a)(1) of the Bankruptcy Code, which Classes shall be
mutually exclusive:

Class            Class Designation                                Status/Voting Rights
Class 1A         Allowed Secured Claim of American                Unimpaired/Deemed to
                 Express                                          Accept
Class 1B         Allowed Secured Claim of the First Lien          Impaired/Entitled to Vote
                 Creditor and the First Lien Creditor
                 Supplemental Secured Claim
Class 1C         Allowed Secured Claim of the Second              Unimpaired/Deemed to
                 Lien Creditor                                    Accept
Class 2          Non-Tax Priority Claims                          Unimpaired/Deemed to
                                                                  Accept
Class 3          General Unsecured Claims                         Impaired/Entitled to Vote
Class 4          Allowed Subordinated Claims                      Impaired/ Deemed to Reject
Class 5          Interests                                        Impaired/Deemed to Reject

   ARTICLE 4 - TREATMENT OF CLASSES OF CLAIMS AND INTERESTS
        The following treatment of and consideration to be received by holders of
Allowed Claims and Allowed Interests pursuant to this Plan shall be in full settlement,
release and discharge of such Allowed Claims and Allowed Interests.


                                      {00266836.11 / 1148-001 }

                                                11
         4.1      Class 1A (Allowed Secured Claim of American Express).
       American Express shall receive on account of its Allowed Secured Claim, in Cash
on the Effective Date, or as soon thereafter as is reasonably practicable, (i) all of the
American Express Reserve, (i) such other, less favorable treatment as may be agreed to in
writing by American Express and the Debtor, or (iii) such other treatment as may be
determined by order of the Bankruptcy Court. Any Deficiency Claim that may arise on
account of the present lack of collateral or otherwise resulting from the aforesaid
treatment shall be included in and treated as a Class 3 General Unsecured Claim. Except
as otherwise determined by order of the Bankruptcy Court, the Secured Claim of
American Express is Allowed in the amount of $57,682.03.
        4.2    Class 1B (Allowed Secured Claim of the First Lien Creditor and the
First Lien Creditor Supplemental Secured Claim). The First Lien Creditor shall
receive on account of its Allowed Secured Claim (i) on the Effective Date, or as soon
thereafter as is reasonably practical, all of the Effective Date Cash net of the Estate
Reserve after payment of the Allowed Administrative Expense Claims set forth in Cash
Collateral budget approved by the First Lien and Second Lien Creditors, and (ii) within
five (5) Business Days after receipt by the Plan Administrator, all of the proceeds of the
Remaining Assets recovered from and after the Effective Date, including, without
limitation, the Royalties, except for the Estate Monthly Reserve, and excluding the
Avoidance Actions and Causes of Action, until the Allowed Secured Claim of the First
Lien Creditor is paid in full, or (iii) such other, less favorable treatment as may be agreed
to in writing by the First Lien Creditor and the Debtor. In the event the Distributions to
the Holders of Allowed General Unsecured Claims aggregate the sum of one million
dollars ($1,000,000) (the “Threshold”) or more, the First Lien Creditor shall receive fifty
(50%) percent of the Royalties each month within five (5) business days after the
Royalties are received commencing the month after the Threshold is reached until the
First Lien Creditor Supplemental Secured Claim is paid in full. Any Deficiency Claim
that may arise on account of the present lack of collateral or otherwise resulting from the
aforesaid treatment shall be included in and treated as a Class 3 General Unsecured
Claim. The Secured Claim of the First Lien Creditor is reduced and Allowed as follows:
the Allowed Secured Claim of the First Lien Creditor in the amount of $2,211,768.231,
including prepetition interest and fees, and the First Lien Creditor Supplemental Secured
Claim in the amount of $75,000.
         4.3      Class 1C (Allowed Secured Claim of the Second Lien Creditor).
        The Second Lien Creditor shall receive on account of its Allowed Secured Claim,
after the Allowed Secured Claim of the First Lien Creditor is paid in full in accordance
with Section 4.2 of the Plan, (i) within five (5) Business Days after receipt by the Plan
Administrator, all of the proceeds of the Remaining Assets, including, without limitation,
the Royalties, but except for the net proceeds from Avoidance Actions, until the Allowed

1
 On September 18, 2017 the Debtor made a payment of $700,000 on account of the Allowed Secured
Claim of the First Lien Creditor. As a result, the total amount outstanding as of the filing of this Plan is
$1,511,768.23.

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                                                       12
Secured Claim of the Second Lien Creditor is paid in full; or (ii) such other, less
favorable treatment as may be agreed to in writing by the Second Lien Creditor and the
Debtor. The Subordinated 2nd Lien Claim shall be paid from any Remaining Assets after
payment of the Class 3 General Unsecured Claim in accordance with Section 4.6 of this
Plan. Any Deficiency Claim which may arise on account of the present lack of collateral
or otherwise resulting from the aforesaid treatment shall be included in and treated as a
Class 3 General Unsecured Claim. The Secured Claim of the Second Lien Creditor is
Allowed in the amount of $8,512.39.
       4.4     Class 2 (Non-Tax Priority Claims).
        As soon as is reasonably practical after the Effective Date, in full satisfaction of
such Allowed Non-Tax Priority Claim, each holder of an Allowed Non-Tax Priority
Claim shall receive from the UC Funds (a) an amount in Cash equal to the Allowed
amount of such Non-Tax Priority Claim, or (b) such other treatment as to which the
Debtor and the holder of such Allowed Non-Tax Priority Claim shall have agreed upon in
writing. In the event any Disputed Non-Tax Priority Claims exist on the Distribution
Date, the Debtor or the Plan Administrator shall hold and maintain Cash in the Disputed
Claims Reserve in an amount equal to all Disputed Non-Tax Priority Claims until such
dispute is resolved consensually or by order of the Bankruptcy Court.
       4.5     Class 3 (General Unsecured Claims).
        In full satisfaction of such Allowed General Unsecured Claim, each holder of an
Allowed General Unsecured Claim shall receive one or more Distributions equal to its
Pro Rata share of the UC Funds as such funds become available as is reasonably
practical in the reasonable discretion of the Plan Administrator. In the event any
Disputed General Unsecured Claims exist on a Distribution Date, the Plan Administrator
shall hold and maintain Cash in the Disputed Claims Reserve in an amount equal to all
outstanding Disputed General Unsecured Claims until such dispute is resolved
consensually or by order of the Bankruptcy Court
       4.6     Class 4 (Allowed Subordinated Claims).
        On the date upon which all General Unsecured Claims have been satisfied in full,
or as soon thereafter as is reasonably practical, in full satisfaction of such Allowed
Subordinated Claims, the holders of the Allowed Subordinated Claims shall receive one
or more pro rata Distributions from the Subordinated Creditor Fund in the aggregate
amount of the lesser of (a) the Allowed amount of the Allowed Subordinated Claims and
(b) the amount of the Subordinated Creditor Fund.
       4.7     Class 5 (Interests).
       No holder of an Interest shall be entitled to a Distribution under the Plan on
account of such Interest. On the Effective Date, all Interests shall be cancelled and
extinguished.




                                      {00266836.11 / 1148-001 }

                                                13
         ARTICLE 5 - MEANS OF IMPLEMENTATION OF THE PLAN
       5.1     Implementation of the Plan.
        The Plan will be implemented by the Plan Administrator in a manner consistent
with the terms and conditions set forth in the Plan and the Confirmation Order. The Plan
Administrator shall take and assume the responsibility for the following actions from and
after the Effective Date: (i) receive and liquidate the Remaining Assets, (ii) receive the
Royalties from the Licensee as they become due under the License Agreement, (iii)
maintain the Disputed Claims Reserve, (iv) prosecute, settle or resolve the Disputed
Claims, (v) assert, prosecute or settle all Causes of Action and/or Avoidance Actions
belonging to the Estate, (vi) make Distributions in accordance with the provisions of this
Plan, (vii) assume responsibility for all rights, obligations and liabilities of the Debtor
under the License Agreement and take any and all actions which the Debtor under the
License Agreement is entitled to take, (viii) retain ownership of and oversee the
Personally Identifiable Information, including by executing the Data Breach Protocol in
the event of any breach of such Personally Identifiable Information known to the Plan
Administrator, (ix) make payments related to Post-Confirmation Expenses from the Post-
Confirmation Reserve, and (x) take any and all other actions not inconsistent with the
terms of this Plan that are necessary or appropriate to effectuate the wind-up and
liquidation of the Debtor and its Estate. The Plan Administrator shall succeed to all
privileges and rights of the Debtor, including with respect to Causes of Action and
Avoidance Actions, and shall own and be entitled to pursue any and all Causes of Action
and/or Avoidance Actions belonging to the Debtor and seek any and all legal or equitable
remedies available to the Debtor. On the Effective Date, the Plan Administrator shall be
deemed to be a representative of the Debtor’s Estate within the meaning of section
1123(b)(3) of the Bankruptcy Code and a successor to the Debtor solely with respect to
the Causes of Action and shall have those powers and duties set forth in Sections 323,
704(1), 704(2), 704(5), 704(9), 1106(a)(6) and 1106(a)(7) of the Bankruptcy Code.
       5.2     Powers and Obligations of the Plan Administrator.
         The Plan Administrator shall be the exclusive administrator of the assets of the
Debtor’s Estate for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well
as the representative of the Estate appointed pursuant to section 1123(b)(3)(B) of the
Bankruptcy Code. The powers, rights and responsibilities of the Plan Administrator shall
include the authority and responsibility to: (i) receive, manage, invest, supervise, and
protect the Remaining Assets; (ii) pay taxes or other obligations incurred by the Estate;
(iii) retain and compensate, without further order of the Bankruptcy Court, the services of
professionals to advise and assist in the administration, prosecution and Distribution of
the Remaining Assets; (iv) calculate and implement Distributions of the Remaining
Assets; (v) prosecute, compromise and settle all Disputed Claims and Causes of Action
and/or Avoidance Actions; (vi) pay Professional Fees of professionals retained in the
Bankruptcy Case and Allowed pursuant to any order of the Court, whether such
Professional Fees were incurred before or after the Effective Date; (vii) make
Distributions in accordance with the provisions of this Plan; (viii) make payments related
to Post-Confirmation Expenses from the Post-Confirmation Reserve in accordance with
the provisions of this Plan; (ix) assume responsibility for all rights, obligations and
                                    {00266836.11 / 1148-001 }

                                              14
liabilities of the Debtor under the License Agreement and take any and all actions which
the Debtor under the License Agreement is entitled to take; and (x) retain ownership of
and oversee the Personally Identifiable Information, including by executing the Data
Breach Protocol in the event of any breach of such Personally Identifiable Information
known to the Plan Administrator.
       5.3     Plan Administrator Reporting.
        The Plan Administrator shall prepare and file with the Court, and serve upon the
First Lien Creditor, such reports as are required pursuant to Section 5.17 hereof,
including quarterly reports, beginning with the first full calendar quarter after the
Effective Date, regarding the liquidation or other administration of the Remaining Assets,
Royalties received from the Licensee under the License Agreement, Distributions made
by the Plan Administrator, and the status of the prosecution or settlement of any Claims
and Causes of Action. The Plan Administrator shall pay fees of the U.S. Trustee as
provided in Section 5.17 hereof.
       5.4     Fees and Expenses of the Plan Administrator.
        Except as otherwise ordered by the Bankruptcy Court or specifically provided for
in the Plan, the amount of any fees and expenses incurred by the Plan Administrator on or
after the Effective Date (including, without limitation, taxes) and any compensation and
expense reimbursement claims (including, without limitation, reasonable fees and
expenses of counsel) of the Plan Administrator arising out of the liquidation of the
Remaining Assets, the making of Distributions under the Plan, and the performance of
any other duties given to it shall be paid from the Post-Confirmation Reserve.
       5.5     Causes of Action.
        During the Post-Confirmation Period, the Plan Administrator shall have the
authority to assert, prosecute, and settle all Claims and Causes of Action that belong to
the Debtor’s Estate, and, in connection therewith, shall have the right to assert and
enforce all defenses belonging to the Debtor and its Estate, including, without limitation,
setoff, recoupment and any rights under Bankruptcy Code section 502(d). The Plan
Administrator and the First Lien Creditor shall confer in good faith in connection with the
prosecution, settlement and disposition of any recoveries from any tort Causes of Action
that either of them may commence after the Effective Date against any of the former
officers, directors, shareholders and/or investors of/in the Debtor.
       5.6     Employment of Professionals by the Plan Administrator.
       The Plan Administrator may employ, without further order of the Bankruptcy
Court, professionals to assist it in carrying out its duties hereunder and may compensate
and reimburse the expenses of those professionals without further order of the
Bankruptcy Court; provided, however, that any such compensation and reimbursement
may be made only out of the Post-Confirmation Reserve.
       5.7     Oversight Committee.
       An Oversight Committee comprised of no more than three current members of the
Creditors Committee (the “Oversight Committee”) shall be appointed on the Effective
                                    {00266836.11 / 1148-001 }

                                              15
Date for the purpose of providing advice and consent to the Plan Administrator on or
after the Effective Date with respect to the resolution, reconciliation and settlement of
Disputed Claims, Distributions, and commencement of litigation, as further described in
this Section 5.7 as follows: (A) the Plan Administrator may select, in consultation with
the Debtor and the Oversight Committee, (i) special counsel to the Plan Administrator to
prosecute objections to Disputed Claims, which may be the Debtor’s pre-Effective Date
counsel, (ii) special counsel to the Plan Administrator to commence and prosecute
lawsuits and (iii) a financial advisor to advise the Plan Administrator with respect to the
review and analysis of Disputed Claims; (B) when considering settlement of Claims
objections or lawsuits, the Plan Administrator shall consult with the Oversight Committee
regarding the merits, efficacy and reasonableness of such action, and, in the event the
Oversight Committee and Plan Administrator cannot reach agreement on the Plan
Administrator’s proposed action, the Plan Administrator may seek Bankruptcy Court
authorization for such action; (C) the Plan Administrator shall consult with the Oversight
Committee on the status of Claims objections and lawsuits from time to time; (D) the
members of the Oversight Committee shall be identified in the Confirmation Order and
shall be reimbursed for all reasonable out-of-pocket expenses incurred in fulfilling their
responsibilities under this Plan, which amounts shall be paid from the Post-Confirmation
Reserve; and (E) the Oversight Committee shall be disbanded at such time as all Disputed
Claims have been finally resolved, all Distributions to holders of Allowed General
Unsecured Claims have been made and all Causes of Action have been settled or
resolved.
       5.8     Establishment of Reserves and Funds.
              (a) American Express Reserve. On the Effective Date, the American
Express Reserve shall be established by the Plan Administrator for distribution by the
Plan Administrator in accordance with Section 4.1 of this Plan or as otherwise
determined by order of the Bankruptcy Court.
                (b) Post-Confirmation Reserve. On the Effective Date or as soon thereafter
as is practicable, the Post-Confirmation Reserve shall be established by the Plan
Administrator from the UC Funds. If the Plan Administrator determines that additional
funding of the Post-Confirmation Reserve is required, from time to time following the
Effective Date, such funding shall be made from the UC Funds. The Post-Confirmation
Reserve shall be used to pay the Post-Confirmation Expenses, including, without
limitation, costs and expenses of counsel or other advisors retained by the Debtor or the
Plan Administrator, the sale of the Remaining Assets and the prosecution of Causes of
Action and Claims objections. Any amounts remaining in the Post-Confirmation Reserve
after all Post-Confirmation Expenses are paid shall become available for Distribution to
holders of Allowed General Unsecured Claims and the Allowed Subordinated Claims in
the priority of payment provided for in accordance with the provisions of the Plan.
              (c) UC Funds. As soon as practicable following the Effective Date, the UC
Funds shall be established by the Plan Administrator, which shall be distributed in
accordance with the terms of the Plan.
             (d) Subordinated Creditor Fund. On the date upon which all General
Unsecured Claims have been satisfied in full, or as soon thereafter as is reasonably
                                    {00266836.11 / 1148-001 }

                                              16
practical, the Subordinated Creditor Fund shall be established by the Plan Administrator,
which shall be distributed in accordance with the terms of the Plan.
                (e) Disputed Claims Reserve. As soon as practicable following the
Effective Date, the Disputed Claims Reserve shall be established by the Plan
Administrator from the UC Funds in an amount equal to the Distribution amount to
which holders of Disputed Claims would have otherwise been entitled but for the dispute;
provided, however, that the Plan Administrator shall have no obligation to fund the
Disputed Claims Reserve unless and until a Distribution occurs to holders of Allowed
Claims. The Assets in the Disputed Claims Reserve shall be held separately from other
Assets held by the Debtor, subject to an allocable share of all expenses and obligations of
the Estate, on account of Disputed Claims. The Plan Administrator shall remove funds
from the Disputed Claims Reserve as Disputed Claims are resolved, which funds shall be
distributed as provided in the Plan.
       5.9     Plan Distributions.
        Following the Effective Date, and subject to the establishment and funding of the
Post-Confirmation Reserve as set forth above, and as set forth in greater detail in
Article 4 of the Plan, Distributions shall be made by the Plan Administrator in accordance
with Articles 2 and 4. An estimated disbursement analysis through January 2022 is
attached to the Disclosure Statement as Exhibit C.
       5.10    Preservation and Abandonment of Records.

        The Debtor shall preserve for the benefit of the Plan Administrator all documents
and files, including electronic data hosted on remote servers that are necessary to the
prosecution of the Causes of Action and Claims resolution process (the “Retained
Information”). After the Effective Date, the Plan Administrator shall preserve the
Retained Information until the date that is one (1) year following the closing of the
Bankruptcy Case. On the Effective Date, the Debtor shall be permitted to abandon (with
or without destruction) any information that is not Retained Information.

       5.11    General Disposition of Assets.
        Pursuant to section 1123(a)(5) of the Bankruptcy Code and subject to the terms of
the Plan, as soon as is reasonably practicable following the Effective Date, the Plan
Administrator shall sell or otherwise dispose of, and liquidate to or otherwise convert to
Cash, any non-Cash Assets in such manner as the Plan Administrator shall determine in
his judgment in consultation with the Secured Creditors (to the extent any such Assets are
collateral of the Secured Creditors).
       5.12    Administrative Expense Claims Bar Date.
       Persons asserting an Administrative Expense Claim must file a request for
payment of such Administrative Expense Claim on or before 5:00 p.m. prevailing Eastern
Time on or before the first Business Day after the thirtieth (30th) day after the Effective
Date (the “Administrative Expense Claims Bar Date”). No payment or Distributions will
be made on account of any Administrative Expense Claim until such Claim becomes an
Allowed Claim. Any person asserting an Administrative Expense Claim that fails to file
                                     {00266836.11 / 1148-001 }

                                               17
and serve an Administrative Expense Claim on or before the Administrative Expense
Claims Bar Date shall be forever barred from asserting any such right to payment as
against the Debtor and/or the Estate.
       5.13    Deadline for Filing Applications for Professional Fee Claims.
        All parties seeking payment of Professional Fee Claims must file with the
Bankruptcy Court a final application and/or an application for payment of reasonable fees
and expenses under section 503(b) of the Bankruptcy Code, as applicable, on or before
the first Business Day after the thirtieth (30th) day after the Effective Date (the “Fee
Application Deadline”). Any Professional failing to file and serve such final application
or 503(b) motion on or before the Fee Application Deadline shall be forever barred from
asserting any such right to payment against the Debtor or the Estate.
       5.14    Execution of Documents to Effectuate Plan.
        From and after the Effective Date, the Debtor and the Plan Administrator shall
have the exclusive power and authority to execute any instrument or document to
effectuate the provisions of the Plan. Entry of the Confirmation Order shall authorize the
Debtor and the Plan Administrator to take, or cause to be taken, all actions necessary or
appropriate to consummate and implement the provisions of the Plan.
       5.15    Disallowance of Claims without Further Order of the Court.
       As of the Effective Date, any Scheduled Claim designated as disputed, contingent
or unliquidated in amount and for which a proof of Claim has not been filed by the
Creditor by the applicable Bar Date shall be deemed Disallowed and expunged. All
Scheduled Claims that correspond to a proof of Claim filed by a particular Creditor by
the applicable Bar Date shall be deemed to have been superseded by such later filed proof
of Claim, and the Scheduled Claim, regardless of priority, shall be expunged from the
Claims register; provided however, that such proofs of Claim shall be subject to objection
in accordance with Section 9.10 hereof.
       5.16    Continued Existence of Debtor Until Closing of the Case.
        Following the Effective Date, the Debtor shall continue in existence for the
purposes of, among other things, completing the liquidation of its Assets, winding up its
affairs and filing appropriate tax returns and shall thereafter be dissolved at the discretion
of the Plan Administrator. Upon the entry of an order closing the Bankruptcy Case, the
Debtor shall be deemed dissolved for all purposes. No other actions or filings or
payments shall be required in furtherance of such dissolution.
       5.17    Post-Effective Date Reports and Fees.
        Following the Effective Date and until the Case is closed, not less than once every
one-hundred and eighty (180) days, the Plan Administrator shall be responsible for the
filing of all post-Effective Date reports required during such periods with the U.S.
Trustee regarding the liquidation or other administration of property under his control
pursuant to the Plan, Distributions made by him, and other matters required to be
included in such report, and shall pay from the Debtor’s Estate all post-Effective Date


                                     {00266836.11 / 1148-001 }

                                               18
fees charged or assessed against the Estate under 28 U.S.C. §1930 during such periods
together with applicable interest pursuant to 31 U.S.C. § 3717.
       5.18    Cancellation of Interests.
       On the Effective Date, all existing Interests, shall, without any further action, be
cancelled, annulled, and extinguished and any certificates representing such canceled,
annulled, and extinguished Interests shall be null and void.
       5.19    Creditors’ Committee.
         On the Effective Date, the Creditors’ Committee shall be deemed to be dissolved
and the members of the Creditors’ Committee shall be released and discharged from all
duties and obligations arising from or related to the Bankruptcy Case, provided, however,
that the Creditors’ Committee shall continue to exist, and the retention and employment
of its professionals shall continue to be in effect after the Effective Date, for the purposes
of filing fee applications of its Professionals, or reviewing and approving or filing
objections to fee applications of Professionals for any periods prior to the Effective Date.
The reasonable fees and expenses of the Professionals retained by the Creditors’
Committee for the foregoing shall be reimbursed by the Debtor from the Post-
Confirmation Reserve.
       5.20    Insurance Preservation.
        Nothing in this Plan shall diminish or impair the enforceability of any insurance
policies that may cover Claims against the Debtor, its employees, its shareholders or any
other Person.
       5.21    Preservation of Causes of Action.
       Except as otherwise provided in this Plan or in any contract, instrument, release or
agreement entered into in connection with the Plan, in accordance with section 1123(b) of
the Bankruptcy Code, all Claims or Causes of Action that the Debtor or the Estate may
have against any person or entity are preserved and transferred to the Plan Administrator
on the Effective Date, including without limitation any and all Causes of Action the
Debtor or the Estate or other appropriate party in interest may assert under sections 502,
510, 522(f), 522(h), 542, 543, 544, 545, 547, 548, 549, 550, 551, 553 and 724(a) of the
Bankruptcy Code.

 ARTICLE 6 - TREATMENT OF EXECUTORY CONTRACTS & UNEXPIRED
             LEASES
       6.1     General Provisions.
        All executory contracts and unexpired leases of the Debtor shall be deemed
rejected as of the Effective Date, unless a particular executory contract or unexpired lease
(i) has previously been assumed or rejected pursuant to order of the Bankruptcy Court or
applicable provisions of the Bankruptcy Code, or (ii) has expired or otherwise terminated
pursuant to its terms.


                                     {00266836.11 / 1148-001 }

                                               19
       6.2     Notice of Deemed Rejection/Rejection Bar Date.
        Any party to an executory contract or unexpired lease that is rejected in
accordance with Section 6.1 shall file a proof of Claim for damages from such rejection
no later than thirty (30) days after the Effective Date. The failure to timely file a proof of
Claim shall be deemed a waiver of any Claim in connection with the rejection of such
contract or lease.
 ARTICLE 7 - CONDITIONS PRECEDENT; CONFIRMATION & EFFECTIVE
           DATE
        7.1    Conditions Precedent to Confirmation of the Plan.
       The following conditions must be satisfied or waived by the Debtor in accordance
with Section 7.3 on or before the Confirmation Date:
              (a) The Disclosure Statement Order shall have been entered and shall
have become a Final Order; and
                (b) The Confirmation Order to be entered by the Bankruptcy Court shall
be in form and substance reasonably satisfactory to the Debtor, the Committee and
Secured Creditors and shall contain provisions that, among other things: (i) authorize the
implementation of the Plan in accordance with its terms; (ii) approve in all respects the
other settlements, transactions, and agreements to be effectuated pursuant to the Plan; (iii)
find that the Plan complies with all applicable provisions of the Bankruptcy Code,
including that the Plan was proposed in good faith and that the Confirmation Order was
not procured by fraud; (iv) order that the Remaining Assets are transferred to the Plan
Administrator on the Effective Date, free and clear of all Claims, liens, Encumbrances
and interests of any Entity except for the liens and security interests of the Secured
Creditors; and (v) order that the Plan Administrator is authorized to take any and all
action necessary or appropriate to perform his duties hereunder, including, but not limited
to, exercising the rights of the Debtor under the License Agreement, collecting all
Royalties thereunder, and retaining ownership of and overseeing the Personally
Identifiable Information, including by executing the Data Breach Protocol in the event of
any breach of such Personally Identifiable Information known to the Plan Administrator.
        7.2    Conditions Precedent to the Effective Date.
        The Effective Date shall not occur and no obligations under the Plan shall come
into existence unless each of the following conditions is met or, alternatively, is waived
in accordance with Section 7.3 hereof on or before the Effective Date:
               (a) The Confirmation Order shall have been entered by the Bankruptcy
Court, and no stay of its effectiveness shall have been issued within fourteen (14) days
following the entry of the Confirmation Order; and
              (b) The Effective Date Cash shall be sufficient to pay all Administrative
Expense Claims, Professional Fee Claims up to the Estate Reserve, and fund the Post-
Confirmation Reserve.



                                     {00266836.11 / 1148-001 }

                                               20
        7.3    Waiver of Conditions Precedent.
       Each of the conditions precedent in Sections 7.1 and 7.2 hereof may be waived or
modified by the Debtor without further Court approval, in whole or in part.

              ARTICLE 8 - INJUNCTION; RELEASE; EXCULPATION
       8.1     General Injunctions.
      The following provisions shall apply and shall be fully set forth in the
Confirmation Order.
              (a) Injunctions Against Interference with Consummation or
Implementation of Plan. All holders of Claims or Interests shall be enjoined from
commencing or continuing any judicial or administrative proceeding or employing
any process against the Debtor or the Estate with the intent or effect of interfering
with the consummation or implementation of this Plan or the transfers, payments or
Distributions to be made hereunder.
               (b) Plan Injunction. Except as otherwise specifically provided for by
this Plan, as and from the Effective Date, all Persons shall be enjoined from (i) the
enforcement, attachment, collection or recovery by any manner or means of any
judgment, award, decree or order; (ii) the creation, perfection or enforcement of
any Encumbrance of any kind; (iii) the commencement or continuation of any
action, employment of process or act to collect, offset or recover any Claim or Cause
of Action satisfied, released or enjoined under this Plan; and/or (iv) the assertion of
any right of setoff, counterclaim, exculpation, or subrogation of any kind, in each
case against the Debtor or the Estate to the fullest extent authorized or provided by
the Bankruptcy Code.

              (c) No Bar to Claims Against Third Parties. Holders of Claims or
Interests against the Debtor are not barred or otherwise enjoined by the Plan from
pursuing any recovery against Persons that are not the Debtor.

       8.2     All Distributions Received in Full and Final Satisfaction.
        Except as otherwise set forth herein, all payments and all Distributions to be made
in accordance with the Plan on account of Claims (including Administrative Expense
Claims) shall be received in full and final satisfaction, settlement and release of the
Estate’s obligations for such Claims as against the Debtor, its property and the Estate.
       8.3     No Modification of Res Judicata Effect.
       The provisions of this Article 8 are not intended, and shall not be construed, to
modify the res judicata effect of any order entered in the Bankruptcy Case, including,
without limitation, the Confirmation Order and any order finally determining
Professional Fee Claims to any Professional.



                                    {00266836.11 / 1148-001 }

                                              21
       8.4    Exculpation for Debtor and Estate Professionals.
        To the extent permitted by section 1125(e) of the Bankruptcy Code, the
Debtor, its shareholders, officers, directors, employees and professionals (including
the Chief Restructuring Officer and professional firms and individuals within such
firms), the Creditors’ Committee, its members (acting in such capacity), their
respective officers, directors, employees and professionals (including professional
firms and individuals within such firms) and the Secured Creditors, their
shareholders, officers, directors, employees and professionals (including
professional firms and individuals within such firms), shall neither have nor incur
any liability to any Person for any act taken or omitted to be taken in connection
with or related to the formulation, preparation, dissemination, implementation,
administration, funding, confirmation or consummation of the Plan, the Disclosure
Statement, or any contract, instrument, release or other agreement or document
created or entered into in connection with the Plan, or any act taken or omitted to
be taken during the Bankruptcy Case, except for (i) acts or omissions as a result of
willful misconduct or gross negligence and (ii) liability for any debt owed to the
United States Government, any state, city or municipality arising under (a) the
Internal Revenue Code or any state, city or municipal tax code, (b) the
environmental laws of the United States or any state, city or municipality, (c) laws
regarding the regulation of securities administered by the SEC or (d) any criminal
laws of the United States, any state, city or municipality. From and after the
Effective Date, a copy of the Confirmation Order and the Plan shall constitute, and
may be submitted as, a complete defense to any Claim or liability released pursuant
to the Plan.
       8.5    Exculpation for Plan Administrator.
        The Plan Administrator and his employees, attorneys, accountants, financial
advisors, representatives and agents, each solely in such capacity, shall not have or
incur any liability to any person or entity for any act or omission in connection with,
or arising out of, the Plan or the property to be distributed under the Plan; provided
however, that the foregoing exculpation shall not apply to acts or omissions in bad
faith or as a result of recklessness, willful misconduct or gross negligence.




                                  {00266836.11 / 1148-001 }

                                            22
        8.6    Release of Secured Creditors. As a result of extensive arms’ length
negotiations and in exchange for material concessions regarding the Secured Claims
of the First Lien Creditor, including without limitation, a substantial reduction of
the Secured Claims, the Debtor and its estate and the Committee and each of their
respective agents and representatives (collectively, the “Debtor Parties”) are deemed
to have forever, unconditionally and irrevocably, waived, discharged and released
the First Lien Creditor, HTV and their respective affiliates, subsidiaries,
shareholders, members, agents, attorneys, financial advisors, consultants, officers,
directors, and employees, of and from any and all Claims, counterclaims, causes of
action, suits, defenses, damages, demands, challenges, setoff, recoupment, or other
offset rights or rights of reduction, whether arising at law or in equity, whether
known or unknown or hereafter becoming known, liquidated or unliquidated,
contingent or fixed, of any kind or nature whatsoever, that the Debtor Parties ever
had, now have or hereafter can, shall or may, have for, upon, or by reason of any matter,
cause or thing whatsoever through and including the Effective Date, including, without
limitation, any recharacterization, subordination, reduction, avoidance, “lender
liability” or other Claim arising under or pursuant to section 105 or Chapter 5 of
the Bankruptcy Code or otherwise, or under any other provision of applicable state
or federal law, and any right or basis to challenge or object to the amount, validity,
characterization, priority or enforceability of the Secured Claims, with the sole
exception that the Plan Administrator may review and object to the amount of the
General Unsecured Claims filed by Bhungalia and HTV in the Case and all rights of
Bhungalia and HTV in connection therewith shall be reserved in full.
             ARTICLE 9 - PROVISIONS GOVERNING DISTRIBUTIONS
       9.1     Payment in U.S. Dollars.
       All Cash payments required under the Plan shall be made in U.S. dollars by
checks drawn on a domestic bank selected by the Plan Administrator in accordance with
the Plan or by wire transfer from a domestic bank, at the option of the Plan
Administrator. The Plan Administrator may use the services of a third party to aid in the
Distributions required to be made under this Plan.
       9.2     Distributions Only on Business Days.
        Notwithstanding the foregoing provisions, if any Distribution called for under this
Plan is due on a day other than a Business Day, such Distribution shall instead be made
the next Business Day.
       9.3     Unclaimed Distributions.
       Unclaimed Distributions (including Distributions made by checks that fail to be
cashed or otherwise negotiated within ninety (90) days after the Distribution Date or
which Distributions are returned to the Plan Administrator as undeliverable to the
addresses specified in the Claims Register, as it shall exist on the date such Distributions
are made), shall be canceled (by a stop payment order or otherwise), the Claim(s) relating
to such Distribution(s) shall be deemed forfeited and expunged without any further action
or order of the Bankruptcy Court, and the holder of such Claim(s) shall be removed from
the Distribution schedules and expunged from the Claims register and shall receive no
                                    {00266836.11 / 1148-001 }

                                              23
further Distributions under the Plan. Any such Unclaimed Distributions shall, as soon as
is practicable, be redistributed pursuant to the provisions of this Plan.
       9.4     Timing of Distributions on Disputed Claims Subsequently Allowed.
        In the event that a Disputed Claim is Allowed, in whole or in part, after the
Effective Date, a Distribution shall be made on account of such Allowed Claim on the
next Distribution Date that is at least fifteen (15) Business Days after such Claim is
Allowed.
       9.5     No Payment or Distribution on Disputed Claims.
       Any contrary provision hereof notwithstanding, no payments or other
Distributions shall be made on account of any Disputed Claim, or any portion thereof,
unless and until such Claim is allowed by Final Order of the Bankruptcy Court. For the
avoidance of doubt, no portion of any Disputed Claim is entitled to a Distribution.
Holders of Disputed Claims shall be bound, obligated and governed in all respects by this
Plan.
       9.6     Disputed Distribution.
       If a dispute arises as to the identity of a holder of an Allowed Claim who is to
receive a Distribution, the Plan Administrator may, in lieu of making such Distribution to
such holder, hold such amount until the dispute is resolved by Final Order of the
Bankruptcy Court or by written agreement among the parties to such dispute.
       9.7     Transmittal of Payments and Notices.
        All Distributions shall be made to the holder of a Claim by regular first-class
mail, postage prepaid, in an envelope addressed to such holder at the address listed on its
proof of Claim filed with the Claims Agent or Bankruptcy Court or, if no proof of Claim
was filed, (i) at the address listed on the Debtor’s Schedules, or (ii) at such address that a
holder of a Claim provides to the Debtor and the Plan Administrator after the Effective
Date in writing and files at least fifteen (15) Business Days prior to a Distribution Date.
Neither the Debtor nor the Plan Administrator shall have any duty to ascertain the
mailing address of any holder of a Claim other than as set forth herein. The date of
payment or delivery shall be deemed to be the date of mailing. Payments made in
accordance with the provisions of this Section shall be deemed made to the holder
regardless of whether such holder actually receives the payment.
       9.8     Record Date for Distributions.
        Except as otherwise provided in a Final Order of the Bankruptcy Court,
transferees of Claims that are transferred pursuant to Bankruptcy Rule 3001 with
appropriate filings made on or before the Effective Date (the “Record Date”) shall be
treated as the holders of those Claims for all purposes, notwithstanding that any period
provided by Bankruptcy Rule 3001 for objecting to the transfer(s) may not have expired
prior to the Record Date. The Debtor and the Plan Administrator shall have no obligation
to recognize any transfer of any Claim occurring after the Record Date. In making a
Distribution with respect to any Claim, the Debtor and the Plan Administrator shall be
entitled to recognize and deal for all purposes hereunder only with the Person who is
                                     {00266836.11 / 1148-001 }

                                               24
listed on the proof of Claim filed with respect to such Claim, on the Debtor’s Schedules
as the holder thereof, and upon such other evidence or record of transfer or assignment
filed as of the Record Date.


       9.9     Claims Administration Responsibility.
                (a) Reservation of Rights. Unless a Claim is specifically Allowed prior to
or after the Effective Date or under the Plan, the Plan Administrator reserves any and all
objections to any and all Claims and motions or requests for the payment of Claims,
whether administrative expense, secured or unsecured, including, without limitation, any
and all objections to the validity or amount of any and all alleged Administrative Expense
Claims, Priority Tax Claims, or Non-Tax Priority Claims, liens and security interests,
whether under the Bankruptcy Code, other applicable law or contract. The failure to
object to any Claim prior to the Effective Date shall be without prejudice to the Plan
Administrator’s rights to contest or otherwise defend against such Claim in the
Bankruptcy Court when and if such Claim is sought to be enforced by the holder of the
Claim.

               (b) Objections to Claims. The Plan Administrator may dispute, object to,
compromise or otherwise resolve all Claims. Unless otherwise provided in the Plan or
ordered by the Bankruptcy Court, all objections to Claims shall be filed and served no
later than the Claims Objection Bar Date, which is one hundred twenty (120) days after
the Effective Date, provided that the Plan Administrator may request (and the Bankruptcy
Court may grant) an extension of time by filing a motion with the Bankruptcy Court.

                (c) Filing Objections. An objection to a Claim shall be deemed properly
served on the claimant if the Debtor or Plan Administrator causes service of any such
objection to be effected in accordance with Rule 3007 of the Bankruptcy Rules by
mailing or otherwise delivering the objection and a notice of hearing thereon to the
claimant at the address set forth on such claimant’s proof of Claim at least thirty (30)
days prior to the hearing thereon.

                (d) Determination of Claims. Except as otherwise agreed by the Debtor,
any Claim as to which a proof of Claim or motion or request for payment was timely
filed in the Bankruptcy Case may be determined and liquidated after the Effective Date
pursuant to (i) a Final Order of the Bankruptcy Court, or (ii) applicable non-bankruptcy
law. Any Claim determined to be an Allowed Claim after the Effective Date pursuant to
this Section shall be treated as an Allowed Claim in accordance with this Plan.
       9.10    Disputed Claims.
               (a) Except to the extent the Court determines that a lesser amount is
adequate, the Plan Administrator shall, on each Distribution Date, deposit in the Disputed
Claims Reserve Cash equal to the Distributions that would have been made to holders of
Disputed Claims if such Claims were Allowed Claims in their full amounts or such lower
amount as to which the holder of such Claim has agreed in writing or, in the case where
any such Claim is unliquidated and/or contingent, the greater of (i) $1, and (ii) such other
                                    {00266836.11 / 1148-001 }

                                              25
amount as is reserved by order of the Bankruptcy Court made upon motion of the holder
of such Claim.
               (b) For purposes of effectuating the provisions of this Section 9.10 and the
Distributions to holders of Allowed Claims, the Court, on or prior to the Effective Date,
or thereafter upon the request of any holder of a Claim or the Plan Administrator, may
liquidate the amount of Disputed Claims pursuant to section 502(c) of the Bankruptcy
Code, in which event the amounts so fixed or liquidated shall be deemed to be the
aggregate amounts of the Disputed Claims pursuant to section 502(c) of the Bankruptcy
Code for purposes of Distribution under this Plan and for purposes of the Disputed
Claims Reserve.
                (c) When a Disputed Claim becomes an Allowed Claim, there shall be
distributed to the holder of such Allowed Claim, in accordance with the provisions of this
Plan (but in no event later than the next succeeding Distribution Date), Cash in the
amount of all Distributions to which such holder would have been entitled if such
holder’s Claim were Allowed on the Effective Date, to the extent of available Cash to
make such Distribution.
               (d) In no event shall any holder of any Disputed Claim be entitled to
receive (under this Plan or otherwise) any Cash payment which is greater than the amount
reserved, if any, for such Disputed Claim pursuant to this Section 9.10. In no event shall
the Debtor or the Plan Administrator have any responsibility or liability for any loss to or
of any amount reserved under this Plan unless such loss is the result of that party’s fraud,
willful misconduct, or gross negligence. In no event may any Creditor whose Disputed
Claim is subsequently Allowed, pursue or recover from any other Creditor any funds
received as Distributions under the Plan.
              (e) To the extent that a Disputed Claim ultimately becomes an Allowed
Claim and is entitled to a Distribution in an amount less than the amount reserved for
such Disputed Claim, then on the next succeeding Distribution Date, the Plan
Administrator shall make, in accordance with the terms of this Plan, a Distribution of the
excess amount reserved for such Disputed Claim in accordance with the Plan.
               (f) The Disputed Claims Reserve shall be treated as a disputed ownership
fund, within the meaning of Treasury Regulation section 1.468B-9, for all purposes
associated with taxation.
               (g) Except as expressly set forth in the Plan, or otherwise agreed to in
writing or ordered by the Court, the Debtor shall not have any duty to fund the Disputed
Claims Reserve.
                 (h) The Plan Administrator shall pay, or cause to be paid, out of the funds
held in the Disputed Claims Reserve, any tax imposed by any federal, state, or local
taxing authority on the income generated by the funds or property held in the Disputed
Claims Reserve. The Plan Administrator shall file, or cause to be filed, any tax or
information return related to the Disputed Claims Reserve that is required by any federal,
state, or local taxing authority.


                                    {00266836.11 / 1148-001 }

                                              26
       9.11 No Payments of Fractional Cents or Distributions of Less Than
Thirty-Five Dollars.
                (a)     Any contrary provision hereof notwithstanding, for purposes of
administrative convenience, no payment of fractional cents shall be made pursuant to the
Plan. Whenever any payment of a fraction of a cent under the Plan would otherwise be
required, the actual Distribution made shall reflect a rounding of such fraction to the
nearest whole penny (up or down), with halfpennies or less being rounded down and
fractions in excess of half of a penny being rounded up.

               (b)    Any contrary provision hereof notwithstanding, for purposes of
administrative convenience, no Distribution of less than Thirty Five Dollars ($35) shall
be made pursuant to the Plan. Whenever any Distribution of less than Thirty Five Dollars
($35) under the Plan would otherwise be required, such funds will be retained by the Plan
Administrator for the account of the recipient until such time that successive
Distributions aggregate to Thirty Five ($35) Dollars, at which time such payment shall be
made, and if successive Distributions do not ever reach Thirty Five ($35) in the
aggregate, then such Distributions shall be returned to the UC Funds.
        9.12 Setoff and Recoupment. Except as otherwise provided in the Plan, the
Plan Administrator may, but shall not be required to, set off against, or recoup from, any
Claim and the Distributions to be made pursuant to the Plan in respect thereof, any
Claims, defenses or Causes of Action of any nature whatsoever that the Debtor may have,
but neither the failure to do so nor the allowance of any Claim under the Plan shall
constitute a waiver or release by the Plan Administrator or the Debtor of any right of
setoff or recoupment against the holder of any Claim.
       9.13    Payment of Taxes on Distributions Received Pursuant to the Plan.
                (a)    Any contrary provision hereof notwithstanding, as a precondition
to payment of any Distribution to a Creditor under this Plan, unless included on the
official proof of Claim form filed by such Creditor in this Bankruptcy Case, each
Creditor shall provide a valid tax identification or social security number (collectively the
“Tax Information”) for purposes of tax reporting by the Debtor. All Entities that receive
Distributions under the Plan shall be responsible for reporting and paying, as applicable,
any taxes on account of their Distributions.

                (b)     At such time as the Debtor or Plan Administrator believes that
Distributions to a particular Class of Claims is likely, the Debtor or Plan Administrator
shall request Tax Information in writing from the Creditors (the “Tax Information
Request”). Any Creditor who fails to respond to Tax Information Request within ninety
(90) days from the date posted on the Tax Information Request shall forfeit all
Distributions such Creditor may otherwise be entitled to under this Plan, and such
forfeited funds will revert to the Estate to be disbursed in accordance with the terms and
priorities established in this Plan.



                                    {00266836.11 / 1148-001 }

                                              27
       9.14    Compliance With Tax Withholding and Reporting Requirements.
        With respect to all Distributions made under the Plan, the Debtor and Plan
Administrator will comply with all withholding and reporting requirements of any
federal, state, local or foreign taxing authority.
  ARTICLE 10 - PLAN INTERPRETATION, CONFIRMATION AND VOTING
       10.1    Procedures Regarding Objections to Designation of Classes as
               Impaired or Unimpaired.
        In the event the designation of the treatment of a Class as impaired or unimpaired
is objected to, the Bankruptcy Court shall determine the objection, and voting shall be
permitted or disregarded in accordance with the determination of the Bankruptcy Court.
       10.2    Withdrawal and Modification of Plan.
        This Plan may be withdrawn or modified by the Debtor at any time prior to the
Confirmation Date. The Debtor may modify the Plan in any manner consistent with
section 1127 of the Bankruptcy Code prior to substantial consummation thereof. Upon
request by the Debtor, the Plan may be modified after substantial consummation with the
approval of the Bankruptcy Court, provided that such modification does not affect the
essential economic treatment of any Person that objects in writing to such modification.
       10.3    Governing Law.
        Unless a rule of law or procedure is supplied by federal law (including the
Bankruptcy Code and the Bankruptcy Rules) or the Plan, the laws of the State of New
York applicable to contracts executed in such State by residents thereof and to be
performed entirely within such State shall govern the construction and implementation of
the Plan and any agreements, documents and instruments executed in connection with
this Plan.
       10.4    Voting of Claims.
        Each holder of a Claim as of the Record Date in Classes 2 through 4 shall be
entitled to vote to accept or reject the Plan. The Disclosure Statement Order shall govern
the manner and procedures for casting Ballots with the Voting Agent.
       10.5    Acceptance by Impaired Class.
        Consistent with section 1126(c) of the Bankruptcy Code, and except as provided
for in section 1126(e) of the Bankruptcy Code, a Class of creditors shall have accepted
the Plan if it is accepted by at least two-thirds in dollar amount and more than one-half in
number of the holders of Allowed Claims of such Class that have timely and properly
voted to accept or reject the Plan.
       10.6    Presumed Acceptances of Plan.
       Classes 1A, 1B and 1C are unimpaired under the Plan and, therefore, are
conclusively presumed to have accepted the Plan.



                                    {00266836.11 / 1148-001 }

                                              28
       10.7   Presumed Rejections of Plan.
       Class 5 is presumed to have rejected the Plan but may elect to accept the Plan.

        ARTICLE 11 - RETENTION OF JURISDICTION BY BANKRUPTCY
                    COURT
      11.1 From the Confirmation Date until entry of a final decree closing the
Bankruptcy Case (pursuant to 11 U.S.C. §350 and Bankruptcy Rule 3022), the
Bankruptcy Court shall retain such jurisdiction as is legally permissible over the
Bankruptcy Case for the following purposes:
                (a) to hear and determine any and all objections to the allowance of any
Claim or Administrative Expense Claim, or any controversy as to the classification of
Claims or any matters which may directly, indirectly or contingently affect the
obligations of the Debtor or the Plan Administrator to any Creditors, holders of Claims,
or other parties in interest;
             (b) to hear and determine any and all applications for compensation and
reimbursement of expenses by Professionals;
                (c) to hear and determine any and all pending motions for the assumption
or rejection of executory contracts and unexpired leases, and to fix any Claims resulting
therefrom;
               (d) to adjudicate through final judgment such contested matters and
adversary proceedings as may be pending or subsequently initiated in the Bankruptcy
Court, including, but not limited to, Causes of Action brought by the Plan Administrator;
               (e) to enforce and interpret the provisions of this Plan, the Disclosure
Statement Order, the Confirmation Order, the License Approval Order and any other
order of the Bankruptcy Court in the Bankruptcy Case;
                (f) to issue any injunction or other relief appropriate to implement the
intent of the Plan, and to enter such further orders enforcing any injunctions or other
relief issued under the Plan or pursuant to the Confirmation Order;
               (g) to modify the Plan pursuant to section 1127 of the Bankruptcy Code
and the applicable Bankruptcy Rules;
               (h) to correct any defect, cure any omission, or reconcile any
inconsistency in this Plan or in the Confirmation Order as may be necessary to carry out
the purposes and the intent of this Plan;
              (i) to interpret and determine such other matters as the Confirmation Order
may provide for or as may be authorized under the Bankruptcy Code;
             (j) to enter and implement such orders as may be appropriate in the event
the Confirmation Order is, for any reason, stayed, reversed, revoked, modified or
vacated; and
             (k) to hear and determine any disputes arising in connection with the
License Agreement or the transactions contemplated thereby, the Personally Identifiable
                                   {00266836.11 / 1148-001 }

                                             29
Information or any Data Breach Protocol, and to invoke the assistance of the Consumer
Privacy Ombudsman to the extent deemed necessary or appropriate by the Bankruptcy
Court.
                    ARTICLE 12 - MISCELLANEOUS PROVISIONS
       12.1    Headings.
       Headings are utilized in this Plan for the convenience of reference only and shall
not constitute a part of this Plan for any other purpose.
       12.2    No Attorneys’ Fees.
        No attorneys’ fees with respect to any Claim or Interest shall be payable under the
Plan, except as expressly specified herein or Allowed by a Final Order of the Bankruptcy
Court.
       12.3    Notices.
        Except as otherwise specified in the Plan, all notices in connection with the Plan
shall be in writing and shall be deemed to have been given when received or, if mailed,
five (5) days after the date of mailing. All communications shall be deemed sent if sent to
the Debtor and the Creditors’ Committee at the following addresses:
If to the Debtor:
KLESTADT WINTERS JURELLER
SOUTHARD & STEVENS, LLP
200 West 41st Street, 17th Floor
New York, New York 10036
Attn: Tracy L. Klestadt, Esq.
      Stephanie R. Sweeney, Esq.
If to the Creditors’ Committee:
FOX ROTHSCHILD LLP
100 Park Avenue, 15th Floor
New York, New York 10017
Attn: Paul Labov, Esq.
       12.4    No Discharge.
       The Debtor shall not receive a discharge under the Plan pursuant to section
1121(d)(3) of the Bankruptcy Code.

       12.5    Claims In Dollars.
       Any Claims asserted in foreign currencies shall be converted to United States
Dollars in accordance with the prevailing exchange rates published by the Wall Street
Journal on the Confirmation Date.




                                    {00266836.11 / 1148-001 }

                                              30
       12.6    Binding Effect.

       The rights, benefits, and obligations of any Person named or referred to in the
Plan, or whose actions may be required to effectuate the terms of the Plan, shall be
binding on, and shall inure to the benefit of, any heir, executor, administrator, successor,
or assign of such Person (including, but not limited to, any trustee appointed for the
Debtor under chapter 7 or 11 of the Bankruptcy Code). The Confirmation Order shall
provide that the terms and provisions of the Plan and the Confirmation Order shall
survive and remain effective after entry of any order which may be entered converting the
Debtor’s Bankruptcy Case to a case under chapter 7 of the Bankruptcy Code, and the
terms and provisions of the Plan shall continue to be effective in this or any superseding
case under the Bankruptcy Code.

Dated: New York, New York
       October 9, 2017
                                                          CHOXI.COM, INC.


                                                          By:_/s/ Eddy W. Friedfeld_________
                                                                 Eddy W. Friedfeld
                                                                 Chief Restructuring Officer


                                                          KLESTADT WINTERS JURELLER
                                                          SOUTHARD & STEVENS, LLP


                                                          By:___/s/ Tracy L. Klestadt____
                                                                 Tracy L. Klestadt
                                                                 Stephanie R. Sweeney
                                                          200 West 41st Street, 17th Floor,
                                                          New York, New York 10036
                                                          Tel: (212) 972-3000
                                                          Fax: (212) 972-2245

                                                          Attorneys for the Debtor and Debtor-
                                                          in-Possession




                                    {00266836.11 / 1148-001 }

                                              31
EXHIBIT B
Choxi.com, Inc.
Liquidation Analysis as of November 30, 2017 modifed per the footnotes
                                                                                                                                    Estimated Value                          Estimated Recovery
                                                                                    November 30, 2017              Low            High           Low             High          Low       High
                                                                                       Book Value                   %              %           Amount           Amount          %         %
PROCEEDS FROM LIQUIDATION
Assets
 Cash                                                                                  $      576,976     1            100.0%       100.0% $    576,976     $     576,976
 Customer List/Website                                                                            2,515   2                                 UNKNOWN         UNKNOWN

Potential Additional Source of Proceeds
 Avoidance Actions and other Causes of Actions                                             UNKNOWN             UNKNOWN          UNKNOWN     UNKNOWN         UNKNOWN
GROSS LIQUIDATION PROCEEDS AVAILABLE FOR DISTRIBUTION                                  $      579,491                                      $    576,976     $     576,976
ESTIMATED CLAIMS
Chapter 7 Trustee Fees                                                                       3%                                            $     17,309     $      17,309    100.0%    100.0%
Net Liquidation Proceeds Available to Carve-Out                                                                                            $    559,667     $     559,667
Carve-Out
 Allowed Secured Claim of American Express                                             $       57,682     3                                $     57,682     $      57,682    100.0%    100.0%
 Professional Fee Claims, net of retainers                                                    450,000     3                                     450,000           450,000    100.0%    100.0%

Net Liquidation Proceeds Available to Allowed Secured Claim of the First Lien Creditor                                                     $     51,985     $      51,985
Allowed Secured Claim of the First Lien Creditor                                       $     2,211,768    3                                $     51,985     $      51,985     2.4%      2.4%

Net Liquidation Proceeds Available to Allowed Secured Claim of the Second Lien Creditor                                                    $            -   $            -
Allowed Secured Claim of the Second Lien Creditor                                      $          8,512   3                                $            -   $            -    0.0%      0.0%

Net Liquidation Proceeds Available to Remaining Claims                                                                                     $            -   $            -
Remaining Claims
 Professional Fee Claims, net of retainers and Cave-out                                $      454,072     3                                $            -   $            -    0.0%      0.0%
 Administrative Expense Claims (other than professional fees and expenses)                     58,366     3                                             -                -    0.0%      0.0%
 Non-Tax Priority Claims                                                                      118,027     3                                             -                -    0.0%      0.0%
 Priority Tax Claims                                                                          617,502     3                                             -                -    0.0%      0.0%
 General Unsecured Claims                                                                   33,000,000    3                                             -                -    0.0%      0.0%
 First Lien Creditor Supplemental Secured Claim                                                75,000     3                                             -                -    0.0%      0.0%
 Allowed Suboordinated Claims                                                                1,650,000    3                                             -                -    0.0%      0.0%

Notes:
 1 Includes estimates for royalties received through November 2017 and payment of all Admin claims as they come due.

2   Agrees to August 31, 2017 MOR.
3   Agrees to amounts identified in the Plan and Disclosure Statement.
EXHIBIT C
Choxi.com,Inc.
EstimatedDisbursementAnalysisthroughendofLicense
Agreement


                               Item                             NovͲ17          DecͲ17               JanͲ18             FebͲ18              MarͲ18              AprͲ18              MayͲ18               JunͲ18              JulͲ18             AugͲ18              SepͲ18              OctͲ18              NovͲ18              DecͲ18               JanͲ19
OpeningCashBalance                                       $516,976 $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ
 Receipts                                                  60,000 60,000 60,000 60,000 60,000 60,000 60,000 60,000 60,000 60,000 60,000 60,000 60,000 60,000 60,000
GrossAvailableCash                                        $576,976 $60,000 $60,000 $60,000 $60,000 $60,000 $60,000 $60,000 $60,000 $60,000 $60,000 $60,000 $60,000 $60,000 $60,000

Disbursements
AdministrativeandProfessionalFeeClaimsDisbursements   $(443,866) $(10,000) $(10,000) $(10,000) $(10,000) $(10,000) $(10,000) $(10,000) $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ

SecuredClaimDisbursements
 AllowedSecuredClaimofAmericanExpress                 $(57,682) $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ
 AlllowedSecuredClaimoftheFirstLienCreditors         (50,429) (50,000) (50,000) (50,000) (50,000) (50,000) (50,000) (50,000) (60,000) (60,000) (60,000) (60,000) (60,000) (60,000) (60,000)
 AllowedSecuredClaimoftheSecondLienCreditors                            Ͳ Ͳ Ͳ Ͳ Ͳ Ͳ Ͳ Ͳ Ͳ Ͳ Ͳ Ͳ Ͳ Ͳ Ͳ
TotalSecuredClaimDisbursements                           $(108,111) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000)

PriorityClaimDisbursements
 NonͲTaxPriorityClaims                                   $                  Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ


 PriorityTaxClaims                                                           Ͳ                  Ͳ                 Ͳ                 Ͳ                  Ͳ                  Ͳ                  Ͳ                   Ͳ                  Ͳ    Ͳ                 Ͳ                  Ͳ       Ͳ                 Ͳ                  Ͳ


TotalPriorityClaimDisbursements                          $                  Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ

PostͲConfirmationReserve                                   $(25,000) $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ

GeneralUnsecuredClaims                                    $                  Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ

FirstLienCreditorSupplementalSecuredClaim              $                  Ͳ    $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ

AllowedSubordinatedClaims                                 $                  Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ

TotalDisbursements                                         $(576,976) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000)

NetAvailableCash                                         $                  Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ




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Agreement


                               Item                          FebͲ19              MarͲ19              AprͲ19              MayͲ19               JunͲ19              JulͲ19             AugͲ19              SepͲ19              OctͲ19              NovͲ19              DecͲ19               JanͲ20             FebͲ20        MarͲ20              AprͲ20
OpeningCashBalance                                       $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $35,000 $Ͳ $Ͳ
 Receipts                                                  60,000 60,000 60,000 60,000 60,000 60,000 60,000 60,000 60,000 60,000 60,000 60,000 50,000 50,000 50,000
GrossAvailableCash                                        $60,000 $60,000 $60,000 $60,000 $60,000 $60,000 $60,000 $60,000 $60,000 $60,000 $60,000 $60,000 $85,000 $50,000 $50,000

Disbursements
AdministrativeandProfessionalFeeClaimsDisbursements   $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $(70,148) $(50,000) $(50,000)

SecuredClaimDisbursements
 AllowedSecuredClaimofAmericanExpress                 $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ
 AlllowedSecuredClaimoftheFirstLienCreditors         (60,000) (60,000) (60,000) (60,000) (60,000) (60,000) (60,000) (60,000) (60,000) (60,000) (60,000) (25,000) (6,339)                                                                                            Ͳ                   Ͳ
 AllowedSecuredClaimoftheSecondLienCreditors                        Ͳ Ͳ Ͳ Ͳ Ͳ Ͳ Ͳ Ͳ Ͳ Ͳ Ͳ Ͳ (8,512)                      Ͳ                   Ͳ
TotalSecuredClaimDisbursements                           $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(25,000) $(14,852) $Ͳ $Ͳ

PriorityClaimDisbursements
 NonͲTaxPriorityClaims                                   $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ


 PriorityTaxClaims                                                      Ͳ                  Ͳ                   Ͳ    Ͳ                 Ͳ                  Ͳ       Ͳ                 Ͳ                  Ͳ          Ͳ                 Ͳ                  Ͳ             Ͳ                 Ͳ                  Ͳ


TotalPriorityClaimDisbursements                          $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ

PostͲConfirmationReserve                                   $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ

GeneralUnsecuredClaims                                    $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ             $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ

FirstLienCreditorSupplementalSecuredClaim              $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ

AllowedSubordinatedClaims                                 $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ

TotalDisbursements                                         $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(60,000) $(25,000) $(85,000) $(50,000) $(50,000)

NetAvailableCash                                         $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $35,000 $Ͳ $Ͳ $Ͳ




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Agreement


                               Item                          MayͲ20               JunͲ20              JulͲ20             AugͲ20              SepͲ20              OctͲ20              NovͲ20              DecͲ20               JanͲ21             FebͲ21              MarͲ21              AprͲ21              MayͲ21               JunͲ21              JulͲ21
OpeningCashBalance                                       $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ
 Receipts                                                  50,000 50,000 50,000 50,000 50,000 50,000 50,000 50,000 50,000 50,000 50,000 50,000 50,000 50,000 50,000
GrossAvailableCash                                        $50,000 $50,000 $50,000 $50,000 $50,000 $50,000 $50,000 $50,000 $50,000 $50,000 $50,000 $50,000 $50,000 $50,000 $50,000

Disbursements
AdministrativeandProfessionalFeeClaimsDisbursements   $(50,000) $(50,000) $(50,000) $(50,000) $(38,924) $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ

SecuredClaimDisbursements
 AllowedSecuredClaimofAmericanExpress                 $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ
 AlllowedSecuredClaimoftheFirstLienCreditors                        Ͳ                  Ͳ                  Ͳ                   Ͳ                 Ͳ                  Ͳ                  Ͳ                  Ͳ                  Ͳ                  Ͳ                  Ͳ                  Ͳ                  Ͳ                  Ͳ                  Ͳ
 AllowedSecuredClaimoftheSecondLienCreditors                        Ͳ                  Ͳ                  Ͳ                   Ͳ                 Ͳ                  Ͳ                  Ͳ                  Ͳ                  Ͳ                  Ͳ                  Ͳ                  Ͳ                  Ͳ                  Ͳ                  Ͳ
TotalSecuredClaimDisbursements                           $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ

PriorityClaimDisbursements
 NonͲTaxPriorityClaims                                   $Ͳ $Ͳ $Ͳ $Ͳ $(11,076) $(50,000) $(50,000) $(6,951) $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ


 PriorityTaxClaims                                                      Ͳ                   Ͳ                  Ͳ    Ͳ                 Ͳ                  Ͳ       Ͳ (43,049) (50,000) (50,000) (50,000) (50,000) (50,000) (50,000) (50,000)


TotalPriorityClaimDisbursements                          $Ͳ $Ͳ $Ͳ $Ͳ $(11,076) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000)

PostͲConfirmationReserve                                   $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ

GeneralUnsecuredClaims                                    $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ

FirstLienCreditorSupplementalSecuredClaim              $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ

AllowedSubordinatedClaims                                 $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ

TotalDisbursements                                         $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000)

NetAvailableCash                                         $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ




                                                                                                                                                    Page3of4
Choxi.com,Inc.
EstimatedDisbursementAnalysisthroughendofLicense
Agreement


                               Item                          AugͲ21              SepͲ21              OctͲ21              NovͲ21              DecͲ21               JanͲ22           TotalDisbursed                                                      Notes
OpeningCashBalance                                       $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $516,976
 Receipts                                                  50,000 50,000 50,000 50,000 50,000 50,000                                   2,820,000 EstimatesbasedonMinimumGuaranteeaspertheLicenseAgreement.
GrossAvailableCash                                        $50,000 $50,000 $50,000 $50,000 $50,000 $50,000                                            $3,336,976

Disbursements
AdministrativeandProfessionalFeeClaimsDisbursements   $Ͳ $Ͳ $Ͳ $Ͳ $(25,547) $(13,953)                 $(962,438)

SecuredClaimDisbursements
 AllowedSecuredClaimofAmericanExpress                 $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ   $(57,682)
 AlllowedSecuredClaimoftheFirstLienCreditors                        Ͳ                  Ͳ                  Ͳ                  Ͳ                  Ͳ                   Ͳ   (1,511,768)
 AllowedSecuredClaimoftheSecondLienCreditors                        Ͳ                  Ͳ                  Ͳ                  Ͳ                  Ͳ                   Ͳ              (8,512)
TotalSecuredClaimDisbursements                           $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ              $(1,577,963)

PriorityClaimDisbursements
 NonͲTaxPriorityClaims                                   $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ   (118,027)   Forpurposesofthisanalysis,thedisbursementamountsshownarebasedonthefiledclaims,
                                                                                                                                                                                                            actualdisbursementswillbebasedontheamountofallowedclaims.TheDebtordisputesthe
                                                                                                                                                                                                            claimsinthisclass.
 PriorityTaxClaims                                       (50,000) (50,000) (50,000) (50,000) (24,453)                                          Ͳ    (617,502)   Forpurposesofthisanalysis,thedisbursementamountsshownarebasedonthefiledclaims,
                                                                                                                                                                                                            actualdisbursementswillbebasedontheamountofallowedclaims.TheDebtordisputesthe
                                                                                                                                                                                                            claimsinthisclass.
TotalPriorityClaimDisbursements                          $(50,000) $(50,000) $(50,000) $(50,000) $(24,453) $Ͳ                                       $(735,529)

PostͲConfirmationReserve                                   $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ              $(25,000)

GeneralUnsecuredClaims                                    $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $(36,047)                   $(36,047)

FirstLienCreditorSupplementalSecuredClaim              $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ              $                Ͳ

AllowedSubordinatedClaims                                 $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ              $                Ͳ

TotalDisbursements                                         $(50,000) $(50,000) $(50,000) $(50,000) $(50,000) $(50,000)                                            $(3,336,976)

NetAvailableCash                                         $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ   $                Ͳ




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